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                    Exhibit 3




                    Exhibit 3
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                        Latia Alexander, et al.

                                      v.

       Las Vegas Metropolitan Police Department, et al.



                               Transcript of

                             James Bertuccini
                                 Volume I

                               July 12, 2024
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 James Bertuccini       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 1
  ·1· · · · · · · · UNITED STATES DISTRICT COURT

  ·2· · · · · · · · · · ·DISTRICT OF NEVADA

  ·3

  ·4· · LATIA ALEXANDER, individually as heir)
  · · · of ISAIAH T. WILLIAMS and in her· · ·)
  ·5· · capacity as Special Administrator of )
  · · · the Estate of ISAIAH T. WILLIAMS,· · )
  ·6· · · · · · · · · · · · · · · · · · · · ·)
  · · · · · · · · · Plaintiff,· · · · · · · ·)CASE NO.
  ·7· · · · · · · · · · · · · · · · · · · · ·)2:24-cv-00074-
  · · · v.· · · · · · · · · · · · · · · · · ·)APG-NJK
  ·8· · · · · · · · · · · · · · · · · · · · ·)
  · · · LAS VEGAS METROPOLITAN POLICE· · · · )
  ·9· · DEPARTMENT, a political subdivision· )
  · · · of the State of Nevada; KERRY KUBLA, )
  10· · in his individual capacity; BRICE· · )
  · · · CLEMENTS, in his individual capacity;)
  11· · ALEX GONZALES, in his individual· · ·)
  · · · capacity; RUSSELL BACKMAN, in his· · )
  12· · individual capacity; JAMES· · · · · ·)
  · · · ROTHENBURG, in his individual· · · · )
  13· · capacity; JAMES BERTUCCINI, in his· ·)
  · · · individual capacity; DOES I-XX,· · · )
  14· · inclusive,· · · · · · · · · · · · · ·)
  · · · · · · · · · · · · · · · · · · · · · ·)
  15· · · · · · · · Defendants.· · · · · · · )
  · · · · · · · · · · · · · · · · · · · · · ·)
  16

  17· · · · · VIDEOTAPED DEPOSITION OF JAMES BERTUCCINI

  18· · · · · · · ·Taken on Friday, July 12, 2024

  19· · · · · · · · · · · · At 9:04 a.m.

  20· · · · · · · · ·At 400 South Seventh Street

  21· · · · · · · · · · · Las Vegas, Nevada

  22

  23

  24· · Job No. 56849, Firm No. 116F

  25· · Reported by:· Tracy A. Manning, CCR 785



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                                                           2                                                           4
 ·1· · APPEARANCES:                                            ·1· · · · · · · · · · · · JULY 12, 2024
 ·2
                                                               ·2
 ·3· · For the Plaintiff:
 ·4· · BREEDEN & ASSOCIATES, PLLC                              ·3· · · · · · · THE VIDEOGRAPHER:· Good morning.· This
 · · · BY:· ADAM J. BREEDEN, ESQ.                              ·4· · begins digital media No. 1 in the deposition of
 ·5· · 7432 West Sahara Avenue                                 ·5· · James Bertuccini.· Today's date is July 12th, 2024.
 · · · Suite 101
                                                               ·6· · The time on the video monitor is 9:04 a.m.· We are
 ·6· · Las Vegas, Nevada· 89117
 · · · Adam@Breedenandassociates.com                           ·7· · located at 400 South Seventh Street in Las Vegas,
 ·7· · (702) 819-7770                                          ·8· · Nevada.
 ·8                                                            ·9· · · · · · · This case is entitled Latia Alexander, et
 ·9· · For the Defendants:                                     10· · al. versus Las Vegas Metropolitan Police Department,
 10· · MARQUIS AURBACH
 · · · BY:· CRAIG R. ANDERSON, ESQ.
                                                               11· · et al.· The case number is 2:24-cv-00074-APG-NJK.
 11· · 10001 Park Run Drive                                    12· · It's being held in United States District Court,
 · · · Las Vegas, Nevada· 89145                                13· · District of Nevada.
 12· · canderson@maclaw.com                                    14· · · · · · · My name is Dawn Beck, legal videographer.
 · · · (702) 382-0711
                                                               15· · The court reporter is Tracy Manning.· We represent
 13
 14                                                            16· · Lexitas.· Will counsel please state your appearance
 15· · The Videographer:· Dawn Beck                            17· · for the record and who you represent.
 16                                                            18· · · · · · · MR. BREEDEN:· This is attorney Adam
 17
                                                               19· · Breeden for the plaintiffs.
 18
 19                                                            20· · · · · · · MR. ANDERSON:· Craig Anderson for the
 20                                                            21· · defendants.
 21                                                            22· · · · · · · THE VIDEOGRAPHER:· Thank you.· Would the
 22
                                                               23· · court reporter please swear in the witness.
 23
 24                                                            24· · ...
 25                                                            25· · ...

                                                           3                                                           5
 ·1· · · · · · · · · · · · · I N D E X                         ·1· · · · · · · · · · · JAMES BERTUCCINI
 ·2· · WITNESS· · · · · · · · · · · · · · · · · · · PAGE
                                                               ·2· · · · · · · · · ·having been duly sworn,
 ·3· · JAMES BERTUCCINI
 ·4                                                            ·3· · · · · ·was examined and testified as follows:
 ·5                                                            ·4
 ·6· · · · ·Examination by Mr. Breeden· · · · · · · · ·5       ·5· · · · · · · · · · · · ·EXAMINATION
 ·7
                                                               ·6· · BY MR. BREEDEN:
 ·8
 ·9· · · · · · · · · · · ·E X H I B I T S                      ·7· · · · ·Q.· ·Morning, sir.· Can you please state your
 10· · NUMBER· · · · · · · · · · · · · · · · · · · ·PAGE       ·8· · name for the court reporter, and go ahead and spell
 11· · 1· · Photocopies of equipment, Bates· · · · · ·34       ·9· · your full names as well?
 · · · · · ·stamped WILLIAMS 000793 -                          10· · · · ·A.· ·It's James Bertuccini.· That's J-a-m-e-s.
 12· · · · ·WILLIAMS 000797, 5 pages
 13· · 2· · Defense Technology equipment, 1 page· · · 40
                                                               11· · Bertuccini is B-e-r-t-u-c-c-i-n-i.
 14· · 3· · Excerpt of State of Nevada,· · · · · · · ·81       12· · · · ·Q.· ·Officer Bertuccini, on January 10th of
 · · · · · ·Commission on Peace Officer Standards              13· · 2022, were you a police officer assigned to the SWAT
 15· · · · ·and Training, Performance Objective                14· · unit for Las Vegas Metropolitan Police Department?
 · · · · · ·Reference Material, pages 12 and 13
 16· · · · ·of 58, 2 pages
                                                               15· · · · ·A.· ·Yes, sir.
 17· · 4· · Excerpt, photocopy of SWAT briefing,· · · 94       16· · · · ·Q.· ·In the performance of your job as a police
 · · · · · ·Bates stamped LVMPD 004377, 1 page,                17· · officer, do you agree with me that you have a duty
 18· · · · ·Confidential                                       18· · to conduct yourself such that you do not violate the
 19· · 5· · Excerpt from Las Vegas Metropolitan· · · 150
                                                               19· · civil rights of members of the public?
 · · · · · ·Police Department, Special Weapons
 20· · · · ·and Tactics, Bates stamped                         20· · · · ·A.· ·Yes, sir.
 · · · · · ·LVMPD 001508, 1 page                               21· · · · ·Q.· ·You also agree with me that if you see
 21                                                            22· · other officers violating the civil rights of the
 22
                                                               23· · public, you actually have a duty to intervene and
 23
 24                                                            24· · stop that officer?
 25                                                            25· · · · ·A.· ·Yes, sir.


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 ·1· · · · ·Q.· ·Back up a little bit.                        ·1· · and I'll be happy to do that for you.
 ·2· · · · · · · My name is Adam Breeden.· I'm the attorney   ·2· · · · · · · During today's deposition, you always need
 ·3· · for a woman, Latia Alexander, who has filed a          ·3· · to give an audible answer out loud or verbal, such
 ·4· · lawsuit against you, several other officers, and the   ·4· · as a yes or a no.· You've done an excellent job so
 ·5· · Las Vegas Metropolitan Police Department, arising      ·5· · far.· But please do not shake your head up and down
 ·6· · out of a SWAT action that resulted in the death of     ·6· · or side to side or use slang terms, such as uh-huh
 ·7· · her son, Isaiah Williams, on January 10th of 2022.     ·7· · or uh-uh if you mean yes or no.· If you do something
 ·8· · · · · · · Do you understand the reason why you're      ·8· · like that, I'll probably ask you to clarify what you
 ·9· · here this morning is to give your deposition           ·9· · meant by your response, just so it's clear when
 10· · testimony in that case?                                10· · later we go back and look at the transcript what
 11· · · · ·A.· ·Yes, sir, I do.                              11· · your response was.
 12· · · · ·Q.· ·Have you ever given deposition testimony     12· · · · · · · Also, as a general rule during today's
 13· · before?                                                13· · deposition, and again, you've done an excellent job
 14· · · · ·A.· ·Yes, sir.                                    14· · so far, please try not to speak at the same time
 15· · · · ·Q.· ·How many occasions?                          15· · anyone else is speaking.· There are several reasons
 16· · · · ·A.· ·One time.                                    16· · I ask you to do that, but one is because it is
 17· · · · ·Q.· ·I'm going to ask you a little bit about      17· · difficult for the court reporter to accurately take
 18· · that later in this deposition.· I do want to go over   18· · down what two people are saying at the same time.
 19· · the rules or admonitions for the depositions, for      19· · Can you do all that for me?
 20· · you at this time, even though you've been through      20· · · · ·A.· ·Absolutely, yes, sir.
 21· · the process before.                                    21· · · · ·Q.· ·During today's deposition, one of the
 22· · · · · · · The oath that was administered to you by     22· · attorneys may object to a question that's asked. I
 23· · the court reporter to your left, my right, is the      23· · want to explain to you how objections work during a
 24· · same oath that you would take in a court of law.       24· · deposition, because they work a little differently
 25· · And it obligates you to tell the truth under penalty   25· · than what people may have seen in a courtroom or on

                                                         7                                                            9
 ·1· · of perjury today; do you understand that?              ·1· · TV.
 ·2· · · · ·A.· ·Yes, sir, I do.                              ·2· · · · · · · During a deposition, you can see we don't
 ·3· · · · ·Q.· ·Your deposition is also being videotaped     ·3· · have a judge here to immediately rule on objections.
 ·4· · today.· And your testimony may be played or read for   ·4· · Therefore, if I ask a question that your attorney
 ·5· · the jury at trial; do you understand that?             ·5· · thinks an objection needs to be stated for, he will
 ·6· · · · ·A.· ·Yes, sir.                                    ·6· · state the objection and the basis for the objection,
 ·7· · · · ·Q.· ·The court reporter is taking down            ·7· · and then we'll still all look to you to give a
 ·8· · everything that's said today, all of my questions      ·8· · response.· And then later, if the judge needs to
 ·9· · and your answers, and any other comments that are      ·9· · rule on whether your response is admissible or not
 10· · made.· And afterward, she'll put everything in a       10· · in court, the judge can do so.· I explain that,
 11· · booklet or a transcript form.· After the deposition,   11· · because it confuses many people during the
 12· · you have an opportunity to review the transcript and   12· · deposition process.· They hear an objection, and
 13· · make changes to your testimony if you wish.            13· · they believe, oh, I'm not supposed to respond
 14· · · · · · · However, I would advise you in advance       14· · because my attorney has objected.· But generally,
 15· · that if you make a substantive change to your          15· · the opposite is true.
 16· · testimony, as opposed to just correcting a             16· · · · · · · If I ask you some question that is truly
 17· · grammatical error or a typographical error, I would    17· · protected by a privilege and your attorney does not
 18· · still have the right to comment on the fact that you   18· · want you to respond, I'm sure he will make that very
 19· · said one thing here today during your deposition,      19· · clear to you on the record, and the basis for him
 20· · and then later you changed it; do you understand       20· · asserting that privilege; do you understand that?
 21· · that?                                                  21· · · · ·A.· ·Yes, sir.
 22· · · · ·A.· ·Yes, sir, I do.                              22· · · · ·Q.· ·Do you have any questions for me as to how
 23· · · · ·Q.· ·It is important for us to get a good         23· · we're going to proceed today?
 24· · record today.· If you don't understand any of my       24· · · · ·A.· ·No, sir.
 25· · questions, please ask me to repeat or rephrase them    25· · · · ·Q.· ·Have you consumed any alcoholic beverages


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                                                        10                                                           12
 ·1· · in the last 24 hours?                                  ·1· · draft report?
 ·2· · · · ·A.· ·No, sir.                                     ·2· · · · ·A.· ·I believe it was the CIRT final review.
 ·3· · · · ·Q.· ·I don't need to know a lot of your medical   ·3· · · · ·Q.· ·Okay.· And there's only been one other
 ·4· · history, and I'm not trying to pry into your           ·4· · deposition taken in this case.· That was of Officer
 ·5· · personal medical history, but I do want to know if     ·5· · Gonzales earlier this week.· You didn't sit through
 ·6· · you have taken any sort of drug, including             ·6· · that deposition, did you?
 ·7· · prescription medications, in the last 48 hours?        ·7· · · · ·A.· ·No, sir.
 ·8· · · · ·A.· ·Prescription medication, I've taken          ·8· · · · ·Q.· ·Did you discuss with Officer Gonzales what
 ·9· · Gabapentin for nerve pain.                             ·9· · he testified to on Monday?
 10· · · · ·Q.· ·Okay.· And have you been on that             10· · · · ·A.· ·No, sir, I have not.
 11· · prescription medication for six months or longer?      11· · · · ·Q.· ·Have you reviewed a transcript of that
 12· · · · ·A.· ·No.                                          12· · proceeding?
 13· · · · ·Q.· ·Okay.· How long have you been on that        13· · · · ·A.· ·I didn't read it, no, sir.
 14· · medication?                                            14· · · · ·Q.· ·Again, before we get into your background
 15· · · · ·A.· ·Last four days.                              15· · here, just to tell you, the deposition will likely
 16· · · · ·Q.· ·And do you believe that medication has       16· · last three to four hours.· If you need to take a
 17· · affected your memory or your ability to testify in     17· · break, just let me know.· I always like to admonish
 18· · any manner?                                            18· · witnesses, though, because this is a bit of an
 19· · · · ·A.· ·No, sir.· It's not a controlled substance.   19· · unusual rule.· They treat this deposition proceeding
 20· · · · ·Q.· ·Do you have any medical condition, an        20· · as if you were actually testifying in court.· So if
 21· · extreme example would be dementia or Alzheimer's,      21· · we take a break, exchanges that you have with your
 22· · that you believe may affect your memory or your        22· · attorney are not protected by attorney-client
 23· · ability to accurately testify here today?              23· · privilege.· So you can't discuss anything
 24· · · · ·A.· ·No, sir.                                     24· · substantive or anything that you would not want
 25· · · · ·Q.· ·How would you rate your memory at this       25· · disclosed to me during breaks; do you understand

                                                        11                                                           13
 ·1· · time of the events of January 10th of 2022?· Do you    ·1· · that?
 ·2· · believe you have a good memory?                        ·2· · · · ·A.· ·Yes, sir, I understand.
 ·3· · · · ·A.· ·Yes, sir.                                    ·3· · · · ·Q.· ·All right.· How old are you?
 ·4· · · · ·Q.· ·What, if anything, have you done             ·4· · · · ·A.· ·I'm 45, sir.
 ·5· · specifically to prepare for today's deposition?        ·5· · · · ·Q.· ·And what city and state were you born in?
 ·6· · · · ·A.· ·I sat down with my attorney, sir.            ·6· · · · ·A.· ·Las Vegas, Nevada.
 ·7· · · · ·Q.· ·Okay.· When did you sit down with your       ·7· · · · ·Q.· ·Have you ever lived outside of Las Vegas?
 ·8· · attorney?                                              ·8· · · · ·A.· ·No, sir.· Outside of going to college.
 ·9· · · · ·A.· ·Yesterday.                                   ·9· · · · ·Q.· ·We'll talk about that in a minute.· But
 10· · · · ·Q.· ·How long did you meet with your attorney?    10· · your residence has always been Las Vegas, Nevada?
 11· · · · ·A.· ·Maybe an hour, sir.                          11· · · · ·A.· ·Yes, sir.
 12· · · · ·Q.· ·Did you review any documents?                12· · · · ·Q.· ·Have you ever been convicted of a crime?
 13· · · · ·A.· ·Yes, sir.                                    13· · · · ·A.· ·No, sir.
 14· · · · ·Q.· ·What documents did you review?               14· · · · ·Q.· ·Let's talk about your education.· What
 15· · · · ·A.· ·My statements, my CIRT and FIT statements.   15· · year did you graduate high school?
 16· · · · ·Q.· ·Any other documents you reviewed?            16· · · · ·A.· ·1997.
 17· · · · ·A.· ·No, sir.                                     17· · · · ·Q.· ·And from what high school, city and state?
 18· · · · ·Q.· ·Other than your attorney, did you meet       18· · · · ·A.· ·Cheyenne High School; Las Vegas, Nevada.
 19· · with any other person or speak to any other person,    19· · · · ·Q.· ·What education past high school have you
 20· · for example, some of the other officers that have      20· · had?
 21· · been sued about the fact that you're going to          21· · · · ·A.· ·I have an Associate's Degree.
 22· · testify and what you're going to testify to?           22· · · · ·Q.· ·From what institution?
 23· · · · ·A.· ·To be honest, no, sir, I have not.           23· · · · ·A.· ·CSN.
 24· · · · ·Q.· ·Have you reviewed any expert report that's   24· · · · ·Q.· ·Is that in Clark County, Nevada?
 25· · been prepared for this litigation, even if it's a      25· · · · ·A.· ·Yes, sir.


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                                                        14                                                           16
 ·1· · · · ·Q.· ·And when did you obtain that Associate's     ·1· · or training in the legal field?· For example, as a
 ·2· · Degree?                                                ·2· · paralegal, legal assistant, or attorney?
 ·3· · · · ·A.· ·2000, sir.                                   ·3· · · · ·A.· ·No, sir.
 ·4· · · · ·Q.· ·Did you have a particular major or area of   ·4· · · · ·Q.· ·And do you have any education or
 ·5· · study?                                                 ·5· · background pertaining to the medical field?
 ·6· · · · ·A.· ·Liberal Arts and Criminal Justice.           ·6· · · · ·A.· ·No, sir.
 ·7· · · · ·Q.· ·After graduating from CSN, did you have      ·7· · · · ·Q.· ·Okay.· Are you required to be, like,
 ·8· · any other formal education?                            ·8· · emergency medicine certified?
 ·9· · · · ·A.· ·Yes, sir.· I went to the University of New   ·9· · · · ·A.· ·No, sir.· Not in SWAT, no, sir.
 10· · Haven.                                                 10· · · · ·Q.· ·Okay.· So in 2004 you joined Metro?
 11· · · · ·Q.· ·Is that in New Haven, Connecticut?           11· · · · ·A.· ·Yes, sir.
 12· · · · ·A.· ·Yes, sir.                                    12· · · · ·Q.· ·And why did you decide to go into law
 13· · · · ·Q.· ·That's quite a shift for somebody who's      13· · enforcement with Metro?
 14· · born and raised in Las Vegas.· Why did you choose to   14· · · · ·A.· ·I've always wanted to be a police officer.
 15· · go to the University of New Haven?                     15· · From the day -- the day that me and my dad sat down
 16· · · · ·A.· ·I got offered a baseball scholarship, sir.   16· · and watched the old cop shows in Vegas, that's what
 17· · · · ·Q.· ·And so what years did you attend the         17· · I wanted to do.· And what -- I've always wanted to
 18· · University of New Haven?                               18· · be in SWAT.
 19· · · · ·A.· ·I believe it was 2000 to 2002.               19· · · · ·Q.· ·Okay.
 20· · · · ·Q.· ·And did you graduate or receive a degree?    20· · · · ·A.· ·That was what -- it was a childhood dream.
 21· · · · ·A.· ·No, sir, I did not.                          21· · · · ·Q.· ·You wanted to protect the public?
 22· · · · ·Q.· ·Did you have a particular major or area of   22· · · · ·A.· ·Yes, sir.
 23· · study, other than the practice of baseball?            23· · · · ·Q.· ·Wanted to do good for the community?
 24· · · · ·A.· ·Criminal justice, sir.                       24· · · · ·A.· ·Yes, sir.
 25· · · · ·Q.· ·And what was the reason you did not          25· · · · ·Q.· ·Did you do anything for a living before

                                                        15                                                           17

 ·1· · receive a degree?                                      ·1· · joining Metro?
 ·2· · · · ·A.· ·I left early.· They didn't renew my          ·2· · · · ·A.· ·Yeah.· I was a bartender.
 ·3· · scholarship, fell below GPA.· And I came home to       ·3· · · · ·Q.· ·For how many years?
 ·4· · finish -- try my best to finish.· And then I ended     ·4· · · · ·A.· ·I would say two years before I got hired
 ·5· · up testing with Metro.                                 ·5· · on.
 ·6· · · · ·Q.· ·Okay.· So when you returned home, and I'm    ·6· · · · ·Q.· ·Where were you a bartender?
 ·7· · going to assume that's in the 2002 time frame?         ·7· · · · ·A.· ·It was at -- it's now called Mangos.· It
 ·8· · · · ·A.· ·Yeah, 2002.· And then -- yeah, right         ·8· · was at the time called Boomerang's Bar and Club off
 ·9· · around there.· Because I got hired on with Metro in    ·9· · of Vegas and Rainbow.
 10· · 2004.                                                  10· · · · ·Q.· ·And did you voluntarily leave there to
 11· · · · ·Q.· ·Did you enroll -- before you were hired on   11· · join Metro?
 12· · with Metro, did you enroll in any other university     12· · · · ·A.· ·Yeah.· I gave my two weeks when I got
 13· · or college to try to complete your degree?             13· · hired on with Metro.
 14· · · · ·A.· ·UNLV.                                        14· · · · ·Q.· ·Okay.· And so have you been continuously
 15· · · · ·Q.· ·And what years did you attend UNLV?          15· · employed with Las Vegas Metro Police Department
 16· · · · ·A.· ·'03, '04.                                    16· · since 2004?
 17· · · · ·Q.· ·And did you graduate?                        17· · · · ·A.· ·Yes, sir, I have.
 18· · · · ·A.· ·No.                                          18· · · · ·Q.· ·And what's your job title or position?
 19· · · · ·Q.· ·Why did you not graduate?                    19· · · · ·A.· ·I'm obviously with the SWAT section.· I am
 20· · · · ·A.· ·I was three credits short and I got hired    20· · the Assistant Team Leader to my Team Leader.· And
 21· · on with Metro and I just focused on that.· You'd       21· · I'm also an entryman and explosive breacher.
 22· · think I'd go with three credits short.                 22· · · · ·Q.· ·So let's talk a little bit about the
 23· · · · ·Q.· ·It's never too late.                         23· · structure of SWAT.· There's different SWAT teams
 24· · · · ·A.· ·Never too late, yes, sir.                    24· · within Metro; is that correct?
 25· · · · ·Q.· ·Do you have any sort of legal background     25· · · · ·A.· ·There's two of us, two teams.


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                                                        18                                                           20
 ·1· · · · ·Q.· ·Okay.· And how are the teams designated?     ·1· · · · ·Q.· ·And was Sergeant Bonkavich on site for the
 ·2· · · · ·A.· ·Basically, they're broken up so we have      ·2· · January 10th, 2022 operation?
 ·3· · seven day a week coverage.· My team, for example, we   ·3· · · · ·A.· ·No, sir.· He was on his RDO, as I was. I
 ·4· · cover Wednesday to Saturday.· We are -- our shifts     ·4· · came in as -- to assist the team.
 ·5· · are from 2:00 p.m. to midnight.· The other team        ·5· · · · ·Q.· ·Okay.· And when I refer to, you know, what
 ·6· · takes over at basically midnight on Saturday, and      ·6· · happened there at January 10, 2022, do you use the
 ·7· · they work Sunday to Wednesday.· Our common day         ·7· · term SWAT operation?· SWAT raid?· SWAT mission?
 ·8· · together is on Wednesday.· So we have dual team        ·8· · What term do you use?
 ·9· · training days.· The teams' makeup is basically, we     ·9· · · · ·A.· ·It was a SWAT search warrant.· It was just
 10· · have two sergeants over each team, two ATLs over       10· · a search warrant.
 11· · each time, and I believe right now we're at between    11· · · · ·Q.· ·Okay.· Who is your -- the current
 12· · 13 and 14 operators per team.                          12· · lieutenant over you?
 13· · · · ·Q.· ·Okay.· And when you use the term "ATL",      13· · · · ·A.· ·Right now is Lieutenant Adrian Beas.
 14· · that's stands for Assistant Team Leader?               14· · · · ·Q.· ·Can you spell that last name?
 15· · · · ·A.· ·Yes, sir.                                    15· · · · ·A.· ·B-e-a-s.
 16· · · · ·Q.· ·And I think -- you did a good job of         16· · · · ·Q.· ·And who's the current sergeant over you?
 17· · answering my question, and I appreciate it.· But       17· · · · ·A.· ·Sergeant Cody Thompson.
 18· · what I was getting at was something a little           18· · · · ·Q.· ·Now, again, on January 10 of 2022, did you
 19· · differently.                                           19· · hold the position of Assistant Team Leader for your
 20· · · · · · · The two different SWAT teams, they're        20· · team?
 21· · designated by colors; is that right?                   21· · · · ·A.· ·No, I did not.
 22· · · · ·A.· ·Red and blue.                                22· · · · ·Q.· ·Okay.· When did you obtain that title or
 23· · · · ·Q.· ·Is there a gold?· Has there ever been a      23· · position?
 24· · gold?                                                  24· · · · ·A.· ·I've been the Assistant Team Leader for my
 25· · · · ·A.· ·No.· So right now -- so when this incident   25· · team for the last nine years.

                                                        19                                                           21
 ·1· · happened, our colors were different.· We are now red   ·1· · · · ·Q.· ·Okay.· So I guess maybe I misunderstood
 ·2· · and blue.· Back then, I believe they were gold and     ·2· · your -- your answer a little bit.
 ·3· · silver.· If I can recall correctly.                    ·3· · · · · · · On January 10, 2022, you were an Assistant
 ·4· · · · ·Q.· ·And at that time -- pardon me -- at that     ·4· · Team Leader, but for your team, not the team
 ·5· · time, were you on the gold team?                       ·5· · executing the search warrant.
 ·6· · · · ·A.· ·No, I -- so they -- whatever the primary     ·6· · · · ·A.· ·Yes.· I was not the ATL for that
 ·7· · team was, I was on the opposite team.· So if gold is   ·7· · operation, that search warrant.
 ·8· · primary, I was on silver.                              ·8· · · · ·Q.· ·Okay.· Who was the ATL?
 ·9· · · · ·Q.· ·Okay.· And you just can't remember if you    ·9· · · · ·A.· ·Jake Werner.
 10· · were on gold or silver?                                10· · · · ·Q.· ·Who was the sergeant in charge?
 11· · · · ·A.· ·I don't.· I don't remember what the          11· · · · ·A.· ·There was two of them.· There was Russ
 12· · color -- how we changed it up back then.· I couldn't   12· · Backman and Garth Finley.
 13· · tell you.                                              13· · · · ·Q.· ·And who was the lieutenant in charge?
 14· · · · ·Q.· ·Okay.· And let's talk specifically about     14· · · · ·A.· ·Melanie O'Daniel.
 15· · this time here, January of 2022.· Who was your SWAT    15· · · · ·Q.· ·All right.· Have you had any other
 16· · leader?                                                16· · employment, side jobs, or side work during your
 17· · · · ·A.· ·My SWAT command- -- my SWAT commander or     17· · employment with Metro?
 18· · sergeant?                                              18· · · · ·A.· ·No, sir.
 19· · · · ·Q.· ·Well, why don't you give me both and         19· · · · ·Q.· ·I thought I saw in your personnel file
 20· · explain to me how those are different.                 20· · that you made an application to do some
 21· · · · ·A.· ·The lieutenant, who was the commander, was   21· · self-employment training and consultation.
 22· · Lieutenant Melanie O'Daniel.· My direct supervisor     22· · · · ·A.· ·Yeah, that -- here and there.· It's
 23· · at the time was Sergeant James Bonkavich.              23· · nothing.· Yeah.· I'm trying.
 24· · · · ·Q.· ·Can you spell that for me?                   24· · · · ·Q.· ·Do you have a name for that business?
 25· · · · ·A.· ·Bonkavich is B-o-n-k-a-v-i-c-h.              25· · · · ·A.· ·We're trying Zebra Operation Group.


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 ·1· · · · ·Q.· ·Okay.· When is the last time you did any     ·1· · accidents?
 ·2· · work for that company?                                 ·2· · · · ·A.· ·Yes.· And they were -- I believe they were
 ·3· · · · ·A.· ·We haven't yet.                              ·3· · suspensions where I could give vacation time in
 ·4· · · · ·Q.· ·Okay.· So this is just something that's      ·4· · lieu, in basically a trade.
 ·5· · anticipated --                                         ·5· · · · ·Q.· ·Have you ever been given any other
 ·6· · · · ·A.· ·I'm hoping to get going, yes.                ·6· · suspension or reprimand, then --
 ·7· · · · ·Q.· ·Okay.· So if you hope to get going, what     ·7· · · · ·A.· ·Not to my --
 ·8· · sort of training or work would you be doing?           ·8· · · · ·Q.· ·-- by Metro?
 ·9· · · · ·A.· ·Just SWAT consultations, active shooter      ·9· · · · ·A.· ·Not that I recall, no.
 10· · training, hostage rescue training.                     10· · · · ·Q.· ·Okay.· In looking through your personnel
 11· · · · ·Q.· ·And so would other police departments hire   11· · file, Metro gives you annual reviews; is that
 12· · you to do that, then, or would Metro hire you to do    12· · accurate?
 13· · that?                                                  13· · · · ·A.· ·Yes, sir.
 14· · · · ·A.· ·It would be outside.· So it would be other   14· · · · ·Q.· ·Tell me about the annual review process.
 15· · agencies, other departments.                           15· · Are you interviewed?· Do you have to submit
 16· · · · ·Q.· ·Do you have any potential agencies that      16· · documents for it?· How does that work?
 17· · you've discussed doing that sort of work with          17· · · · ·A.· ·So basically, it's a review between you
 18· · already?                                               18· · and your sergeant.· If you're talking about my
 19· · · · ·A.· ·We've talked -- we were -- I just got back   19· · personnel review.· Usually it occurs in July, so I
 20· · from the Ohio Tactical Officers Association.· But      20· · should have one coming up.· I've always gotten
 21· · that was through Metro.· That was a class that we      21· · perfect scores on that.· Never had a negligent or a
 22· · did through Metro.                                     22· · report that I didn't agree with.· I take that very
 23· · · · ·Q.· ·Have you ever held, whether they're law      23· · seriously.· So, I've never had a bad report in 20
 24· · enforcement related or not, any professional           24· · years.
 25· · licenses or certifications?· And again, this could     25· · · · ·Q.· ·Even after that incident on January 10,

                                                        23                                                           25
 ·1· · be law enforcement related or it could be something    ·1· · 2022, where Mr. Williams died, you weren't given any
 ·2· · completely unrelated to law enforcement, like a real   ·2· · negative performance review or reprimand over that,
 ·3· · estate agent or a licensed forklift operator.          ·3· · were you?
 ·4· · · · ·A.· ·Have I?                                      ·4· · · · ·A.· ·No, sir.
 ·5· · · · ·Q.· ·Yes.                                         ·5· · · · ·Q.· ·And, in fact, you were involved in another
 ·6· · · · ·A.· ·No, sir, I have not.                         ·6· · incident a year before that on January 15 of 2021
 ·7· · · · ·Q.· ·Have you ever tested for any license or      ·7· · involving a woman, Jasmine King, where during a SWAT
 ·8· · accreditation and been denied?                         ·8· · entry, she was severely injured and blinded during a
 ·9· · · · ·A.· ·No, sir.                                     ·9· · SWAT entry.· You were involved in that, weren't you?
 10· · · · ·Q.· ·Have you ever applied for any position or    10· · · · ·A.· ·I was involved in that, yes, sir.
 11· · promotion within Metro and been denied?                11· · · · ·Q.· ·And Metro did not give you any suspension
 12· · · · ·A.· ·No, sir.                                     12· · or reprimand at all because of that, did they?
 13· · · · ·Q.· ·Okay.· Have you ever sought to -- I think    13· · · · ·A.· ·No, sir.
 14· · it's an exam you have to take to become sergeant?      14· · · · ·Q.· ·Okay.· And in fact, there was an Internal
 15· · · · ·A.· ·Yes.· I have never taken it.· I've never     15· · Affairs investigation after that SWAT action, wasn't
 16· · wanted to be a supervisor.                             16· · there?
 17· · · · ·Q.· ·Okay.· In looking through your personnel     17· · · · ·A.· ·Yes, sir, there was.
 18· · file, I notice that you have twice been suspended      18· · · · ·Q.· ·Okay.· And were you formally interviewed
 19· · from Las Vegas Metropolitan Police Department for      19· · as a result of that?
 20· · causing auto accidents on duty; is that accurate?      20· · · · ·A.· ·I was.
 21· · · · ·A.· ·Long time ago, yes.                          21· · · · ·Q.· ·Okay.· And so have you seen, like, a
 22· · · · ·Q.· ·Okay.· Is it two and only two times you've   22· · transcript of your statement?
 23· · been suspended?                                        23· · · · ·A.· ·Yes.· That was a long time ago.· Yes, sir.
 24· · · · ·A.· ·Yes.                                         24· · · · ·Q.· ·Okay.· Well, it was -- it was three years
 25· · · · ·Q.· ·And both times were just for automobile      25· · ago.· Little more than three years.



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  ·1· · · · · · · It was specifically alleged in that case     ·1· · · · · · · MR. ANDERSON:· Objection, form.
  ·2· · that you had recommended or called for what was        ·2· · · · · · · Go ahead and answer.
  ·3· · called a short count or a quick count that violated    ·3· · · · · · · THE WITNESS:· The short -- the count, the
  ·4· · the civil rights of Ms. King and others inside the     ·4· · short count, had -- basically there was the
  ·5· · apartment you were entering; do you recall that?       ·5· · announcement call.· So there was announcements
  ·6· · · · ·A.· ·Yes, sir.                                    ·6· · involved in that and the short count.· So the
  ·7· · · · ·Q.· ·And was that upheld or sustained by          ·7· · announcements is what was basically deemed not
  ·8· · Internal Affairs?                                      ·8· · enough.· We didn't give enough announcements and
  ·9· · · · ·A.· ·I was not receiving any discipline for       ·9· · time had nothing to do with the short count.
  10· · that.                                                  10· · BY MR. BREEDEN:
  11· · · · ·Q.· ·Okay.· But they found that you had called    11· · · · ·Q.· ·Okay.· So what about the announcements or
  12· · for that and violated the woman's civil rights?        12· · time was found to have violated Ms. King's civil
  13· · · · ·A.· ·I didn't call for that.· The sergeant        13· · rights in that matter?
  14· · approved that.· That was the count that we utilized    14· · · · · · · MR. ANDERSON:· Objection, form.
  15· · in that operation.                                     15· · · · · · · Go ahead and answer.
  16· · · · ·Q.· ·Tell me what a short count or quick count    16· · · · · · · THE WITNESS:· I believe that it was only
  17· · is, then.                                              17· · between two and two and a half seconds before the
  18· · · · ·A.· ·A short count is basically a count that,     18· · breach came.· We were going -- we -- that plan was
  19· · when we use our breach call, is, we don't go with      19· · going to make sure that we had two full
  20· · our long standard, which is where we count off, we     20· · announcements before the actual count came, before
  21· · count down.· A short count is basically stand by and   21· · the command came.· And what had happened was, it
  22· · we give the breach command when we're ready.           22· · ended up going after about a second and a half, or,
  23· · · · ·Q.· ·Okay.· So -- so let's review this.           23· · like, basically an announcement, announcement and a
  24· · Explain to me what the standard long count is.         24· · half.
  25· · · · ·A.· ·"Stand by for breach.· Three, two, one,      25· · ...

                                                         27                                                           29
  ·1· · breach."                                               ·1· · BY MR. BREEDEN:
  ·2· · · · ·Q.· ·So would that be a five-second countdown?    ·2· · · · ·Q.· ·So was the intent in the King entry that
  ·3· · · · ·A.· ·I have no idea.· I mean, I don't know. I     ·3· · there would be announcements made, and then there
  ·4· · mean, we can time it real quick.                       ·4· · would be a breach, three, two, one count, and then
  ·5· · · · ·Q.· ·Well, there's, "Stand by for breach.         ·5· · force would be used?
  ·6· · Five, four, three, two, one."                          ·6· · · · ·A.· ·No.· In the Jasmine King case, the plan
  ·7· · · · ·A.· ·"Three, two, one, breach."                   ·7· · was, there would be two full announcements.· Then we
  ·8· · · · ·Q.· ·Okay.· And so what is a short count, or a    ·8· · would say, "Stand by.· Breach, breach, breach."
  ·9· · quick count, then?                                     ·9· · Which would have gave us the time that we wanted.
  10· · · · ·A.· ·"Stand by for breach.· Breach.· Breach.      10· · The time that that happened and occurred, it was
  11· · Breach."                                               11· · a -- it was an initiation prematurely and called
  12· · · · ·Q.· ·And when Ms. King was injured, were you      12· · prematurely by -- or not the call, but the charge
  13· · the officer that had recommended the short count to    13· · was initiated prematurely.
  14· · the sergeant?                                          14· · · · ·Q.· ·And who prematurely initiated the charge?
  15· · · · ·A.· ·It was basically a collective group talk     15· · · · ·A.· ·The officer that was on -- I believe it
  16· · with the breachers.· They explained to me, hey, we     16· · was Officer Singh.
  17· · can go with a short count here so that we can          17· · · · ·Q.· ·You were personally sued by Jasmine King
  18· · utilize the distract off the bat to draw attention     18· · as well for violation of her civil rights, correct?
  19· · away from the door.· And then we can go off the        19· · · · ·A.· ·I believe so.· I can't recall.
  20· · third, the final breach count.· I -- I went to the     20· · · · ·Q.· ·Well, there was a federal lawsuit filed
  21· · sergeant, I explained that to him, and he approved     21· · against you, do you recall that?
  22· · it.                                                    22· · · · ·A.· ·I remember sitting in this -- in a
  23· · · · ·Q.· ·Okay.· And do you agree that Metro later     23· · deposition, yes.· I don't remember receiving any
  24· · found that use of that short count had violated        24· · other information after that.
  25· · Ms. King's civil rights?                               25· · · · ·Q.· ·Okay.· Has that matter been settled or


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  ·1· · resolved?                                              ·1· · · · ·A.· ·I believe one time I've actually
  ·2· · · · ·A.· ·I believe so.                                ·2· · testified.· One or two times.
  ·3· · · · ·Q.· ·Do you know how much was paid to Ms. King?   ·3· · · · ·Q.· ·Okay.
  ·4· · · · ·A.· ·I don't know.                                ·4· · · · ·A.· ·Not very many.
  ·5· · · · ·Q.· ·Have you ever been sued by anyone other      ·5· · · · ·Q.· ·And was that as part of a criminal
  ·6· · than my client and Ms. King connected to your          ·6· · prosecution?
  ·7· · employment with Las Vegas Metropolitan Police          ·7· · · · ·A.· ·Yes, sir.· Like, no, not for me.· I mean,
  ·8· · Department?                                            ·8· · me arresting someone, yes.
  ·9· · · · ·A.· ·Have I ever been sued by anyone else         ·9· · · · ·Q.· ·Yeah, there was another defendant.
  10· · besides Ms. King and this --                           10· · · · ·A.· ·Yeah.
  11· · · · ·Q.· ·Yes.                                         11· · · · ·Q.· ·Okay.· And that defendant went to trial
  12· · · · ·A.· ·No, sir.                                     12· · and you had to testify as one of the officers.
  13· · · · ·Q.· ·Yes.· So those are the two and only two      13· · · · ·A.· ·Yes, sir.
  14· · lawsuits?                                              14· · · · ·Q.· ·Okay.· Have you ever testified in court,
  15· · · · ·A.· ·Yeah, there's been one more.· There was      15· · in a courtroom in front of a judge and jury, in any
  16· · Garrett.· But that was -- ended up being dropped.      16· · of the cases where you have been personally sued?
  17· · BY MR. BREEDEN:                                        17· · · · ·A.· ·No, sir.
  18· · · · ·Q.· ·Okay.· How long ago was that?                18· · · · ·Q.· ·Okay.· Now you did mention before we
  19· · · · ·A.· ·Eight years ago, maybe a little bit less.    19· · started that you have given another deposition.· And
  20· · · · ·Q.· ·Last name was G-a-r-r-e-t-t?                 20· · was that in the Jasmine King case?
  21· · · · ·A.· ·I believe so, sir.                           21· · · · ·A.· ·Yes, sir.
  22· · · · ·Q.· ·And what was the basis for suing you in      22· · · · ·Q.· ·Okay.· Do you recall when that deposition
  23· · that lawsuit?                                          23· · was?
  24· · · · ·A.· ·He was -- he -- basically, it was he had     24· · · · ·A.· ·Couple years ago.
  25· · committed suicide, and they said that we had shot      25· · · · ·Q.· ·Okay.· Do you recall the name of the

                                                         31                                                           33
  ·1· · him.· We had a dog go in, found him underneath the     ·1· · attorney that took that deposition?
  ·2· · bed.· He had a self-inflicted gunshot wound.· The      ·2· · · · ·A.· ·I think it's -- if I remember, maybe his
  ·3· · dog removed him from underneath the bed.· We made      ·3· · first name, I think it was Josh.· I can't remember.
  ·4· · entry, rendered aid -- rendered aid to him, and he     ·4· · I'm sorry.
  ·5· · succumbed to his injuries.                             ·5· · · · ·Q.· ·Okay.· That's okay.· Have you ever been
  ·6· · · · · · · MR. ANDERSON:· Just so you know, there       ·6· · hired as an expert witness for a lawsuit to testify
  ·7· · were two lawsuits, two different parents sued, but     ·7· · about police practices and procedures?
  ·8· · it was the same event.                                 ·8· · · · ·A.· ·No, sir.
  ·9· · BY MR. BREEDEN:                                        ·9· · · · ·Q.· ·All right.· This particular case involves
  10· · · · ·Q.· ·Okay.· Were those lawsuits filed in Clark    10· · a tool called a stun stick.· Are you familiar with
  11· · County, Nevada?                                        11· · that term?
  12· · · · ·A.· ·Yes, sir.                                    12· · · · ·A.· ·Yes, sir.
  13· · · · ·Q.· ·And were they filed in federal court or      13· · · · ·Q.· ·Okay.· Now, prior to the January 10, 2022
  14· · state court, if you know the difference?               14· · SWAT entry, had you ever used that particular stun
  15· · · · ·A.· ·I don't know.                                15· · stick in an actual live event as opposed to
  16· · · · ·Q.· ·Okay.· And has Mr. Anderson or his law       16· · training?
  17· · firm represented you in all those suits we've          17· · · · ·A.· ·Opposed to training, no.· That was the
  18· · discussed?                                             18· · first time I've used that live.· I've trained it,
  19· · · · ·A.· ·Yes, sir.                                    19· · but I never used it in a live op.
  20· · · · ·Q.· ·Has Mr. Anderson represented you in any      20· · · · ·Q.· ·How long had you trained with it?
  21· · legal matter other than those three and a half or      21· · · · ·A.· ·When we first got them, we went to the
  22· · three to four lawsuits we've already discussed?        22· · range, tested them out.· We actually saw that the
  23· · · · ·A.· ·No, sir.                                     23· · Henderson SWAT had had a variation of that, and we
  24· · · · ·Q.· ·Okay.· Have you ever had to give courtroom   24· · liked that pulling system.· Made it a lot more
  25· · testimony in front of a judge and a jury?              25· · simpler, less complex.· I would say it was a day, up


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  ·1· · at the range.                                          ·1· · a window.
  ·2· · · · ·Q.· ·How long, prior to January 10, 2022, did     ·2· · · · ·A.· ·You mean the top?
  ·3· · you receive that type of stun stick?                   ·3· · · · ·Q.· ·Yes.
  ·4· · · · ·A.· ·I don't know, sir.· I couldn't tell you      ·4· · · · ·A.· ·The hood?· Yes.
  ·5· · when we received it.                                   ·5· · · · ·Q.· ·The hood, okay.· And then there's a little
  ·6· · · · ·Q.· ·Is it -- is it within a year?                ·6· · trigger that you can pull with one of your hands,
  ·7· · · · ·A.· ·I would say within a year, yes, sir.         ·7· · and it pulls a pin on the distract charge; is that
  ·8· · · · ·Q.· ·And how many times, then, did you practice   ·8· · accurate?
  ·9· · deploying it before January 10, 2022?                  ·9· · · · ·A.· ·Pulls the pin back to strike the 209
  10· · · · ·A.· ·Me personally?                               10· · primer that's in the initiator head.
  11· · · · ·Q.· ·Yes.                                         11· · · · ·Q.· ·Once you pull that back, if -- if the
  12· · · · ·A.· ·Just the day that we trained it.             12· · charge works correctly, how long is it before that
  13· · · · ·Q.· ·One day.· How many different charges?        13· · charge deploys?
  14· · · · ·A.· ·We utilized the distracts.· I don't know.    14· · · · ·A.· ·Well, it's not a charge.· It's a
  15· · A few.· I couldn't tell you.                           15· · distraction device that's in the housing.· The
  16· · · · ·Q.· ·Let me show you something.· We'll have it    16· · housing hood.· It should -- it's automatic.· Our
  17· · marked as an exhibit here.                             17· · distracts deploy at a second and a half delay.· The
  18· · · · · · · · ·(Exhibit No. 1 was marked.)               18· · defensive technology 25 that we use, that is a
  19· · BY MR. BREEDEN:                                        19· · second and a half delay.· But in the hood, because
  20· · · · ·Q.· ·This will be Exhibit --                      20· · it's command initiated and we're utilizing HMX,
  21· · · · · · · THE REPORTER:· Wait just a minute.           21· · which is a high explosive powder in the actual 209
  22· · · · · · · Hand it to the witness?                      22· · primer that's the connection piece, there's no delay
  23· · · · · · · MR. BREEDEN:· Yeah.                          23· · on it.
  24· · · · ·Q.· ·We'll have this marked as Exhibit 1.         24· · · · ·Q.· ·So once you pull the pin, it -- it is
  25· · · · · · · Exhibit 1 has a few different pages.· They   25· · intended to discharge right away.

                                                         35                                                           37
  ·1· · been Bates labeled WILLIAMS 793 through 797.· Will     ·1· · · · ·A.· ·It should -- it should initiate
  ·2· · you please take a look at all the different pages      ·2· · automatically.· It should initiate that flash powder
  ·3· · there for me?                                          ·3· · into the HMX from the strike of the 209 primer,
  ·4· · · · ·A.· ·Yes, sir.                                    ·4· · which is into the housing fuse of the Def Tech 25.
  ·5· · · · ·Q.· ·So, I'll represent to you that Exhibit 1     ·5· · · · ·Q.· ·And when you pull the trigger, the
  ·6· · are several pictures of a stun stick taken from the    ·6· · distract, does it fall out of the stun stick or it
  ·7· · JN Tactical website.                                   ·7· · stays within the hood?
  ·8· · · · · · · Looking at this exhibit, is that the same    ·8· · · · ·A.· ·No, sir.· It stays within the housing
  ·9· · or similar type of stun stick that you used on         ·9· · component here, and -- which is another reason why
  10· · January 10, 2022?                                      10· · we bought this actual piece.· Because we have direct
  11· · · · ·A.· ·Yes, sir.                                    11· · control of where that distract body goes.
  12· · · · ·Q.· ·Okay.· And do you know, is it the exact      12· · · · ·Q.· ·And -- I guess from one end to the other,
  13· · same make and model?· Does it look different at all    13· · in feet, how long is this?
  14· · from the type -- kind you used?                        14· · · · ·A.· ·Well, it can extend.· It could -- I would
  15· · · · ·A.· ·No, it's pretty -- it's pretty big, right    15· · say -- and now, this is just an approximate.· I'm
  16· · on.· 100 percent.                                      16· · going to say 15 to 20 feet at full extension. I
  17· · · · ·Q.· ·Okay.· And so the way that this is used,     17· · would say without extension, maybe five feet.· Maybe
  18· · just looking at 793, you're going to be holding it     18· · four and a half, the whole rod maybe.
  19· · by the two handles at the top, correct?                19· · · · ·Q.· ·Did you have it extended at all when you
  20· · · · ·A.· ·Yeah.· I would be holding that handle and    20· · used it in this case?
  21· · that handle.                                           21· · · · ·A.· ·No, sir.· I did not.
  22· · · · ·Q.· ·Okay.· And then at the bottom, there's,      22· · · · ·Q.· ·I've seen pictures of it taken afterwards,
  23· · like -- gosh, I don't even know how to describe it.    23· · sort of propped up against a wall.· And it looks
  24· · But that's where a distract charge goes, and then      24· · like, as you say, it's maybe four and a half, five
  25· · that is the part that's used to, for example, break    25· · feet in length; you think that's fair?


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  ·1· · · · ·A.· ·I think that's fair, yes.                    ·1· · · · ·Q.· ·Okay.· And so, the particular distract
  ·2· · · · ·Q.· ·Okay.· Now, let me -- let me ask you,        ·2· · that was used on January 10, 2022, was that brand
  ·3· · then, because you use the word -- you know, when       ·3· · new from Def Tech or had that been reloaded and
  ·4· · we're talking about the distract, I've -- I've         ·4· · reused?
  ·5· · called it a charge, but I'll use your terminology.     ·5· · · · ·A.· ·That was right out of the box.· We
  ·6· · The distract that's loaded and it's behind the hood    ·6· · don't -- we don't reuse a -- once we reload -- once
  ·7· · on this stun stick.· Is that something you prepare     ·7· · we've shot -- utilized a distract, that fuse head is
  ·8· · yourself or does it -- is it purchased from a          ·8· · gone.· The only thing that we can actually reuse is
  ·9· · company and it's already loaded?                       ·9· · that body that you have a picture of.
  10· · · · ·A.· ·You're asking about the actual distract?     10· · · · ·Q.· ·Yeah.· So let me show you -- we'll have
  11· · · · ·Q.· ·Yes.                                         11· · this marked as Exhibit 2.
  12· · · · ·A.· ·The flash tube and all that?· No.· So, the   12· · · · · · · · ·(Exhibit No. 2 was marked.)
  13· · way that it's kept in our truck is the way that you    13· · · · · · · THE WITNESS:· Thank you, ma'am.
  14· · see it here.· So, prior to every mission, if we're     14· · BY MR. BREEDEN:
  15· · going to utilize this tool, it will be loaded there.   15· · · · ·Q.· ·So, looking here at Exhibit 2, I'll
  16· · It would be basically constructed prior to us          16· · represent to you that this is a document that I
  17· · leaving the operation, the breach spot.· So, yes,      17· · pulled from the Def Tech website, specifications is
  18· · there will be guys that will prepare that.             18· · what I'm looking for.
  19· · · · ·Q.· ·And I think you used the term a Def Tech     19· · · · · · · Is this the same type of distract that you
  20· · 25?                                                    20· · deployed in the stun stick on January 10, 2022?
  21· · · · ·A.· ·Yes.                                         21· · · · ·A.· ·Well, I mean, it's a -- it's like a
  22· · · · ·Q.· ·What is that?                                22· · cartoon drawing of it.· This isn't the actual -- I
  23· · · · ·A.· ·That stands for Defense Technology.· That    23· · mean, it doesn't show what it looks like.· It's
  24· · is the actual brand and the name of the distract       24· · actually a black body, it says Defensive Technology
  25· · that we're using.                                      25· · on it.· It says 25 at the bottom.· But -- and then

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  ·1· · · · ·Q.· ·And so that -- the term Def Tech 25, does    ·1· · it's a screwed in fuse head.· So I'd say it's
  ·2· · that refer to, like, a prepackaged, presold            ·2· · basically it.
  ·3· · distract, or just a canister that can be loaded in     ·3· · · · ·Q.· ·Okay.· So, yeah, this is -- the
  ·4· · different ways so the distract behaves in different    ·4· · illustration shows a cross section of it.
  ·5· · ways?                                                  ·5· · · · ·A.· ·Yeah, yeah.
  ·6· · · · ·A.· ·No.· So, the actual distract -- the reason   ·6· · · · ·Q.· ·And then -- so, I guess some product
  ·7· · why it's called a 25 is because that housing body      ·7· · specifications there on the left in terms of flash
  ·8· · can be reused 25 times before they deem it to be       ·8· · powder and sound level and light level.
  ·9· · unsafe.· It's a pistol -- it's gun steel that it's     ·9· · · · · · · Was it loaded with that type of explosive
  10· · made out of.· So you can load the normal 25, which     10· · content when you deployed it?
  11· · is 12 gram or 4 gram distract, into the fuse head --   11· · · · ·A.· ·I'll be honest with you, it was probably
  12· · or sorry, into the body to where -- hand deployment,   12· · the command initiated ones that come premade.· Which
  13· · or you can run it command initiated, which is the      13· · is a -- I believe, you know, it's already set up
  14· · way it's ran here.· With the nonelectric shock tube    14· · with the -- with the shock tube already attached to
  15· · logged -- clicked into the flash tube, which the HMX   15· · it.· So it's not this.
  16· · powder mixes with the flash powder, which is loaded    16· · · · ·Q.· ·Okay.· So how would you describe, then, if
  17· · into the 209 primer for the strike, which initiates    17· · you're telling me, "Hey, I want you to go to the Def
  18· · everything.                                            18· · Tech website and order one of these for me," how
  19· · · · ·Q.· ·And so, if you deploy one of these           19· · would you explain to me how to order one?
  20· · distracts, there's someone at Metro who is in charge   20· · · · ·A.· ·Our logistics guys would do all that.· We
  21· · of sort of reloading them and reusing the cartridge?   21· · just tell them what we need.
  22· · · · ·A.· ·We -- we actually purchase reloads.· We      22· · · · ·Q.· ·Okay.· And so what would you tell your
  23· · have them in our equipment truck.· So when they are    23· · logistics person?
  24· · utilized on an operation, we can reload them           24· · · · ·A.· ·I would just say, "Hey, we need new
  25· · ourselves.                                             25· · command initiated reload defuse --


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  ·1· · · · · · · THE REPORTER:· Wait, excuse me.· Command     ·1· · the stun stick, but to also break out the window in
  ·2· · initiated reload?                                      ·2· · case the team had any issues at the front door, so
  ·3· · · · · · · THE WITNESS:· I'm sorry, ma'am.· Command     ·3· · at least we had eyes in to the target.· To see -- so
  ·4· · initiated reloads for the stun stick.· And they        ·4· · what we could see.
  ·5· · would know that.· I apologize ma'am.                   ·5· · · · ·Q.· ·And when you deploy this type of distract,
  ·6· · · · · · · That's how we would do that.· We would       ·6· · there's an extremely bright flash, correct?
  ·7· · tell them, hey, we need new -- we need more Low Roll   ·7· · · · ·A.· ·Yes, sir.
  ·8· · bodies, or if we need more housing bodies we would     ·8· · · · ·Q.· ·And there's a single, loud noise, right?
  ·9· · just tell them and they would order it.                ·9· · · · ·A.· ·One noise, yes.
  10· · BY MR. BREEDEN:                                        10· · · · ·Q.· ·Do you agree that that noise sounds like a
  11· · · · ·Q.· ·What do you mean by "command initiated"?     11· · an explosion?
  12· · · · ·A.· ·Basically, we have control when it's going   12· · · · ·A.· ·I would say it's a very loud bang, yes.
  13· · to go off.· It's off of us.· It's off of when we       13· · · · ·Q.· ·Would you agree with me that that might
  14· · send the primer.                                       14· · sound to somebody like some sort of gun or weapon
  15· · · · ·Q.· ·As opposed to, like, a delay?                15· · that's been fired?
  16· · · · ·A.· ·A hand thrown, hand deployed and a delay,    16· · · · ·A.· ·It's been known to -- for people to say
  17· · yes.                                                   17· · that it sounds like that, yes.
  18· · · · ·Q.· ·Okay.· Now, just generally speaking, why     18· · · · ·Q.· ·Okay.· You say it's been known for people
  19· · are these types of distracts used during SWAT          19· · to say that.· Who has told you that?
  20· · operations?                                            20· · · · ·A.· ·Just when we've arrested people and
  21· · · · ·A.· ·Which one, sir?· The stun stick or just      21· · they -- you know, as we're -- as we deployed
  22· · hand deployment?                                       22· · distracts, like, "Oh, we thought those were
  23· · · · ·Q.· ·Let's talk about the stun stick that was     23· · gunshots."
  24· · actually deployed on January 10, 2022.                 24· · · · ·Q.· ·Okay.· So, before January 10, 2022, you
  25· · · · ·A.· ·The stun stick that we used that night can   25· · were aware that some people that you had used these

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  ·1· · be utilized in two ways.· We can obviously utilize     ·1· · distractions on had actually confused them for
  ·2· · that tool to insert through a window.· We can          ·2· · gunshots.
  ·3· · utilize that tool because it can extend.· We can       ·3· · · · ·A.· ·People outside, yes.
  ·4· · actually extend it up to air burst outside of a        ·4· · · · ·Q.· ·Okay.· But you're aware that it can have
  ·5· · window on a second floor or something that's a         ·5· · that impression on people.
  ·6· · little bit, you know, elevated.                        ·6· · · · ·A.· ·Yes.
  ·7· · · · · · · But for that particular night, we utilized   ·7· · · · ·Q.· ·That they are already being fired on.
  ·8· · the stun stick in this case to break a window,         ·8· · · · ·A.· ·Yes.
  ·9· · insert that, extend it as high as we can to disrupt    ·9· · · · ·Q.· ·So, this thing creates a pretty loud
  10· · and disorient the people that are inside.· Causing a   10· · flash.· What do you do so that that flash doesn't
  11· · major -- a large flash and an initiation explosive.    11· · affect you when you deploy it?
  12· · · · ·Q.· ·Does it also cause a pressure wave a         12· · · · ·A.· ·So, when we deployed into the structure,
  13· · person can feel?                                       13· · obviously it's going to be deployed as high as
  14· · · · ·A.· ·Over pressure?· It could, yes.               14· · possible.
  15· · · · ·Q.· ·Okay.· So, the purpose of -- of this         15· · · · · · · There's three SOPs that I have to abide by
  16· · device, and I'm sorry, I'm not going to recall the     16· · when I deploy a stun stick, or any operator deploys
  17· · exact phrasing you used, I don't think, but it's to    17· · a stun stick.· Is we have to clear the area.· We
  18· · disorient people?                                      18· · have to make sure that there's nobody within the
  19· · · · ·A.· ·Disorient, cause disruption.· It's -- it     19· · vicinity of the area.· When we break glass or
  20· · basically, just like it says, it distracts, causing    20· · anything like that.· We also have to make sure that
  21· · attention away from -- from where we're trying to      21· · there is nothing flammable or hazardous that's going
  22· · come in from.· We utilize that in a way to also        22· · to be remotely within the vicinity of the area
  23· · create an opening as well, to see through -- we --     23· · before we initiate the 25 to go.
  24· · for the window.                                        24· · · · · · · So to answer your question, yes, it
  25· · · · · · · My job that night was to not only initiate   25· · creates a very large light.· We look away to avoid


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  ·1· · the brightness and the intensity of the                ·1· · clear.
  ·2· · illumination.· Because it does cause a very bright     ·2· · · · ·Q.· ·And in terms of the -- the sound that it's
  ·3· · light.· Def Tech or -- talks about 40- to 50,000 of    ·3· · creating, I think you described it as a very long
  ·4· · candela.· I mean, I'm not Thomas Edison.· I didn't     ·4· · (sic) bang that some people have confused with
  ·5· · invent the light bulb.· I don't know what a candela    ·5· · gunfire.· Do you wear any hearing protection for
  ·6· · is, but it's a very intense light.· I've actually      ·6· · that deployment?
  ·7· · been caught looking at it during training, and         ·7· · · · ·A.· ·Yes, sir.· They're attached to my helmet.
  ·8· · it's -- yes, it causes people to look away.            ·8· · · · ·Q.· ·Okay.· And so have you been around these
  ·9· · Temporarily incapacitate, disorient, disrupt, all      ·9· · not wearing hearing protection when they're
  10· · those things.                                          10· · deployed?
  11· · · · ·Q.· ·When you actually deploy it, then, you       11· · · · ·A.· ·Have I been around them?· No.· We
  12· · know, just using January 10, 2022 as the example,      12· · always -- if we're training with distracts or
  13· · did you turn your head to the side and close your      13· · anything, we're always making sure that we have
  14· · eyes to minimize the effect of the flash --            14· · hearing protection on.
  15· · · · ·A.· ·In this -- I apologize.· I didn't mean to    15· · · · ·Q.· ·Why is that?
  16· · step on you.                                           16· · · · ·A.· ·Protect our ears.
  17· · · · · · · In this situation I didn't need to.          17· · · · ·Q.· ·And do you agree with me that it would
  18· · Because I was able to get it as high and basically     18· · have a confusing and distracting effect on a
  19· · touching the ceiling.· So I didn't have to.· I just    19· · person's hearing if they were to be around one of
  20· · basically stood back and leaned back and angled my     20· · those when it deployed without hearing protection?
  21· · body to the left side of the window.                   21· · · · ·A.· ·I would agree, yes.
  22· · · · ·Q.· ·But you weren't looking at it when you       22· · · · ·Q.· ·And what -- you know, there's different
  23· · deployed it, were you?                                 23· · kinds of hearing protection that you can have. I
  24· · · · ·A.· ·No, I didn't.                                24· · mean, there's the -- there's those little, like,
  25· · · · ·Q.· ·Did you have your eyes open or closed?       25· · foam earbuds that you can put in, or if you were at

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  ·1· · · · ·A.· ·Yes, my eyes were open.                      ·1· · a rifle range you can wear, like, noise canceling
  ·2· · · · ·Q.· ·Okay.· In the situations where you say       ·2· · headphones.· What is the hearing protection that you
  ·3· · you -- during training the flash has caught your       ·3· · had on that day?
  ·4· · eyes open, how has that affected you?                  ·4· · · · ·A.· ·I had headphones.· The ones you're talking
  ·5· · · · ·A.· ·Just a quick little -- you know, I would     ·5· · about, the noise, auditory.· Yeah.
  ·6· · say half a second little -- obscuring my vision.       ·6· · · · ·Q.· ·You had noise canceling headphones on.
  ·7· · · · ·Q.· ·Okay.· And how long did that effect last     ·7· · · · ·A.· ·Uh-huh, yes.
  ·8· · for you?                                               ·8· · · · ·Q.· ·All right.· And are those -- is that sort
  ·9· · · · ·A.· ·Like I said, maybe half a second.            ·9· · of standard practice when you're using a stun stick,
  10· · · · ·Q.· ·But you would agree that it's confusing      10· · to wear hearing protection of that kind?
  11· · and disorienting on people?                            11· · · · ·A.· ·It's standard practice for us to have
  12· · · · ·A.· ·I would agree, yes, sir.                     12· · hearing protection no matter what job we're doing.
  13· · · · ·Q.· ·Okay.· And then, were you wearing any        13· · · · ·Q.· ·Now, I know Officer Rothenburg was close
  14· · goggles or eye protection?                             14· · by.· Do you -- did I pronounce that name correctly?
  15· · · · ·A.· ·I was, sir, yes.                             15· · · · ·A.· ·Rothenburg, yes, sir.
  16· · · · ·Q.· ·Okay.· What were you wearing?                16· · · · ·Q.· ·Did Officer Rothenburg have hearing
  17· · · · ·A.· ·Ballistic -- well, not ballistic, that's     17· · protection on as well?
  18· · what they're called.· Just an Oakley clear lens.       18· · · · ·A.· ·I believe he did, yes, sir.
  19· · · · ·Q.· ·Okay.· It's not shaded in any manner?        19· · · · ·Q.· ·Did all the officers on the SWAT team have
  20· · · · ·A.· ·No, sir, it is not shaded.                   20· · hearing protection?
  21· · · · ·Q.· ·Okay.· And why -- is there some reason       21· · · · ·A.· ·To my knowledge, yes, sir.· They should
  22· · it's not shaded?                                       22· · have.
  23· · · · ·A.· ·My lenses?· Well, our operation was dark     23· · · · ·Q.· ·Okay.· Noise canceling?
  24· · at night.· And I'm -- I want to be able to see.· I'm   24· · · · ·A.· ·Yes, sir.
  25· · not -- I don't need any tint.· I want them to be       25· · · · ·Q.· ·Wouldn't that impair your ability to speak


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  ·1· · to people or hear people on the inside?                ·1· · a half of while that thing -- when that thing is
  ·2· · · · ·A.· ·No.· No.· We can still talk, we can still    ·2· · deployed, that we're probably not going to hear each
  ·3· · communicate with our headphones on.                    ·3· · other, yes.
  ·4· · · · ·Q.· ·Okay.· To each other or to anyone?           ·4· · · · ·Q.· ·Have you ever been to a concert or, you
  ·5· · · · ·A.· ·We have radios, we have -- our radios and    ·5· · know, something else.· Like, you've been around a
  ·6· · our communication pieces are all hooked into our       ·6· · jet plane and there's some very loud noise and
  ·7· · headphones with our mikes.· That's how we can          ·7· · you're exposed to it, and then you notice that even
  ·8· · communicate.                                           ·8· · when the noise stops, you're hearing is still
  ·9· · · · ·Q.· ·Okay.· Well, members of the public like      ·9· · affected.
  10· · Mr. Williams, he wasn't miked up and he didn't have    10· · · · ·A.· ·I can honestly tell you, I've never been
  11· · access to your radios, right?                          11· · to a concert.· Yes, I've been around planes.· When
  12· · · · ·A.· ·No.                                          12· · we do dignitary protection details.· I don't -- I've
  13· · · · ·Q.· ·Okay.· So, if Mr. Williams had tried to      13· · never been affected by it.· So I don't understand
  14· · say something, don't you think the hearing             14· · the -- I don't know the example that you're giving.
  15· · protection you're wearing would have impaired your     15· · I apologize.
  16· · ability to hear that?                                  16· · · · ·Q.· ·Okay.· Well, as far as you know, who was
  17· · · · ·A.· ·No.                                          17· · the person who made the decision to use the stun
  18· · · · ·Q.· ·Noise canceling headphones --                18· · stick on January 10, 2022?
  19· · · · ·A.· ·If he was saying something to us, no, we     19· · · · ·A.· ·It was basically -- the option was given
  20· · would be able to hear him.· Our -- our headphones --   20· · by the recon officers to the Assistant Team Leader.
  21· · basically, we have -- we have devices where we         21· · That was also then given to -- the Assistant Team
  22· · can -- they cancel out -- we can hear.· We can hear    22· · Leader presented that to the sergeants, the team
  23· · just fine.                                             23· · leaders.· The team leader then, per policy, has to
  24· · · · ·Q.· ·Well, you would agree -- I mean, the         24· · get that approved by the lieutenant, because it's
  25· · purpose of noise canceling headphones is to impair     25· · going to be an insertion into the structure.· And so

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  ·1· · your hearing somewhat, right?                          ·1· · lieutenant O'Daniel approved that.· The ATL -- ATL
  ·2· · · · ·A.· ·Just kind of cancels out some of the         ·2· · Werner brought that to Sergeant Backman and Sergeant
  ·3· · noise, like, when we're utilizing, like, distracts     ·3· · Finley.
  ·4· · and large bangs.· Like, we can hear just fine.         ·4· · · · ·Q.· ·Okay.· So thank you for providing the
  ·5· · · · ·Q.· ·Would you agree with me that if one of       ·5· · names to those folks.· But as far as you are
  ·6· · these distracts is going off and someone is speaking   ·6· · concerned, who's the person ultimately in charge of
  ·7· · at the same time, it would be difficult to hear or     ·7· · that decision?· Even if it's recommended by
  ·8· · understand them over the distract noise?               ·8· · somebody, who -- who's that decision ultimately fall
  ·9· · · · ·A.· ·I'm sorry, can you repeat that?              ·9· · on?
  10· · · · ·Q.· ·Yeah, I'm sorry.· It was kind of a long      10· · · · ·A.· ·To use it?
  11· · question.                                              11· · · · ·Q.· ·Yes.
  12· · · · · · · The question is, would you agree with me     12· · · · ·A.· ·The lieutenant.
  13· · that if somebody was speaking, like we're speaking     13· · · · ·Q.· ·O'Daniel?
  14· · during this deposition, if we were doing this while    14· · · · ·A.· ·Yes.
  15· · one of these distracts is going off, do you agree      15· · · · ·Q.· ·And you're aware she approved it in this
  16· · with me that it would be more difficult to             16· · case?
  17· · understand me?                                         17· · · · ·A.· ·Yes.
  18· · · · ·A.· ·It would be a loud bang.· I mean, it         18· · · · ·Q.· ·Do you know why she approved it?
  19· · depends on where it would be deployed.· If it was      19· · · · ·A.· ·I do not.
  20· · deployed on the outside, you and I would -- you and    20· · · · ·Q.· ·Okay.· If you had designed this squad --
  21· · I would -- we would hear a loud bang, but we could     21· · SWAT action, the IAP, would you have recommended the
  22· · still easily talk and communicate with each other.     22· · use of a stun stick?
  23· · · · · · · That door comes open, we -- they deploy a    23· · · · ·A.· ·The IAP?
  24· · distract in here, and we hear a loud bang,             24· · · · ·Q.· ·Yes.
  25· · there's -- there's probably going to be a second and   25· · · · ·A.· ·We don't fill out the IAP.· You mean the



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  ·1· · actual -- the planning phase, the tactical --          ·1· · believe, yes, now it's around 120.· I believe
  ·2· · · · ·Q.· ·Yes, if you planned it.                      ·2· · they're going to extend that training.
  ·3· · · · ·A.· ·If I would have planned it, would I have     ·3· · · · ·Q.· ·And is that conducted by Metro or some
  ·4· · utilized the stun stick; is that what you're asking    ·4· · sort of outside agency?
  ·5· · me?                                                    ·5· · · · ·A.· ·No, that's conducted by Metro.· That's by
  ·6· · · · ·Q.· ·Correct?                                     ·6· · our training section, our training support detail.
  ·7· · · · ·A.· ·At the ATL, yes, I would have.               ·7· · There are three operators over that and a sergeant.
  ·8· · · · ·Q.· ·Okay.· Why?                                  ·8· · · · ·Q.· ·And when did you go through that SWAT
  ·9· · · · ·A.· ·I feel it gave the team a very tactical      ·9· · training?
  10· · advantage because it was on the opposite side of the   10· · · · ·A.· ·I made SWAT in October of 2010.· So
  11· · door.· If the team did get hung up during the          11· · probably October -- I actually know my date when I
  12· · breach, if they were delayed, by utilizing the stun    12· · got my call was October 10, 2010.· And my SWAT
  13· · stick and breaking the window, it allowed us eyes in   13· · school probably started that next week.
  14· · to see into the structure, to see what's going on.     14· · · · ·Q.· ·And at that time, was it the 120-hour
  15· · If people are arming themselves, if the door is        15· · course?
  16· · barricaded, it allows us to at least hold that area    16· · · · ·A.· ·I believe it was 80 at the time, sir.
  17· · and explain to the team what's happening and what --   17· · · · ·Q.· ·Okay.· And who were your instructors
  18· · what the problem is.· So, yes.                         18· · during that course?
  19· · · · ·Q.· ·I want to talk a little bit about your       19· · · · ·A.· ·It was Officer Kevin McCord, Officer Troy
  20· · training to be a SWAT officer.· I assume when you're   20· · Wilson, and I believe Officer Mills, Bob Mills was
  21· · originally hired as an officer, you have to undergo    21· · still in the unit.· I could be wrong, and I
  22· · some sort of basic training or education to work for   22· · apologize.
  23· · the department; is that accurate?                      23· · · · ·Q.· ·And I know it's -- you know, in terms of
  24· · · · ·A.· ·Yes, sir.· You go through, obviously, a      24· · hours it's 120 hours, but how many days, weeks, or
  25· · police academy.                                        25· · months does that take to complete?

                                                         55                                                           57
  ·1· · · · ·Q.· ·And so assuming you -- you've passed the     ·1· · · · ·A.· ·Maybe it's a four-week or -- it depends,
  ·2· · police academy, you've been hired as an -- as an       ·2· · sir.· It really does, on what -- how the breakup is.
  ·3· · officer.· What sort of additional training or          ·3· · I mean, because those operators are still full-time
  ·4· · qualifications do you have to have to join the SWAT?   ·4· · operators that assist us with callouts.· So I don't
  ·5· · · · ·A.· ·So, to join SWAT, basically you only need    ·5· · know.· Like, that could take four weeks, it could
  ·6· · to be a police officer for six years.· We have best    ·6· · take five.· I know that their last one took around
  ·7· · candidates will kind -- title thing -- in our          ·7· · four weeks.
  ·8· · announcement.· Firearm instructor, defensive tactic    ·8· · · · ·Q.· ·Now, when you did that training course,
  ·9· · instructor.· All officers are now CIT certified, the   ·9· · was it all classroom hours or was there some stuff
  10· · crisis intervention for -- you know, to be able to     10· · in the field training?
  11· · talk to people.· Everyone is now certified in the      11· · · · ·A.· ·When I went through, we did a little bit
  12· · academy.· That was not something that was given when   12· · of classroom stuff in the morning, and then
  13· · we first -- when I first went through back in '04.     13· · everything else was practical application throughout
  14· · · · · · · We are also, they -- the best candidates     14· · the rest of the day.· Like entry training, vehicle
  15· · look to have instructor development certifications,    15· · assaults, bus assaults, manual ballistic breaching
  16· · any outside tactical training.· Those are some of      16· · training.· Just like that.
  17· · the things that we look at when new SWAT operators     17· · · · ·Q.· ·Okay.· Were you allowed to go on live SWAT
  18· · are looking to come up.· It's not mandate -- I mean,   18· · actions before you completed that -- I think you
  19· · it's not something you have to have, but it's          19· · said it was an 80-hour course at that time?
  20· · something we like to see.                              20· · · · ·A.· ·At the time I -- basically what you're
  21· · · · ·Q.· ·Well, let me ask you.· Isn't there a         21· · asking me is -- no.· I was focused on -- we were
  22· · 120-hour SWAT training course that you have to         22· · basically new guys, we were on SWAT school.
  23· · undergo?                                               23· · · · ·Q.· ·Okay.· So you were new, you were full-time
  24· · · · ·A.· ·Well, that's when you first come up to       24· · SWAT school, you were not allowed to go on live or
  25· · SWAT.· That's the SWAT school they give.· And I        25· · actual SWAT missions until you completed that


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  ·1· · course.                                                ·1· · · · ·A.· ·I don't know -- I don't know.
  ·2· · · · ·A.· ·Until we completed the course, yes, sir.     ·2· · · · ·Q.· ·You had no idea if he had undergone the
  ·3· · · · ·Q.· ·Okay.· Do you agree that that SWAT           ·3· · 120-hour SWAT training?
  ·4· · training course added value to your training as an     ·4· · · · ·A.· ·I didn't -- I don't know -- I don't know.
  ·5· · officer to do SWAT?                                    ·5· · · · ·Q.· ·You just didn't know one way or another.
  ·6· · · · ·A.· ·Absolutely.· It's -- our training is         ·6· · · · ·A.· ·I know he went through some type of
  ·7· · different than just basic patrol stuff.                ·7· · training.· I don't know exactly what his SWAT school
  ·8· · · · ·Q.· ·And so you agree that anybody who wants to   ·8· · entailed.· I don't know everything that was done
  ·9· · be on SWAT should undergo that training first?         ·9· · with that.
  10· · · · ·A.· ·Through SWAT school?                         10· · · · ·Q.· ·Okay.· In the SWAT training, you talked
  11· · · · ·Q.· ·Yes.                                         11· · about what's called a CET or CET entry, correct?
  12· · · · ·A.· ·I mean, if you're talking about -- are you   12· · · · ·A.· ·Controlled Entry Tactics, CET, yes, sir.
  13· · talking about making live entries and stuff like       13· · · · ·Q.· ·And what is that and how is that
  14· · that?· Or are you just talking if you want to come     14· · distinguished from a no-knock warrant or a surround
  15· · to SWAT -- you want to go to SWAT school, you have     15· · and call-out?
  16· · to go through our process.· I guess I'm confused by    16· · · · ·A.· ·Okay.· So, we'll start from each one, all
  17· · your question.                                         17· · right?
  18· · · · ·Q.· ·Yeah.· Well, the question is, you know, do   18· · · · · · · So Surround and Call-Out is basically
  19· · you think people should complete that additional       19· · where you're going to surround a structure.· We're
  20· · SWAT training before they go on live SWAT actions?     20· · going to park armored vehicles in certain tactical
  21· · · · ·A.· ·I see what you're saying.· Yes.· So          21· · positions, off of corners of the -- of the house.
  22· · when -- your training needs to be completed, yes. I    22· · We're going to completely surround it, we're going
  23· · see what you're saying, yes.                           23· · to completely contain it.· Make sure that we have
  24· · · · ·Q.· ·So you agree with my statement?              24· · all of our SWAT assets in line.· We're going to
  25· · · · ·A.· ·Yes.                                         25· · start with verbal announcements over a PA, loud --

                                                         59                                                           61
  ·1· · · · ·Q.· ·Okay.                                        ·1· · LRAD bullhorn.· Allow them ample opportunities to
  ·2· · · · ·A.· ·I thought you were talking about, like,      ·2· · come out.· If they do not come out after
  ·3· · some just random patrol guy wanting to go through      ·3· · announcements, we go to a distract plan.· More
  ·4· · SWAT school.· No, sorry.                               ·4· · announcements.· Go to a breach plan.· That's the
  ·5· · · · ·Q.· ·Well, I mean, yeah.· So a random -- random   ·5· · Surround and Call-Out.· We're giving them that time
  ·6· · patrol guy says, "Hey, I want to be on SWAT.· You      ·6· · to come out.
  ·7· · guys are doing a SWAT thing tomorrow.· Can I go with   ·7· · · · · · · Now going to -- you asked about a CET.
  ·8· · you?"· What do you tell them?                          ·8· · Controlled Entry Tactic.· That is more of a dynamic
  ·9· · · · ·A.· ·We don't offer that.· Like, we offer our     ·9· · movement.· It's a dynamic approach to the door.
  10· · role playing.· So, like, if you want to come observe   10· · We're utilizing announcements, announce -- several
  11· · our training, 100 percent.· But we don't just allow    11· · announcements before we end up breaching the door
  12· · them to just jump in.· There are classes we offer      12· · and we are all then making a dynamic movement into
  13· · them, guys that are interested in SWAT.· But to run    13· · the structure to fill it.· We would use a CET tactic
  14· · a full-blown SWAT school, you have to have tested      14· · to utilize speed, surprise, and overwhelming action.
  15· · and been one of the guys in our selection, yes.        15· · For suspects that are inside known to be violent,
  16· · · · ·Q.· ·Well, why wouldn't you want somebody who     16· · known to be armed.· The -- also, the reasons why we
  17· · has not undergone that full SWAT training to be part   17· · would do CET tactics -- or CET entries is
  18· · of the SWAT team?· In a live --                        18· · environmental factors.· Consisting of, can we
  19· · · · ·A.· ·Just inexperience, very new.· They need to   19· · contain the structure?· Are we able to bring armored
  20· · have the training.· They need to be able to be         20· · vehicles up?· Are we able to be able to limit their
  21· · comfortable.· Stuff like that.                         21· · movement?
  22· · · · ·Q.· ·Okay.· What do you know about Sergeant       22· · · · · · · So, by getting on -- by making entry and
  23· · Backman's SWAT training prior to January 10, 2022?     23· · using that speed, surprise, and overwhelming action.
  24· · · · ·A.· ·What do I know about it?                     24· · And we would also use it because it's a smaller
  25· · · · ·Q.· ·Yeah.                                        25· · structure that we know that we can dominate and fill


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  ·1· · with manpower.                                         ·1· · through the commander, and up to the deputy chief.
  ·2· · · · · · · Now, the no-knock is -- basically if we      ·2· · So, we haven't been utilizing it much.· But mainly,
  ·3· · have a no-knock, if we are authorized a no-knock       ·3· · the only time we would use -- utilize it now is if
  ·4· · search warrant, we would not utilize announcements.    ·4· · we're going to receive and we have the approval for
  ·5· · We would just basically make our approach, breach      ·5· · a no-knock.
  ·6· · the door, and make entry.· Once we would -- did make   ·6· · · · ·Q.· ·Okay.· So it's your understanding that as
  ·7· · entry at that time, we would sound off police search   ·7· · of today, CET entry is only permitted when there's a
  ·8· · warrant.                                               ·8· · no-knock warrant.
  ·9· · · · ·Q.· ·So, when we talk about the January 10,       ·9· · · · ·A.· ·Yes, sir.
  10· · 2022 SWAT mission, that was not a no-knock warrant.    10· · · · ·Q.· ·Okay.· And when did that policy change
  11· · · · ·A.· ·That was not a no-knock search warrant.      11· · occur?
  12· · · · ·Q.· ·So, if that had been a no-knock, what        12· · · · ·A.· ·I would say within the last year, since
  13· · would you have done differently from the CET entry     13· · Commander Peterson has taken over.· He is our
  14· · you actually used?                                     14· · director of SWAT.
  15· · · · ·A.· ·If it was a no-knock?                        15· · · · ·Q.· ·Between the Jasmine King incident and this
  16· · · · ·Q.· ·Yes.                                         16· · incident involving Mr. Williams, were you aware of
  17· · · · ·A.· ·If it was a no-knock, basically what would   17· · or retrained on any changes in SWAT policy that had
  18· · have -- happen with that, if we had the approval, we   18· · been made for CET entries?
  19· · would have made our approach.· I would have probably   19· · · · ·A.· ·Not to my knowledge, sir.· I believe
  20· · been given the command over the radio to communicate   20· · everything was still the way it's written.
  21· · to breach the window, initiate the stun stick, and     21· · · · ·Q.· ·Do you believe that that change regarding
  22· · then they probably would have breached the door.       22· · CET entry only for no-knock warrants, do you believe
  23· · Just like -- we just wouldn't have announced.· Once    23· · that happened specifically because of Mr. Williams'
  24· · the door came open, announcements would have           24· · death on January 10 of 2022?
  25· · started, police search warrant.                        25· · · · · · · MR. ANDERSON:· Objection, form

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  ·1· · · · ·Q.· ·And have there been any changes to CET       ·1· · (indiscernible).
  ·2· · policies for SWAT over the last five years?            ·2· · · · · · · THE REPORTER:· Form -- wait.· Form?
  ·3· · · · ·A.· ·In just anything?                            ·3· · · · · · · MR. ANDERSON:· Just form.· Whatever I say
  ·4· · · · ·Q.· ·Yeah, in -- when it is allowed to be used?   ·4· · is form.
  ·5· · · · ·A.· ·Oh, CET?                                     ·5· · · · · · · THE WITNESS:· So the -- do I feel that our
  ·6· · · · ·Q.· ·Yeah, CET.                                   ·6· · change came because of this case?
  ·7· · · · ·A.· ·Yes.· It still needs to be -- obviousy it    ·7· · BY MR. BREEDEN:
  ·8· · has to be -- are you talking about CET no-knock?       ·8· · · · ·Q.· ·Yes.
  ·9· · What are you -- which one are you referring to, sir?   ·9· · · · ·A.· ·No, I do not.
  10· · · · ·Q.· ·Yeah.· So I'm talking specifically           10· · · · ·Q.· ·Okay.· Are you aware of another reason why
  11· · about -- do you use C-E-T or CET?                      11· · that change was made, or you just do not know the
  12· · · · ·A.· ·I don't call it -- we don't call it CET.     12· · exact reason for the change?
  13· · CET.                                                   13· · · · ·A.· ·I do not know the exact reason, sir.
  14· · · · ·Q.· ·CET.                                         14· · · · ·Q.· ·Okay.· Now, no-knock warrants.· You've
  15· · · · ·A.· ·Controlled Entry Tactic.                     15· · been on SWAT since what, October 2010.· How many
  16· · · · ·Q.· ·Okay.· So I'll use the same terminology      16· · no-knock warrants have you executed on SWAT?
  17· · you do so we don't confuse each other.                 17· · · · ·A.· ·One.
  18· · · · ·A.· ·Cool.                                        18· · · · ·Q.· ·When was that?
  19· · · · ·Q.· ·Over the last five years, have there been    19· · · · ·A.· ·Sergeant Bonkavich was still here, so I
  20· · any changes to SWAT's policies and procedures          20· · would say within, if I want to give you the best
  21· · regarding when CET entry is permitted and when it is   21· · guess I can, sir, I'm going to say within the last
  22· · not?                                                   22· · three years.
  23· · · · ·A.· ·It still -- it still has to go through the   23· · · · ·Q.· ·And would you agree with me that no-knock
  24· · entire authorization process.· So it's still going     24· · warrants are quite rare, then?
  25· · to be through the sergeant, through the lieutenant,    25· · · · ·A.· ·They're quite rare.· It is intel based,


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  ·1· · suspect, violent tendencies, access to, you know,      ·1· · informal policy of Metro, to serve warrants at that
  ·2· · certain weapon systems, flight risk, possibility of    ·2· · hour?
  ·3· · hostage situation.· Yes.· To answer your question,     ·3· · · · ·A.· ·It's more informal.· I mean, I don't think
  ·4· · quite rare.                                            ·4· · it's -- it's all intel-based, intel-driven.· You
  ·5· · · · ·Q.· ·Are you aware of the Brianna Taylor case     ·5· · know.· If there's a reason -- like, to give you an
  ·6· · in Kentucky?                                           ·6· · example.· If there's a reason -- we get an IAP for a
  ·7· · · · ·A.· ·I'm going to be honest with you.· I don't    ·7· · narcotics raid.· They want a 5:00 a.m. hit.· We're
  ·8· · know everything about the Brianna Taylor case.· I do   ·8· · going to ask why.· Hey, that's when the suspect
  ·9· · not.                                                   ·9· · leaves.· We plan on trying to take him away.
  10· · · · ·Q.· ·Would you agree with me, though, that that   10· · There's reasons why, that we would utilize that.
  11· · case and that shooting shined a light on no-knock      11· · · · ·Q.· ·And for the particular SWAT action on
  12· · warrants and how dangerous they might be?              12· · January 10, 2022, as far as you know, who made the
  13· · · · · · · MR. ANDERSON:· Objection, form.              13· · decision to execute that at 5:00 a.m.?
  14· · · · · · · Go ahead.                                    14· · · · ·A.· ·I do not know, sir.
  15· · · · · · · THE WITNESS:· I would agree with your        15· · · · ·Q.· ·What's your understanding of Metro's
  16· · question -- with what you're saying, is that that      16· · policy, whether it be formal or informal, about
  17· · did bring up no-knocks, controlled -- making dynamic   17· · whether a CET entry is permitted to be used for a
  18· · entries and stuff.· But I don't know anything about    18· · property only search warrant?
  19· · that case.· I don't even know -- I don't know          19· · · · ·A.· ·If it's going to be utilized for property
  20· · anything.· So I can't -- I can't really elaborate on   20· · only, it has to be approved by the commander.· The
  21· · that.                                                  21· · lieutenant.· And there has to be circumstances
  22· · BY MR. BREEDEN:                                        22· · regarding why.· The suspect has access to weapons,
  23· · · · ·Q.· ·Okay.· The CET entry in this case was        23· · violent tendencies -- I thought we were getting
  24· · performed at approximately 5:00 a.m.· Is it common     24· · attacked.· Violent tendencies, severity of the --
  25· · practice for SWAT to perform missions during early     25· · severity of the crime.· What is -- his prior

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  ·1· · morning hours where it's likely people will be         ·1· · criminal history is, his flight risk.· Stuff like
  ·2· · asleep?                                                ·2· · that.· All those things have to go into play and
  ·3· · · · ·A.· ·Yes.· It is common.                          ·3· · they have to be articulated and explained to the
  ·4· · · · ·Q.· ·Okay.· Has that policy changed at all in     ·4· · lieutenant, and she gives the ultimate authorization
  ·5· · the last five years?                                   ·5· · if we're going to utilize a CET on property crime.
  ·6· · · · ·A.· ·Has it changed?                              ·6· · · · ·Q.· ·Has -- have the policies or procedures,
  ·7· · · · ·Q.· ·Yes.                                         ·7· · whether formal or informal, for use of a CET entry
  ·8· · · · ·A.· ·No.                                          ·8· · on a property only search warrant, have those
  ·9· · · · ·Q.· ·So you're still routinely serving warrants   ·9· · changed over time?
  10· · in hours where people are likely to be asleep?         10· · · · ·A.· ·There has been different changes in our
  11· · · · ·A.· ·Yes, sir, we are.                            11· · SWAT policies about that.· Those decisions have been
  12· · · · ·Q.· ·As far as you know, the time for this        12· · made by the SWAT commander.
  13· · warrant, 5:00 a.m., that was selected specifically     13· · · · ·Q.· ·Were you trained on any change in policy
  14· · because it was hoped that people inside the            14· · in that regard between the Jasmine King and the
  15· · apartment would be asleep, right?                      15· · Isaiah Williams incidents?
  16· · · · ·A.· ·Yes, sir.· That's a very active complex      16· · · · ·A.· ·No, there was -- no.
  17· · with people moving around.· They wanted to make sure   17· · · · ·Q.· ·Okay.· And so, is it your understanding
  18· · that we, on our approach, were not compromised.· So    18· · that at any time use of CET entry for a property
  19· · they utilized that time of 5:00 a.m. to make sure      19· · only search warrant has been banned?
  20· · that we could have everybody inside.                   20· · · · ·A.· ·If it's going to be utilized, it would
  21· · · · ·Q.· ·As far as you are aware, was there any       21· · have to be approved.· But right now, that's -- it
  22· · reason, other than the hope that people would be       22· · wouldn't be something we would do.· It would have --
  23· · inside asleep, that the 5:00 a.m. time was selected?   23· · there would have to be circumstances involving the
  24· · · · ·A.· ·No, I do not.                                24· · suspect inside.· Like, there would have to be a
  25· · · · ·Q.· ·And would you describe that as a formal or   25· · reason that we would go CET on a property crime.


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  ·1· · And I highly doubt that would happen now.              ·1· · that for changes in CET entry policy since the
  ·2· · · · ·Q.· ·Well -- and so, when you say, "I doubt       ·2· · Jasmine King incident?
  ·3· · that would happen now," when did that change come      ·3· · · · ·A.· ·We -- during meetings, you know, we've --
  ·4· · about?                                                 ·4· · I don't -- I mean, I don't know if anything was
  ·5· · · · ·A.· ·Within the last year, two years.             ·5· · changed in policy at the time.· I think it was still
  ·6· · · · ·Q.· ·Do you know, was that change precipitated    ·6· · all the same.· But, like, we -- you know, we
  ·7· · by the shooting of Mr. Williams, the change in         ·7· · discussed it.· But...
  ·8· · policy?                                                ·8· · · · ·Q.· ·What has been discussed in meetings
  ·9· · · · ·A.· ·I think it's a just a change in              ·9· · specifically?
  10· · everything.· The world, you know, and the nation       10· · · · ·A.· ·Just make sure that we're reviewing and
  11· · with policing and search warrants and no-knocks. I     11· · making sure we're looking at the IAPs and asking the
  12· · think it's -- it's kind of all been out there.         12· · proper questions of, you know, they added -- the
  13· · Which is to make -- you know, have changes with it     13· · extra added in boxes of when was the last time
  14· · to -- change policies (indiscernible).                 14· · suspect was seen at this location, stuff like that.
  15· · · · · · · THE REPORTER:· Change policies?              15· · They just added extra information on the IAPs for us
  16· · · · · · · THE WITNESS:· Sorry.· Change policies and    16· · to review.
  17· · procedures.                                            17· · · · ·Q.· ·Okay.· So, you mentioned an example of
  18· · · · · · · THE REPORTER:· Thank you.                    18· · when a suspect was last seen as a location -- as a
  19· · · · · · · THE WITNESS:· So, yeah.                      19· · change to the IAPs.· What other changes to IAPs have
  20· · BY MR. BREEDEN:                                        20· · occurred in the last five years?
  21· · · · ·Q.· ·And so have you been retrained on any        21· · · · ·A.· ·That's all I can recall at the time, right
  22· · changes in use of CET entry since Mr. Williams'        22· · now.
  23· · shooting?                                              23· · · · ·Q.· ·Okay.· And the additional box about the
  24· · · · ·A.· ·Retrained?                                   24· · last time a suspect was seen at a location.· Do you
  25· · · · ·Q.· ·Yes.                                         25· · think that change was made in response to

                                                         71                                                           73
  ·1· · · · ·A.· ·So, are you asking me, have we -- have I     ·1· · Mr. Williams' shooting?
  ·2· · been retrained in the way that we do our tactics or    ·2· · · · ·A.· ·No, I think that was also -- that's with
  ·3· · just in policies and procedures?                       ·3· · everything -- we've -- we've had a lot of, you know,
  ·4· · · · ·Q.· ·On any -- well, either, really.              ·4· · warrants that we've served where all the sudden,
  ·5· · · · ·A.· ·No, we still -- we're still training and     ·5· · nobody's there, nobody's home.· We want to make sure
  ·6· · doing our normal -- doing our normal stuff that we     ·6· · when they -- you know, when was the last time the
  ·7· · do.· Now, we're just really making sure that we're     ·7· · suspect was physically seen here at this location.
  ·8· · looking at all the documentation that we're -- being   ·8· · · · ·Q.· ·Yeah.· And do you know much about the
  ·9· · sent to -- getting sent from detectives.               ·9· · underlying suspect here, Wattsel Rembert, and when
  10· · · · · · · Now, on our IAPs, there are check boxes      10· · he was last seen at the 3050 South Nellis apartment?
  11· · of -- that consist of, is this a body of search        11· · · · ·A.· ·I do not, sir.
  12· · warrant?· Is this evidence only?· Is this high risk?   12· · · · ·Q.· ·Okay.· In terms of SWAT actions and
  13· · A low level?· A lot of those -- those are the types    13· · training, what is calling a tactical?· What does
  14· · of changes that has occurred.· To answer your          14· · that mean?
  15· · question, yes.                                         15· · · · ·A.· ·What does tactical mean when we're going
  16· · · · ·Q.· ·When those changes come about to a formal    16· · into an -- okay.· So, during our CET operation, the
  17· · SWAT policy, how are you as a SWAT officer notified?   17· · tactical call is made for a variety of reasons.
  18· · · · ·A.· ·How am I notified?· There is an -- are you   18· · Delayed breach, we've ran out of manpower, the
  19· · talking about -- oh, changes.                          19· · structure is larger than we expected it to be,
  20· · · · · · · Basically what will happen is, if we get a   20· · somebody runs.· Gunfire.· We get into some type of
  21· · change in our policy, our director or director         21· · shooting.
  22· · secretary will send us an update and let us know       22· · · · · · · An operator has the ability to call, make
  23· · that, hey, there's been an update in regards to        23· · a tactical call if he just flat out doesn't like
  24· · this.· Our sergeants will then review it with us.      24· · something.· Meaning, hey, I think, you know, we're
  25· · · · ·Q.· ·Can you recall receiving any updates like    25· · being overwhelmed.· Multiple people inside of the


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  ·1· · structure.· We'll put the -- we will immediately       ·1· · · · ·Q.· ·Do you recall a specific lesson plan
  ·2· · stop momentum, pull back, hold containment, and        ·2· · during your SWAT training for knock and announce?
  ·3· · pull -- start pulling everybody out safely, take       ·3· · · · ·A.· ·An actual lesson plan for knock and
  ·4· · them into custody.· And then we would end up           ·4· · announce?· I'm sure it's in our CET -- I would -- I
  ·5· · clearing the structure slowly and methodically.· So    ·5· · would assume Zoom it's in there.· I haven't read it
  ·6· · that is -- we have the ability to go dynamic and       ·6· · lately.
  ·7· · then slow things down.                                 ·7· · · · ·Q.· ·Okay.· Do you recall --
  ·8· · · · ·Q.· ·Is that anybody on the SWAT team can         ·8· · · · ·A.· ·There is actually -- you know what?· There
  ·9· · call --                                                ·9· · is -- actually, the last time I have reviewed it is,
  10· · · · ·A.· ·Anybody can make that call.                  10· · there is court -- there is case laws in there and it
  11· · · · ·Q.· ·Okay.· Have you personally ever made a       11· · does describe that, yes.
  12· · tactical call during a SWAT entry?                     12· · · · ·Q.· ·Do you remember the applicable case?
  13· · · · ·A.· ·I've been on the team 15 years.· I could     13· · · · ·A.· ·Not off the top of my head.
  14· · tell you I've made thousands -- in the thousands of    14· · · · ·Q.· ·Okay.· Have you ever been trained on the
  15· · entries.· I'm sure there's been a time where I've      15· · case of -- I believe it's Wilson versus Arkansas?
  16· · called tactical, yes.                                  16· · · · ·A.· ·(Indiscernible.)
  17· · · · ·Q.· ·Can you remember any specific times?         17· · · · · · · THE REPORTER:· Pardon me?
  18· · · · ·A.· ·Not to my knowledge, sir.                    18· · · · · · · THE WITNESS:· Yes.
  19· · · · ·Q.· ·Did you ever call tactical on January 10,    19· · · · · · · THE REPORTER:· Thank you.
  20· · 2022?                                                  20· · BY MR. BREEDEN:
  21· · · · ·A.· ·I already heard the call being stated and    21· · · · ·Q.· ·How about -- who do you recall
  22· · I heard it being reiterated by numerous officers.      22· · specifically training you regarding knock and
  23· · · · ·Q.· ·Okay.· We'll talk about that a little        23· · announce principles?
  24· · later.· But you did not personally call?               24· · · · ·A.· ·It's been discussed with us.· Kevin
  25· · · · ·A.· ·I did not personally call tactical, no.      25· · McCord, Dewane Ferrin.· The guys that have, you

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  ·1· · · · ·Q.· ·I want to talk generally about your SWAT     ·1· · know, put on that -- that were holding those spots.
  ·2· · training regarding knock and announce principles.      ·2· · Those lead spots in the training section.
  ·3· · · · · · · What does knock and announce mean to you?    ·3· · · · ·Q.· ·Are you aware that under Nevada state law,
  ·4· · · · ·A.· ·Knock and announce is basically, we are      ·4· · it states that officers cannot use force to enter on
  ·5· · giving the amount of time that the officer feels       ·5· · a warrant until they have been refused admittance by
  ·6· · reasonable to let them know that we are the police,    ·6· · the occupants of where they're going to search?
  ·7· · we are outside, stating their intent -- or stating     ·7· · Were you aware of that?
  ·8· · our intent that we are going to -- that we have a      ·8· · · · ·A.· ·Have I been aware of that?
  ·9· · warrant and that we will be making entry.· We would    ·9· · · · ·Q.· ·Yes.
  10· · like them to cease what they're doing, stop, and       10· · · · ·A.· ·Yes.
  11· · basically comply with our action.                      11· · · · ·Q.· ·When were you first aware of that?
  12· · · · ·Q.· ·Okay.· Is there any other part of knock      12· · · · ·A.· ·Can -- actually, I'm confused on what you
  13· · and announce that you're aware of?                     13· · just said.
  14· · · · ·A.· ·That we're giving them ample -- that we're   14· · · · ·Q.· ·Yeah, let me rephrase it for you.
  15· · going to give them a reasonable amount of time --      15· · · · ·A.· ·Yeah.
  16· · we're giving them a reasonable amount of time for      16· · · · ·Q.· ·Okay.· Are you aware that under Nevada
  17· · them to basically comply with our lawful order.        17· · state statutes, or statute, officers are not
  18· · · · ·Q.· ·Okay.· Is that all you can recall from       18· · permitted to use force to enter a structure to serve
  19· · your training?                                         19· · a warrant until they have been refused admittance?
  20· · · · ·A.· ·At the moment, yeah.                         20· · · · ·A.· ·That statement, no, I have not been made
  21· · · · ·Q.· ·Would you agree with me that it would be     21· · aware of that statement.· No.
  22· · important for Las Vegas Metro to train you on knock    22· · · · ·Q.· ·So you have never been trained on that
  23· · and announce principles if you're going to be part     23· · statement?
  24· · of SWAT?                                               24· · · · ·A.· ·No.
  25· · · · ·A.· ·Yeah.                                        25· · · · ·Q.· ·Okay.· Are you aware that under federal


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  ·1· · law, officers are not permitted to use force to        ·1· · elapse?
  ·2· · enter a structure for a warrant until following the    ·2· · · · ·A.· ·There's no -- no, there's no set time. I
  ·3· · announcements, they have waited a reasonable amount    ·3· · mean, you know, six seconds, eight seconds.· It's
  ·4· · of time for persons inside to come to the door,        ·4· · what we feel is reasonable.
  ·5· · ascertain the officer's identity and purpose, and      ·5· · · · ·Q.· ·Now, you mentioned one of the factors is
  ·6· · provide them admittance willfully?                     ·6· · how much room officers have around them, right?
  ·7· · · · · · · MR. ANDERSON:· Objection, form.              ·7· · Whether you're in an enclosed hallway or --
  ·8· · · · · · · THE WITNESS:· I've been made aware of        ·8· · · · ·A.· ·If we're in that fatal funnel, stuff like
  ·9· · that, yes.                                             ·9· · that.
  10· · BY MR. BREEDEN:                                        10· · · · ·Q.· ·Would you admit to me that with
  11· · · · ·Q.· ·Okay.· When were you first made aware of     11· · Mr. Williams, you were not in what would be called a
  12· · that?                                                  12· · fatal funnel?
  13· · · · ·A.· ·I couldn't -- I -- I don't know.· That's     13· · · · ·A.· ·Me personally, no, I was not.· They were
  14· · stuff that has been discussed with us, you know --     14· · in a -- they had space where they were working from.
  15· · I've been in the unit 15 years.· Those are things      15· · · · ·Q.· ·It was outside the apartment.
  16· · that have -- discussed with us over the time. I        16· · · · ·A.· ·They were outside, yes.
  17· · couldn't give you the exact date and time we           17· · · · ·Q.· ·There were ways to retreat safely if
  18· · discussed that.                                        18· · something went wrong for officers.
  19· · · · ·Q.· ·Well, were you aware of that legal           19· · · · ·A.· ·If they needed to, yes.
  20· · requirement prior to the incident with Mr. Williams?   20· · · · ·Q.· ·Okay.· Have you ever heard that there's a
  21· · · · ·A.· ·Yes.                                         21· · standard that in most cases, one minute will be a
  22· · · · ·Q.· ·Okay.· Do you recall who specifically        22· · reasonable time for officers to wait after
  23· · trained you on that requirement?                       23· · announcing?
  24· · · · ·A.· ·No, I do not, sir.                           24· · · · ·A.· ·Have I ever -- sorry.
  25· · · · ·Q.· ·Okay.· Now, it states a reasonable amount    25· · · · · · · MR. ANDERSON:· Objection, form.

                                                         79                                                           81
  ·1· · of time.· Is there a rule of thumb or a guide that     ·1· · · · · · · Go ahead.
  ·2· · you use to determine what is reasonable?               ·2· · · · · · · THE WITNESS:· Have I ever heard that
  ·3· · · · ·A.· ·What we use, basically, is, it's going to    ·3· · personally, one minute?· No, I have not.
  ·4· · come down to environmental factors of where we're      ·4· · · · · · · THE REPORTER:· When it's a good time to
  ·5· · at.· Are we in an enclosed hallway?· Do we have        ·5· · take a short break.· I mean, if you need to go
  ·6· · somewhere to pull back to?· So those things are some   ·6· · longer, that's fine.
  ·7· · of the -- the reason why the time -- how long we're    ·7· · · · · · · MR. BREEDEN:· Yeah, let me just ask him --
  ·8· · going to wait.· The suspect's actions.· His -- the     ·8· · I'll take a break within five minutes.
  ·9· · severity of the crime.· His access to weapons.         ·9· · · · · · · THE REPORTER:· Perfect, thanks.
  10· · Those are some of the things that we look at that      10· · · · · · · · ·(Exhibit No. 3 was marked.)
  11· · will dictate our reasonable amount of time.            11· · · · · · · THE REPORTER:· Exhibit 3.
  12· · · · · · · And for an example, like I said is, if       12· · BY MR. BREEDEN:
  13· · we're in an enclosed hallway.· Are there occupants     13· · · · ·Q.· ·Handing you Exhibit 3.· This is an excerpt
  14· · in this -- let's say an interior hallway apartment     14· · of the State of Nevada Commission on Peace Officer
  15· · complex that are going to be at risk if this guy       15· · Standards and Training, Performance Objective
  16· · starts shooting through the door or becomes            16· · Reference Material.
  17· · noncompliant.· Are these -- are we putting these       17· · · · · · · Have you ever seen this before I just
  18· · people that are surrounding us at risk?· So those      18· · handed it to you?
  19· · are some of the factors that we take into              19· · · · ·A.· ·I've never seen this document.
  20· · consideration of our reasonable amount of time of      20· · · · ·Q.· ·Has Metro ever provided this to you, as
  21· · how long we're going to wait and continue to           21· · far as you're aware?
  22· · announce before we actually push forward with any      22· · · · ·A.· ·Not to -- that I'm aware, no.
  23· · type of SWAT action.                                   23· · · · ·Q.· ·Okay.· And at the bottom, you'll see it
  24· · · · ·Q.· ·Are you aware of any rule of thumb,          24· · says note -- I'll just read it as a quote.· Quote,
  25· · though, in terms of seconds or minutes that should     25· · "Note.· The amount of time that is considered


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  ·1· · reasonable will depend on all the circumstances.       ·1· · · · ·A.· ·Probably the night before the operation.
  ·2· · Approximately one minute would be a safe period in     ·2· · · · ·Q.· ·Okay.· And when you say the night before,
  ·3· · most cases, but it can be less, especially if peace    ·3· · I mean, the operation was at basically 5:00 a.m., so
  ·4· · officers know that someone is inside and awake," end   ·4· · are we talking about ten or five --
  ·5· · quote.                                                 ·5· · · · ·A.· ·I would say I got at least a 12-hour
  ·6· · · · · · · So you have not heard this one-minute        ·6· · notice -- about eight- to ten-hour notice. I
  ·7· · standard before reviewing this document?               ·7· · couldn't tell you the exact time I got the call
  ·8· · · · ·A.· ·I've never heard this, no.                   ·8· · that, "Hey, can you come help?"· I couldn't tell
  ·9· · · · ·Q.· ·Okay.· And when it refers to, you know,      ·9· · you.
  10· · the time can be less, additionally if peace officers   10· · · · ·Q.· ·And then when you originally received an
  11· · know that someone is inside and awake.· You did not    11· · e-mail about it, did it include the IAP?
  12· · know who was inside the apartment or whether they      12· · · · ·A.· ·Yes.· The whole entire package was
  13· · were awake on January 10 of 2022, did you?             13· · submitted, I believe.· I know that there was some --
  14· · · · ·A.· ·No, I did not.                               14· · some -- I recall some documentation, mishaps going
  15· · · · ·Q.· ·Let's go ahead and take a break at this      15· · back and forth with signatures and stuff like that.
  16· · time.                                                  16· · But I wasn't involved in any of that.· That's the
  17· · · · ·A.· ·Okay.                                        17· · captains and lieutenants handle all that stuff. I
  18· · · · · · · THE VIDEOGRAPHER:· We are going off the      18· · know that there was a delayed process in some of the
  19· · record at 10:32 a.m.                                   19· · signatures and stuff like that.· And authorizations.
  20· · · · · · · · · · · · (Off record.)                      20· · But I don't -- I don't know any further than that.
  21· · · · · · · THE VIDEOGRAPHER:· We are back on record     21· · · · ·Q.· ·So, how long before January 10th was this,
  22· · at 10:39 a.m.                                          22· · then?· Because I think -- even going back into
  23· · BY MR. BREEDEN:                                        23· · December of 2021, there were at least applications
  24· · · · ·Q.· ·Officer Bertuccini, we've taken a short      24· · for warrants going on at that time.· So how close
  25· · break.· We're back on the record now, and you're       25· · was it that you saw these e-mails regarding the IAP?

                                                         83                                                           85
  ·1· · still under oath.                                      ·1· · · · ·A.· ·I couldn't tell you.· I apologize, sir. I
  ·2· · · · · · · Have you ever heard, when we talk about      ·2· · don't know.
  ·3· · knock and announce, that there's an informal           ·3· · · · ·Q.· ·Just for some background, by the way, so
  ·4· · ten-second rule applied by Metro?                      ·4· · it's on the record, what does IAP stand for?
  ·5· · · · ·A.· ·No.                                          ·5· · · · ·A.· ·Incident Action Plan.
  ·6· · · · ·Q.· ·I want to talk to you a little bit about     ·6· · · · ·Q.· ·Is that required, to have an approved IAP
  ·7· · the tactical briefing before the January 10th          ·7· · or Incident Action Plan every time SWAT is deployed?
  ·8· · action.                                                ·8· · · · ·A.· ·Yes.
  ·9· · · · · · · When was the first time you ever heard       ·9· · · · ·Q.· ·And ultimately, at least for this action
  10· · there was going to be a SWAT event there on the        10· · concerning Mr. Williams, Lieutenant O'Daniel was the
  11· · morning of January 10th and you were going to be       11· · lieutenant who approved the IAP?
  12· · involved?                                              12· · · · ·A.· ·Yes, she approved it.
  13· · · · ·A.· ·So, we have -- any search warrant that       13· · · · ·Q.· ·Who's actually responsible for drafting
  14· · comes in, comes through our SWAT warrants e-mail.      14· · the IAP?
  15· · So all of us get it.· So I knew that there was a       15· · · · ·A.· ·The detective, sir.
  16· · warrant that was going to be coming in.· So I looked   16· · · · ·Q.· ·And in this case, who was the detective?
  17· · at it to see if it was actually going to be on my      17· · · · ·A.· ·I'll be honest with you, sir.· I can't
  18· · days.                                                  18· · remember.· I do not know.
  19· · · · · · · Once I read the IAP and saw that the date    19· · · · ·Q.· ·Do you remember -- I think it was a
  20· · was going to be on the other team's days, I was,       20· · Detective Grimmett; does that refresh your memory?
  21· · like, okay, then it's really not my concern.· They     21· · · · ·A.· ·Jarrod Grimmett?· That does refresh --
  22· · ended up calling for additional bodies for manpower,   22· · yes, he's in homicide.
  23· · so I volunteered to go and help.                       23· · · · ·Q.· ·So, you had seen -- is it fair to say that
  24· · · · ·Q.· ·Okay.· So when was that, then, that they     24· · maybe within a week or so of this, that there was an
  25· · called for volunteers and you agreed?                  25· · IAP, but it was on a day you were not regularly


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  ·1· · scheduled, so you didn't think you were going to be    ·1· · address we were going to, I knew that we were going
  ·2· · involved?                                              ·2· · after the investigation of a homicide.· I saw the
  ·3· · · · ·A.· ·I think that's fair, yeah.· I would say      ·3· · suspects that were identified.· I familiarized
  ·4· · within a week I saw it.                                ·4· · myself with that.· I familiarized myself with the
  ·5· · · · ·Q.· ·Okay.· And then within 12 hours of the       ·5· · tactical plan prior to the brief.· Looked at my job,
  ·6· · actual operation, somebody contacted you and asked     ·6· · seeing what my roles and responsibilities were.
  ·7· · if you would volunteer.                                ·7· · Made sure that the stun stick was prepped.· It was
  ·8· · · · ·A.· ·That's just an estimated time.· But, yes,    ·8· · already done for me.· That's how I familiarized
  ·9· · someone contacted me -- my boss contacted me and       ·9· · myself with the actual operation.
  10· · said, "Hey, the other team needs some additional       10· · · · ·Q.· ·Who prepped the stun stick for you?
  11· · bodies to help out with this warrant.· Can you get     11· · · · ·A.· ·I don't -- I don't recall.· Whoever the --
  12· · some guys?"                                            12· · so basically, our stun stick resides inside of the
  13· · · · ·Q.· ·That's Sergeant Bronkavich (sic)?            13· · equipment truck.· So whoever was driving the
  14· · · · ·A.· ·Bonkavich, yes, he advised -- yes, sir.      14· · equipment truck at that time, he -- he probably did
  15· · · · ·Q.· ·And so, was your intention that day, then,   15· · it.
  16· · like, you would essentially go to work early, do       16· · · · ·Q.· ·Now, the SWAT tactical briefing actually
  17· · this SWAT action, and then work your regular shift,    17· · occurred in a parking lot at Sam's Town; is that
  18· · which I think you said started at 2:00?                18· · accurate?
  19· · · · ·A.· ·2:00 p.m.· That was my -- the day of the     19· · · · ·A.· ·Yeah.· I believe it was the south lot.
  20· · operation was my RDO, my day off.· So I went in on     20· · · · ·Q.· ·Okay.· I think the underlying murder they
  21· · my day off.· So what would have occurred is, I would   21· · were investigating also occurred at Sam's Town.
  22· · have went in, done the operation, and gone home.       22· · Were you aware of that?
  23· · · · ·Q.· ·And when you use the abbreviation RDO,       23· · · · ·A.· ·I wasn't aware of that.
  24· · does that mean Regular Day Off?                        24· · · · ·Q.· ·As far as you know, is that just a
  25· · · · ·A.· ·Yes.                                         25· · coincidence?· Did they select that intentionally?

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  ·1· · · · ·Q.· ·And so, an IAP had circulated by e-mail.     ·1· · · · ·A.· ·I believe that maybe -- I guess.· I don't
  ·2· · Did you read the IAP?                                  ·2· · know.· I'm sure that incident happened well before
  ·3· · · · ·A.· ·No, I did not.                               ·3· · that, they selected that brief -- I don't know.
  ·4· · · · ·Q.· ·Did you read it at all before you went to    ·4· · · · ·Q.· ·Yeah.· The crime that they were
  ·5· · the tactical review?                                   ·5· · investigating occurred several months prior, and it
  ·6· · · · ·A.· ·No, I did not.· I'll be honest with you,     ·6· · was -- it was a shooting outside of a casino.
  ·7· · sir.· I skimmed through it, I looked -- once I         ·7· · · · · · · Were you aware of any of the facts of the
  ·8· · looked at the date and saw that they -- our team was   ·8· · underlying crime before you took part in this search
  ·9· · not needed, I was, like, hey -- I did not.             ·9· · warrant?
  10· · · · ·Q.· ·So just to be clear, then, before, you       10· · · · ·A.· ·I was not aware of it until I took part in
  11· · know, 5:00 a.m. on January 10, 2022, when the          11· · the search warrant and Detective Grimmett gave the
  12· · shooting occurred, approximately, you had not          12· · prebrief before they started the tactical plan.
  13· · reviewed the IAP.                                      13· · · · ·Q.· ·Okay.· And so you indicated that Detective
  14· · · · ·A.· ·No, sir.                                     14· · Grimmett did the briefing.· Did he take the lead on
  15· · · · ·Q.· ·And you had not reviewed the actual search   15· · the briefing?
  16· · warrant.                                               16· · · · ·A.· ·They asked him to do it.· He basically
  17· · · · ·A.· ·No, sir, I did not.                          17· · explained everything.
  18· · · · ·Q.· ·And you had not reviewed the detective's     18· · · · ·Q.· ·Okay.· Was Sergeant Garth Finley also
  19· · application for a search warrant.                      19· · present?
  20· · · · ·A.· ·No, sir, I did not.                          20· · · · ·A.· ·Sergeant Garth Finley was there, yes, sir.
  21· · · · ·Q.· ·Okay.· Is it fair to say, then, that all     21· · · · ·Q.· ·And did he also conduct the briefing?
  22· · of your information about what was to be done and      22· · · · ·A.· ·He didn't do anything.· He was one of the
  23· · how, came from the SWAT tactical briefing?             23· · team leaders at the time.· I don't believe he spoke.
  24· · · · ·A.· ·What I did is, the minute that I arrived,    24· · I can't recall.
  25· · I went up, read the information page so I knew the     25· · · · ·Q.· ·So, if I wanted to sit down and talk to


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  ·1· · the person who actually was in charge of doing the     ·1· · · · ·Q.· ·Werner, sorry.· W-a-r-n-e-r?
  ·2· · tactical briefing, that was Detective Grimmett?        ·2· · · · ·A.· ·No, sir.· W-e-r-n-e-r.
  ·3· · · · ·A.· ·The tactical briefing?                       ·3· · · · ·Q.· ·Okay.· So, as best as you can recall, you
  ·4· · · · ·Q.· ·Yes.                                         ·4· · know, even verbatim if you can recall, what were you
  ·5· · · · ·A.· ·He just basically briefed the information    ·5· · told by Officer Werner?
  ·6· · and the circumstances surrounding the case and why     ·6· · · · ·A.· ·Officer Werner, when I went over, we
  ·7· · we were there.· The tactical briefing was done by      ·7· · actually started talking about the diagram.· Being
  ·8· · the reconnaissance officers and then Assistant Team    ·8· · an ATL, I'm actually the senior ATL.· I was talking
  ·9· · Leader Warren -- Werner.                               ·9· · to him about his approach and looking at things,
  10· · · · ·Q.· ·Okay.· And who were the reconnaissance       10· · asking questions.· Just like, hey, what is your
  11· · officers?                                              11· · thoughts with, you know, breach and all this.
  12· · · · ·A.· ·It was several.· Because we were going to    12· · · · · · · I was, like, "Hey, where do you need me to
  13· · hit -- we were actually going to serve two warrants,   13· · be?"· He showed me in the stack where he wanted me
  14· · I believe, simultaneously.· But then they decided to   14· · to be.· We just kind of went over the diagram
  15· · only do one structure.· So I believe there was four    15· · together, went over where I was going to be in the
  16· · officers that were involved in that recon. I           16· · stack.· And then where I would be placing the stun
  17· · believe it was Officer Brosnahan, who is now           17· · stick.
  18· · Sergeant Brosnahan, Officer Kubla was involved,        18· · · · ·Q.· ·And when you say "the stack," you just
  19· · Officer Hoskins, who is now a sergeant was involved.   19· · mean --
  20· · I know that Officer Werner, I believe, did go.· And    20· · · · ·A.· ·Our entry line.
  21· · I'll be honest with you, sir, if anyone else went, I   21· · · · ·Q.· ·The order of --
  22· · don't -- I don't know.· Those are the four I can       22· · · · ·A.· ·The order of our entry line, yes, sir.
  23· · honestly tell you were involved.                       23· · Sorry.· SWAT, then go.· My bad.
  24· · · · ·Q.· ·The person that conducted the SWAT portion   24· · · · ·Q.· ·Were you told whether you were there to
  25· · of the tactical briefing, though, that was Assistant   25· · serve a search warrant or an arrest warrant?

                                                         91                                                           93
  ·1· · Team Leader Warren (sic)?                              ·1· · · · ·A.· ·I believe that we were doing a -- just a
  ·2· · · · ·A.· ·The reconnaissance officers went over the    ·2· · search warrant, not an arrest warrant.
  ·3· · information page, the intel.· They displayed -- they   ·3· · · · ·Q.· ·Property only.
  ·4· · explained the diagram, the structure.· And then it     ·4· · · · ·A.· ·I was not told that.· I know that we were
  ·5· · was turned over to Officer Werner.                     ·5· · going after two people that are inside that were
  ·6· · · · ·Q.· ·When you talk about the information page,    ·6· · involved in a murder case, or a murder
  ·7· · is that a single page?                                 ·7· · investigation.· And that there were weapons inside.
  ·8· · · · ·A.· ·It's one page consisting of our event        ·8· · That it was just not a search warrant for property.
  ·9· · number, the address of the location that we're going   ·9· · I mean, it was a search warrant for property, but we
  10· · to, the detective that submitted the search warrant,   10· · had two heavily armed suspects inside that were
  11· · the crime, any weapons that are involved, any          11· · possibly wanted for homicide.
  12· · suspects that are involved, kids are involved, dogs,   12· · · · ·Q.· ·Okay.· But were you aware that there was
  13· · cameras, fortifications, our route, and I already      13· · no arrest warrant at the time for either suspect?
  14· · covered the location.                                  14· · · · ·A.· ·Yes, I was aware of that.
  15· · · · ·Q.· ·Is it on, like, a little 8 by 10 sheet of    15· · · · ·Q.· ·Okay.· And just to put names to these
  16· · paper?                                                 16· · people.· The names of the suspects were Wattsel
  17· · · · ·A.· ·I would say -- we use poster paper, like,    17· · Rembert and Corvel Fisher?
  18· · large white paper.· I mean -- you know.                18· · · · ·A.· ·I believe so, yes, those were the names.
  19· · · · ·Q.· ·Who's responsible for drafting the           19· · · · ·Q.· ·Okay.· Were there any other suspects that
  20· · information page?                                      20· · you can recall being discussed?
  21· · · · ·A.· ·Usually the reconnaissance officers.         21· · · · ·A.· ·Unless I saw the information page, I can't
  22· · That's their responsibility.                           22· · remember.
  23· · · · ·Q.· ·Okay.· So what do you remember being told    23· · · · ·Q.· ·I have it here in a minute or two --
  24· · by Officer Warren -- it's officer, not sergeant?       24· · · · ·A.· ·Okay.
  25· · · · ·A.· ·He's Officer Werner, yes.                    25· · · · ·Q.· ·-- and we'll look at it.


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  ·1· · · · · · · In fact, why don't I -- let's go ahead and   ·1· · there were actually intended to be two locations.
  ·2· · do that now.                                           ·2· · The 3050 South Nellis and 4475 Jimmy Durante
  ·3· · · · · · · · ·(Exhibit No. 4 was marked.)               ·3· · Boulevard.· And it is a bit difficult to read the
  ·4· · · · · · · THE WITNESS:· Thank you, ma'am.              ·4· · information page from the picture.· But if you look
  ·5· · BY MR. BREEDEN:                                        ·5· · above it, it's summarized, and it indicates that on
  ·6· · · · ·Q.· ·So this will be labeled Exhibit 3, I         ·6· · the information page, kids, elderly, surveillance,
  ·7· · believe.                                               ·7· · and fortification were listed as no.· Dogs were
  ·8· · · · · · · THE REPORTER:· 4.                            ·8· · listed as unknown.· And guns were listed as unknown.
  ·9· · BY MR. BREEDEN:                                        ·9· · With -- to the next -- beside the guns unknown, was
  10· · · · ·Q.· ·4, sorry, to this deposition.· And I'll      10· · in parentheses, small caliber used in crime.· Do you
  11· · just say for the record, this is Bates labeled LVMPD   11· · see that?
  12· · 4377.· This is a page from the CIRT report             12· · · · ·A.· ·I can -- I mean, you can't read it, but I
  13· · investigating this incident.                           13· · can see that, yes.
  14· · · · · · · You see a picture there.· Is this the        14· · · · ·Q.· ·Do you recall all of that from the
  15· · information page you were referring to?                15· · briefing?
  16· · · · ·A.· ·Yes.                                         16· · · · ·A.· ·Yeah.· I mean, it's right here, yes.
  17· · · · ·Q.· ·Okay.· Now, do you know who took this        17· · · · ·Q.· ·Okay.· Did anything about that strike you
  18· · picture?                                               18· · as unusual?
  19· · · · ·A.· ·I don't remember who took this picture.      19· · · · ·A.· ·Anything strike -- reading that?· No, not
  20· · · · ·Q.· ·Did you see anyone taking pictures during    20· · to my -- I mean, no.
  21· · the briefing?                                          21· · · · ·Q.· ·If it says surveillance no, how could
  22· · · · ·A.· ·I'm sorry, sir?                              22· · anyone know whether kids or the elderly were inside?
  23· · · · ·Q.· ·Did you see anyone taking pictures during    23· · · · ·A.· ·So basically, there is questions that are
  24· · the briefing?                                          24· · asked from the -- you know, the detectives.· We also
  25· · · · ·A.· ·Yeah, we always have one of our guys take    25· · look for any type of signs of kids.· Kids' toys

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  ·1· · photos after.· One of our -- it depends.· Equipment    ·1· · outside, curtains, child curtains, you know, a
  ·2· · truck guy.· Someone always takes photos of the         ·2· · Barney curtain or something like that.· We look for
  ·3· · briefings.                                             ·3· · ramps.· You know, ramps at the doorway for
  ·4· · · · ·Q.· ·Okay.· Did anyone have their body-worn       ·4· · wheelchair access or something like that.· Elderly,
  ·5· · camera on during the briefing?                         ·5· · they said based on the detectives' surveillance,
  ·6· · · · ·A.· ·No.                                          ·6· · they've never seen any elderly or children come or
  ·7· · · · ·Q.· ·Okay.· And why are you so certain of that?   ·7· · go from that target residence.· That's why they
  ·8· · · · ·A.· ·We don't do that.                            ·8· · probably put no.
  ·9· · · · ·Q.· ·Why not?                                     ·9· · · · ·Q.· ·Well, it says surveillance, no.· Doesn't
  10· · · · ·A.· ·We don't video our briefings.· We don't --   10· · that mean to you that they didn't do surveillance?
  11· · we don't do that.· We just don't.                      11· · · · ·A.· ·Their surveillance in here is cameras.
  12· · · · ·Q.· ·Okay.· Is it policy not to record the        12· · That's what they're talking about, surveillance of
  13· · briefings?                                             13· · cameras.· Any cameras that would obstruct our
  14· · · · ·A.· ·It's not policy, we just don't.· I don't     14· · approach.· That's what that means.
  15· · know -- I mean, I can't give you an exact answer why   15· · · · ·Q.· ·And what was your understanding of what
  16· · we don't, we just don't.                               16· · was meant by guns unknown, parentheses, small
  17· · · · ·Q.· ·Okay.· Have you ever seen a tactical         17· · caliber used in crime, close parentheses?
  18· · briefing where it was recorded on the body camera      18· · · · ·A.· ·That basically would let me know that
  19· · video?                                                 19· · there is a weapon that is outstanding, a small
  20· · · · ·A.· ·As long as I've been in SWAT, no.· I've      20· · caliber handgun, that was used in the commission of
  21· · done -- I've done operations with the FBI, I've done   21· · a crime.
  22· · operations with North Las Vegas, Henderson, I've       22· · · · · · · We also were -- you know, now that as I'm
  23· · been around other SWAT teams.· I've never seen a       23· · kind of getting a little bit more reacclimated to
  24· · briefing filmed.                                       24· · it, I recall them also briefing out Rumpert (ph) was
  25· · · · ·Q.· ·Okay.· So you mentioned there were --        25· · his name?· Shumpert?


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  ·1· · · · ·Q.· ·Rembert.                                     ·1· · but I don't recall --
  ·2· · · · ·A.· ·Rembert.· Had photos posted, I believe, of   ·2· · · · ·Q.· ·Okay --
  ·3· · him holding an MP5 assault rifle.· I remember that     ·3· · · · ·A.· ·-- at this moment.
  ·4· · now that I'm getting refreshed with some of this       ·4· · · · ·Q.· ·Do you remember what property was to be
  ·5· · stuff, is that that information was given to us.       ·5· · searched for?
  ·6· · · · ·Q.· ·Do you remember who gave you that specific   ·6· · · · ·A.· ·A firearm.· And I can't remember -- if
  ·7· · information?                                           ·7· · it's on here, if there was clothing or anything.
  ·8· · · · ·A.· ·I believe -- I can't -- I'm going to be      ·8· · But I remember it was a firearm and possibly
  ·9· · honest with you, I don't remember -- I can't           ·9· · clothing.· It would have to be -- I would have to
  10· · remember if it was Officer Grimmett -- or Detective    10· · look to see what the evidence was.
  11· · Grimmett or if it was the recon officers when they     11· · · · ·Q.· ·Do you remember what type of firearm?
  12· · went through their information page.· But I remember   12· · · · ·A.· ·All I remember they briefed was a small
  13· · that information being passed to us.                   13· · caliber.
  14· · · · ·Q.· ·Was it your understanding that if during     14· · · · ·Q.· ·Small caliber handgun?
  15· · the search warrant you were to encounter either        15· · · · ·A.· ·Yeah.
  16· · suspect, Mr. Fisher or Mr. Rembert, that you were to   16· · · · ·Q.· ·And -- so you were assigned to deploy the
  17· · arrest them, take them into custody?                   17· · stun stick.· Who informed you of that?
  18· · · · ·A.· ·We basically were going to detain them.      18· · · · ·A.· ·Officer Werner.· That's -- that was in his
  19· · If they were located inside, they would be detained.   19· · tactical plan.
  20· · They would be passed off to detectives.· They would    20· · · · ·Q.· ·And who made that decision that you
  21· · be doing the investigations and/or arrests at that     21· · specifically would deploy the stun stick?· Was that
  22· · time.· Our job is to basically make entry into the     22· · also Officer Werner?
  23· · structure, take anyone into custody or detain them     23· · · · ·A.· ·Yeah.· He just needed extra -- additional
  24· · that is inside, render it safe for the detectives to   24· · bodies for those positions.
  25· · do their investigation.· If they're going to make      25· · · · ·Q.· ·Okay.· Now, when you do these, is it

                                                         99                                                          101
  ·1· · arrests, that's -- I don't -- I don't deal with        ·1· · typical that, you know, one officer will have the
  ·2· · that.                                                  ·2· · battering ram, he's, like, the battering ram
  ·3· · · · ·Q.· ·Okay.· Well, what -- did you have an         ·3· · specialist; one will be, like, the stun stick
  ·4· · expectation that the suspects were going to be         ·4· · specialist; one will be a ballistic shield person.
  ·5· · arrested if they were found inside?                    ·5· · Or do the roles change?
  ·6· · · · ·A.· ·If there -- if they were going to be found   ·6· · · · ·A.· ·We are all -- we are all very, you know,
  ·7· · inside, that was going to be the detectives'           ·7· · confident in all of it.· All the guys can do every
  ·8· · decision if they were going to be arrested or not.     ·8· · job.· When we go into explosive work, we have
  ·9· · We were never told that -- you know, I don't recall    ·9· · breachers that mainly do that.· So there's no, like,
  10· · there being any PC on them at the time.· I don't --    10· · hey, this is the superstar stun stick guy.· This is
  11· · I don't know.· I don't want to just misspeak on        11· · the best ram guy.· We're all capable doing all jobs.
  12· · something that I don't remember or recall.             12· · And that usually is decided by the ATL.· So we don't
  13· · · · ·Q.· ·Okay.· Well, I want to be clear about        13· · have, like, specific guys that only ram doors, only
  14· · what -- what you do recall.· Were you told there was   14· · utilize Shok Lock, only use stun stick.· No.
  15· · an arrest warrant?                                     15· · · · ·Q.· ·Is there any reason you're aware of why
  16· · · · ·A.· ·I'm reading here.· I -- that someone -- I    16· · you were specifically selected for the stun stick?
  17· · don't know if that was -- who had the answer here,     17· · · · ·A.· ·I do not know.
  18· · if this was me or Officer Werner.· But I know          18· · · · ·Q.· ·Okay.· And then during the tactical
  19· · that -- I don't recall.· I don't recall.               19· · briefing, what was decided as to when you would
  20· · · · ·Q.· ·Yeah.· Because I want to know what you       20· · deploy the stun stick?
  21· · recall, not what's on some CIRT report or somebody     21· · · · ·A.· ·After the second announcement.
  22· · else testified --                                      22· · · · ·Q.· ·Okay.· So when you say the announcement,
  23· · · · ·A.· ·If that was -- I mean, you know, I had       23· · was it discussed specifically what the announcement
  24· · that CIRT report or CIRT interview two years ago. I    24· · would be, like, the exact language?
  25· · mean, if it was in front of me I could help that,      25· · · · ·A.· ·The exact language would be the entire


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  ·1· · address and then police department, search warrant.    ·1· · search warrant, and you heard somebody inside
  ·2· · Full two announcements of that.                        ·2· · saying, all right, I'll be there in a second.
  ·3· · · · ·Q.· ·Okay.· So after the second time, police      ·3· · Hypothetically, what would you have done?
  ·4· · officer, search warrant is stated, it was preplanned   ·4· · · · ·A.· ·If I heard someone say that?
  ·5· · that you would insert the stun stick and deploy it     ·5· · · · ·Q.· ·Yes.
  ·6· · at that time?                                          ·6· · · · ·A.· ·Coming out.· Like, hey, I'm walking out?
  ·7· · · · ·A.· ·Including the address.· With the --          ·7· · · · ·Q.· ·Yeah.
  ·8· · including the address, yes.· So after all that was     ·8· · · · ·A.· ·I would advise that.· I would advise that
  ·9· · put out two times, I would then deploy the stun        ·9· · on the radio, what I'm hearing.
  10· · stick, I would insert it through the window, yes.      10· · · · ·Q.· ·Would you have still inserted the stun
  11· · · · ·Q.· ·And was the -- when the address was          11· · stick after the second announce?
  12· · announced, was it also intended that that would        12· · · · ·A.· ·It would depend.· It would -- the
  13· · include the apartment number?                          13· · situation would depend.· I mean, what if he's just
  14· · · · ·A.· ·Yes, sir.                                    14· · baiting us?· It would depend.· If I could see that,
  15· · · · ·Q.· ·Okay.· Why would it be important to          15· · I don't know.· I would allow them -- I would let
  16· · include the apartment number with that announcement?   16· · them know what I'm hearing.· I would let -- hey, do
  17· · · · ·A.· ·So that the people know that are inside.     17· · you still -- I would advise, do you still want the
  18· · And also surrounding areas.· Because 5:00 in the       18· · stun stick to go?· If I'm able to see something, he
  19· · morning, now people are going to start hearing this,   19· · tries to arm himself, maybe he's trying to flee,
  20· · waking up, and want to come out.                       20· · then I would have probably inserted the stun stick
  21· · · · ·Q.· ·Okay.· So there were a lot of apartments     21· · to draw attention away from the team.
  22· · within earshot.· And the purpose of announcing the     22· · · · ·Q.· ·Was it discussed at the tactical briefing
  23· · specific apartment number is to -- to make sure        23· · who would make the initial announcement?
  24· · people know what apartment police are there for,       24· · · · ·A.· ·Yes.· Officer Werner told that -- I
  25· · right?                                                 25· · believe it was going to be Sergeant Backman that

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  ·1· · · · ·A.· ·Yes, sir.· There's an apartment directly     ·1· · made all verbal announcements from the bullhorn.
  ·2· · above him.                                             ·2· · · · ·Q.· ·Now, and we can listen to this later if
  ·3· · · · ·Q.· ·Was it discussed at all, any factors that    ·3· · you really wanted to.· But I'll represent to you
  ·4· · might stop or delay deploying the stun stick?          ·4· · that I do think it was Sergeant Backman, and he had
  ·5· · · · ·A.· ·Any factors that would stop it?              ·5· · a bullhorn.
  ·6· · · · ·Q.· ·Yes.                                         ·6· · · · ·A.· ·Yeah.
  ·7· · · · ·A.· ·So, basically, if I made an approach, and    ·7· · · · ·Q.· ·And he does an initial announcement with
  ·8· · I could see that there was any signs of kids, any      ·8· · an address and police officer, search warrant.· And
  ·9· · signs of -- anything that would cause any type of      ·9· · then after that, all the other officers also begin
  10· · safety issue, I would immediately call out "no bang"   10· · saying police officer, search warrant.· Was that
  11· · or I would air burst it above.· And I would            11· · discussed at tactical briefing, that the other
  12· · basically just explain and articulate to them why I    12· · officers would also say police officer, search
  13· · didn't do it.· For safety reasons or I observed a      13· · warrant?
  14· · child.· There could be a bassinet on the other side.   14· · · · ·A.· ·That's basically an SOP for us.· Is once
  15· · Yeah.· I'm allowed -- I mean, we are all given         15· · the announcements start and we're getting ready to
  16· · that -- that reason if we need to put a stop to        16· · make entry, we will continue to verbalize that as
  17· · that.                                                  17· · we're making entry.
  18· · · · ·Q.· ·Okay.· But it was preplanned that there      18· · · · ·Q.· ·You didn't verbalize that, did you?
  19· · would be no delay between the second announcement of   19· · · · ·A.· ·No.
  20· · police officer, search warrant and deployment of the   20· · · · ·Q.· ·Why not?
  21· · stun stick.                                            21· · · · ·A.· ·Because the guys were already at that
  22· · · · ·A.· ·Unless I saw something, no.                  22· · point inside.· I don't -- that's -- I don't say
  23· · · · ·Q.· ·Hypothetically, what if they had done the    23· · police, search warrant.· My job is to stun the
  24· · first announcement, you know, they finish police       24· · window.
  25· · officer search -- the address, police officer,         25· · · · ·Q.· ·Is part of the reason because you did not


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  ·1· · want to disclose your presence at the window?          ·1· · · · ·Q.· ·Your act of breaking the window with the
  ·2· · · · ·A.· ·No, I pretty much -- once I was up there,    ·2· · stun stick is the first act of physical force to
  ·3· · he's going to know that we're there once I broke the   ·3· · enter that apartment, isn't it?
  ·4· · window anyway.· Or someone is going to -- my           ·4· · · · ·A.· ·Yes, sir.
  ·5· · presence is known by the insertion of the stun         ·5· · · · ·Q.· ·Okay.· It happened even before the first
  ·6· · stick.                                                 ·6· · use of the battering ram on the front door, correct?
  ·7· · · · ·Q.· ·Was this specifically discussed, that you    ·7· · · · ·A.· ·And that was the plan, yes, sir.
  ·8· · would not take part in the announcements?              ·8· · · · ·Q.· ·Okay.· So that was preplanned?
  ·9· · · · ·A.· ·No, it wasn't discussed.· But usually the    ·9· · · · ·A.· ·Yes, sir.
  10· · guys that are on the stun stick are not making the     10· · · · ·Q.· ·So how long was it planned before you
  11· · verbal announcements.· Because we are within close     11· · entered the stun stick before they would use the
  12· · proximity of each other, the announcements portion     12· · battering ram at the front door?
  13· · of it would be covered by the -- the entry team.       13· · · · ·A.· ·So, the plan was, is it would be two full
  14· · · · ·Q.· ·Okay.· Did anyone discuss at the tactical    14· · announcements.· I would insert the stun, clear it,
  15· · briefing the amount of time in seconds that should     15· · initiate the stun, and then the breach would start
  16· · elapse after the announcements to allow somebody to    16· · to work.
  17· · either admit or deny the officers' entry?              17· · · · ·Q.· ·And no amount of time between the second
  18· · · · ·A.· ·To answer your question, are we talking      18· · announcement and insertion of the stun stick.· It
  19· · about timing, how many seconds?· No.· That was never   19· · was supposed to happen simultaneously?
  20· · discussed, sir.                                        20· · · · ·A.· ·No.· Distract would go, breach would then
  21· · · · ·Q.· ·Okay.· Well, the plan was to not allow       21· · start.· That was the plan.
  22· · that, wasn't it?                                       22· · · · ·Q.· ·I'm sorry, I think you may have
  23· · · · ·A.· ·Not allow what, sir?                         23· · misunderstood my question.
  24· · · · ·Q.· ·Not allow any time for somebody to come to   24· · · · ·A.· ·Okay.
  25· · the door and admit or refuse entry, right?· That was   25· · · · ·Q.· ·The plan was, after the second

                                                        107                                                          109
  ·1· · the plan, wasn't it?                                   ·1· · announcement, no additional time would be allowed to
  ·2· · · · ·A.· ·The plan was basically for them to           ·2· · the people inside.· Immediately after the second
  ·3· · verbalize, allow them -- letting them know that the    ·3· · announcement, you would insert the stun stick.
  ·4· · police is outside and we're only going to wait, like   ·4· · · · ·A.· ·Immediately after the second announcement
  ·5· · we said, a reasonable amount of time.· And at that     ·5· · my job was to insert the stun stick, yes.
  ·6· · point, we end up breaching the door and go.            ·6· · · · ·Q.· ·Who told you that?
  ·7· · · · ·Q.· ·Well, I mean, you said, and I wrote it       ·7· · · · ·A.· ·The ATL and the sergeant who approved it.
  ·8· · down, in your earlier testimony, the very point of     ·8· · · · ·Q.· ·Okay.· So you're talking about Werner and
  ·9· · the CET entry is to use speed, surprise, and           ·9· · Backman?
  10· · overwhelming action.· You said that earlier, right?    10· · · · ·A.· ·Yes, sir.
  11· · · · ·A.· ·Yeah.                                        11· · · · ·Q.· ·Are you talking also about Sergeant
  12· · · · ·Q.· ·So, if you're using speed, surprise, and     12· · Finley?
  13· · overwhelming action, how can a person inside have      13· · · · ·A.· ·Sergeant Finley, I'm sure he was involved
  14· · any reasonable amount of time to come to the door      14· · in it.· I know that he was the primary sergeant
  15· · and respond to the officers?                           15· · there, but I know that Sergeant Backman, Sergeant
  16· · · · ·A.· ·That's once -- speed, surprise, and          16· · Werner discussed the tactical plan.· Sergeant Finley
  17· · overwhelming action is as we're making our entry in.   17· · then kind of approved -- like, not approved it,
  18· · That's -- that's what our speed is, is inside.         18· · because he doesn't have that authorization to
  19· · Our -- our surprise is that, you know, basically       19· · approve it.· He over- -- he was more of the
  20· · utilizing the stuns and distracts to disorient and     20· · oversight of that.
  21· · drive their attention away from us.· And then that     21· · · · ·Q.· ·Did Sergeant Backman deliver any portion
  22· · overwhelming action is, you know, the overwhelming     22· · of the tactical briefing?
  23· · presence of police department, search warrant, the     23· · · · ·A.· ·Any portion of it?
  24· · distracts continuing to go, you know, the dynamic      24· · · · ·Q.· ·Yes.
  25· · movement inside of the house.                          25· · · · ·A.· ·No, sir.


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  ·1· · · · ·Q.· ·Okay.· And it was preplanned that you        ·1· · · · ·Q.· ·Were you told during the tactical briefing
  ·2· · would use -- or the SWAT team was going to use a CET   ·2· · that suspect Fisher was wearing an ankle bracelet?
  ·3· · entry as opposed to a Surround and Call-Out, or SACO   ·3· · · · ·A.· ·I was aware of that -- or not aware of
  ·4· · entry, right?                                          ·4· · that, I was briefed that, yes.
  ·5· · · · ·A.· ·Surround and Call-Out, yes, sir.             ·5· · · · ·Q.· ·And so did that, then, lead you to believe
  ·6· · · · ·Q.· ·Okay.· And so, to your knowledge, who made   ·6· · that Fisher was not actually inside the apartment?
  ·7· · that decision?                                         ·7· · · · ·A.· ·We -- made us believe that Fisher was not,
  ·8· · · · ·A.· ·So basically, the reconnaissance officers    ·8· · but -- I apologize for saying his name incorrectly.
  ·9· · would go back to Officer Werner, discuss what they     ·9· · Shumpert, Rumpert.
  10· · saw, and then Officer Werner would basically present   10· · · · ·Q.· ·Wattsel Rembert.
  11· · a CET plan to the sergeant, who would then push that   11· · · · ·A.· ·Rembert.· That was still outstanding and
  12· · up to the lieutenant, and it would get approved.       12· · could possibly still be inside.
  13· · · · ·Q.· ·Did you ever question why a CET entry was    13· · · · ·Q.· ·Did anyone brief you on the last time he
  14· · being used as opposed to a Surround and Call-Out?      14· · was seen at that apartment?
  15· · · · ·A.· ·No, I did not.· The reason why I did not     15· · · · ·A.· ·No, sir.
  16· · is, I was able to -- I saw the aerial photos.· I saw   16· · · · ·Q.· ·Did anyone brief you on whether he had
  17· · the structure that they were looking at. I             17· · ever been seen at that apartment?
  18· · understood why they were doing what -- a CET opposed   18· · · · ·A.· ·No, sir.· It was actually -- I take that
  19· · to Surround and Call-Out.                              19· · back.· I believe officer -- the recon officers
  20· · · · ·Q.· ·And so, in your opinion, what did you see    20· · did -- did state that -- to my recollection, they
  21· · that led you to believe that CET was better than       21· · did state that he was seen, you know, several weeks
  22· · Surround and Call-Out?                                 22· · prior.
  23· · · · ·A.· ·It was going to be very, very difficult      23· · · · ·Q.· ·What advantages would a Surround and
  24· · for them to pull up armored vehicles.· They had --     24· · Call-Out have over a CET entry?
  25· · they basically had a -- I believe it was an ARCO       25· · · · ·A.· ·What advantages would it --

                                                        111                                                          113
  ·1· · station.· I don't know if -- I can't remember if it    ·1· · · · ·Q.· ·Yes.
  ·2· · was to the north or to the south.· But there was an    ·2· · · · ·A.· ·-- have had?
  ·3· · ARCO gas station that was -- you know, it's 5:00       ·3· · · · · · · Well, basically, we would -- like I said,
  ·4· · a.m., people are going to get coffee, people are       ·4· · in a Surround and Call-Out, we would have landed
  ·5· · going to get gas, there was active people over         ·5· · armored vehicles.· It would have been very tough to
  ·6· · there.                                                 ·6· · contain and utilize low lethality options if he was
  ·7· · · · · · · We would literally have to put a piece of    ·7· · to come out and try to flee.· Especially running
  ·8· · armor in that parking lot.· We would have to shut      ·8· · towards a -- you know, Pecos.· He had a lot of
  ·9· · down and put a piece of armor off of -- I can't        ·9· · avenues of escape.· It would have -- you know,
  10· · recall what the back street was, if that was Pecos     10· · you're talking about, you know, what advantage it
  11· · or Nellis.· It was wide open back there.· There was    11· · would have gave us.· The only thing it would have
  12· · so much space to where we couldn't actively contain    12· · really gave us is us slowing the action down and
  13· · the individuals without cutting down some wrought      13· · trying to attempt to get anyone in custody -- take
  14· · iron gates and pushing the armor in.                   14· · anyone out of the residence and get them into
  15· · · · · · · So I understood their thought process and    15· · custody.
  16· · their logic behind utilizing a CET versus a Surround   16· · · · ·Q.· ·Would have provided more time for people
  17· · and Call-Out.· Because of the environmental factors    17· · inside, wouldn't it?
  18· · of trying to contain the structure.                    18· · · · ·A.· ·Would have provided more time for people,
  19· · · · ·Q.· ·And is that the only basis for your          19· · also, that if they're committed to arm themselves
  20· · opinion?                                               20· · and fortify their position and location.· Because at
  21· · · · ·A.· ·Right now, yes.· Oh, yeah.· And basically,   21· · some point in time, we were going to have to go up
  22· · they opted to go with the CET because of the two       22· · there and breach that door.
  23· · suspects inside.· The violent tendencies, the          23· · · · ·Q.· ·You would concede this is a small
  24· · severity of the crime, access to weapons.· All         24· · apartment with only a patio door, a front entrance,
  25· · those.                                                 25· · and a couple of windows, right?


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  ·1· · · · ·A.· ·Yes.                                         ·1· · that ARCO station, this is the parking lot, I don't
  ·2· · · · ·Q.· ·It's not a huge warehouse, is it?            ·2· · know if they would have been able to get a BearCat
  ·3· · · · ·A.· ·No, it's not a huge warehouse.· But I've     ·3· · or any piece of armor around that to provide them
  ·4· · also, sir, I've been involved in a lot of operations   ·4· · adequate cover and still be able to see the door.
  ·5· · where we have done Surround and Call-Outs and people   ·5· · · · · · · Because from their distance from that
  ·6· · have tunneled through sheetrock.· That was just        ·6· · parking lot to the door was a good 20, 30 yards,
  ·7· · drywall and sheetrock that separated apartment to      ·7· · maybe more.· And that's just -- I'm just trying to
  ·8· · apartment.                                             ·8· · speculate now off the top of my head.
  ·9· · · · · · · So if these guys were looking to escape      ·9· · · · · · · The guys that were on the back, the rear
  10· · and go through -- we've seen this happen.· We've had   10· · containment where I was off the stun stick, the guys
  11· · this happen to us.· And now we have a potential        11· · that were off the 3-4 corner, --
  12· · hostage situation, with the potential of an armed      12· · · · · · · THE REPORTER:· The guys?
  13· · suspect that's wanted for homicide.· So that's         13· · · · · · · THE WITNESS:· -- which --
  14· · another reason why they opted to go with the CET,      14· · · · · · · THE REPORTER:· -- off the 3-4 corner?
  15· · sir.                                                   15· · · · · · · THE WITNESS:· I'm sorry.· 3-4 corner,
  16· · · · ·Q.· ·Did the briefing indicate who was actually   16· · which would be the furthest north corner.· I don't
  17· · inside the apartment?                                  17· · know if we would have been able to -- there's no
  18· · · · ·A.· ·Who could have been inside the apartment?    18· · room.· The buildings were so tight together, we
  19· · No.                                                    19· · couldn't get a piece of armor back there.· So any
  20· · · · ·Q.· ·Did it indicate that anyone had actually     20· · type of armored vehicles for protection would have
  21· · been seen inside the apartment?                        21· · been in an ARCO station with people that are
  22· · · · ·A.· ·Did the briefing?                            22· · continuously moving and an open business.· And then
  23· · · · ·Q.· ·Yes.                                         23· · another vehicle off of that street, which if it was
  24· · · · ·A.· ·They -- you know, at, like, the moment of    24· · Pecos or Nellis, I can't recall.
  25· · us going, is that what you're asking me?               25· · · · · · · And now there's a gate with a block wall

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  ·1· · · · ·Q.· ·Yes.· Who was currently --                   ·1· · that completely obstructs them from even being able
  ·2· · · · ·A.· ·I can't recall, sir.                         ·2· · to contain that.· All that was, is going to be a
  ·3· · · · ·Q.· ·Was it your understanding that you might     ·3· · show of force at that time.
  ·4· · do this and the apartment would just be vacant?        ·4· · · · · · · So those guys would have been on foot just
  ·5· · · · ·A.· ·We've -- we've hit vacant apartments         ·5· · behind shields.· So if he presented himself out in a
  ·6· · several times where people say that they're in         ·6· · Surround and Call-Out and wanted to flee or -- or
  ·7· · there.· We've -- we've had a warrant just a couple     ·7· · utilize any type of force -- deadly force towards
  ·8· · weeks ago where people have said, hey, he's            ·8· · us, we would have been at a disadvantage.· So that's
  ·9· · 100 percent in there.· And it was completely empty.    ·9· · why they went with the CET.
  10· · It happens.                                            10· · BY MR. BREEDEN:
  11· · · · ·Q.· ·Do you believe that using a Surround and     11· · · · ·Q.· ·For officer safety?
  12· · Call-Out entry technique as opposed to a CET entry     12· · · · ·A.· ·For officer safety as well, yes.· And
  13· · was feasible for this?                                 13· · citizen safety.
  14· · · · ·A.· ·Could it have been done?                     14· · · · ·Q.· ·Is it public safety?
  15· · · · ·Q.· ·Yes.                                         15· · · · ·A.· ·I just said that.· And citizen safety.
  16· · · · ·A.· ·Can we -- we can do anything in SWAT.· We    16· · · · ·Q.· ·So, which do you think the safer entry
  17· · find ways to get things done.· We will find a way to   17· · technique is for people inside the apartment?· A CET
  18· · make it work.· Do I feel it was -- it was the          18· · entry or a Surround and Call-Out?
  19· · best -- the best tactic at the time?· No.· It          19· · · · ·A.· ·In that situation, which what was briefed,
  20· · just -- it would have been very hard for us to land    20· · based on the severity of the crime and what these
  21· · an armored vehicle and put it in a position to give    21· · guys were -- could potentially do, a CET would have
  22· · us any type of tactical advantage at that time.        22· · been.
  23· · · · · · · I wasn't on the recon, I wasn't the ATL, I   23· · · · ·Q.· ·So, is it your testimony that a Surround
  24· · couldn't tell if there was enough spacing.· So if      24· · and Call-Out simply was not feasible?
  25· · this was the apartment, this is the door, this is      25· · · · ·A.· ·It's not that it was not feasible, it's


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  ·1· · just -- based off of those subjects that we're going   ·1· · I asked you if you believe that if you saw other
  ·2· · after, the access to weapons, the location itself,     ·2· · officers that were violating the civil rights of the
  ·3· · that's why they utilized the CET tactic.· Could we     ·3· · public, whether you felt you had a duty to intervene
  ·4· · have down a Surround and Call-Out?· Possibly.· We      ·4· · and you said yes.· You understand that you have that
  ·5· · can -- we find ways to do a lot of things in SWAT.     ·5· · duty, correct?
  ·6· · · · ·Q.· ·If this SWAT action was taken today, under   ·6· · · · ·A.· ·Yes, sir, I understand that.
  ·7· · the current policies and procedures for a property     ·7· · · · ·Q.· ·So, when you observed the tactical
  ·8· · only search warrant, would a CET entry be permitted?   ·8· · briefing, and you heard that the plan was to do two
  ·9· · · · ·A.· ·At this time, possibly not.· Especially --   ·9· · announcements and then you were to use force, did
  10· · if we had to, we know -- like I said, I wasn't         10· · you raise any concerns that you were not allowing a
  11· · there.· I don't -- I mean, I was there, but I wasn't   11· · reasonable amount of time for occupants to come to
  12· · a part of the planning process.· We would have tried   12· · the door and allow entry to the officers willingly?
  13· · to find a way to get a BearCat closer, if we can.      13· · · · ·A.· ·No.· I did not feel that I was -- no. I
  14· · So to answer your question, yes.                       14· · was comfortable with it.· I understood why they
  15· · · · ·Q.· ·So you're saying yes, if this same event     15· · wanted it done.· I was good with the plan.
  16· · occurred today, CET would not be approved?             16· · · · ·Q.· ·Okay.· And would you agree with me that
  17· · · · ·A.· ·No.                                          17· · because whoever is in there is likely asleep, a
  18· · · · ·Q.· ·I'm sorry, we're answering each other so     18· · person who is asleep would probably need a little
  19· · that your response might be a little -- a little       19· · longer time to wake up and ascertain things than
  20· · misleading.· So let me rephrase it again.              20· · somebody who was wide awake?
  21· · · · · · · If this same SWAT action occurred today,     21· · · · ·A.· ·I could -- yeah, I could understand that,
  22· · would CET entry be approved?                           22· · too.· But we also want to make sure that we are
  23· · · · ·A.· ·If we got this warrant today for a -- that   23· · catching them by surprise as well.· To disorient,
  24· · they were going after a property crime and possibly    24· · disrupt anything that they're trying to do inside as
  25· · a suspect inside, we would have probably done a        25· · well.· So -- especially when we're going after

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  ·1· · Surround and Call-Out on that in this environment      ·1· · someone that's involved in a homicide.
  ·2· · right now.· Yes, to answer your question.· Is that     ·2· · · · ·Q.· ·Well, if you're planning on surprising and
  ·3· · correct?                                               ·3· · disorienting them, how is the person going to tell
  ·4· · · · ·Q.· ·Yeah, I can understand your response.        ·4· · that you're police officers and have time to come to
  ·5· · · · ·A.· ·Okay.                                        ·5· · the door and say, "Oh, yeah, you're here to serve a
  ·6· · · · ·Q.· ·I just wanted to make sure it was clear.     ·6· · warrant?· Come on in."
  ·7· · · · · · · So what has changed, then, since when        ·7· · · · ·A.· ·Well, we're also going to continue to make
  ·8· · Mr. Williams was killed in January of 2022 and         ·8· · announcements, let them know.· And we're also
  ·9· · today?                                                 ·9· · looking to get them to a point to where if we're
  10· · · · ·A.· ·Well, what has changed is, you know, the     10· · making entry or we're about to make entry, we want
  11· · IAP has obviously added a lot more information that    11· · them to basically stop any type of action and be
  12· · is needed for the service of these warrants.· And      12· · able to comply with us as we're coming in.
  13· · these are some of the things I've already kind of      13· · · · ·Q.· ·Well, you don't want them to stop
  14· · touched on, was when was the last time you've seen     14· · willfully allowing you entry, do you?
  15· · the surveillance?· Observations of anybody inside?     15· · · · ·A.· ·We don't want them to what?· I'm sorry,
  16· · Coming and going.· Like, stuff like that.· Time of     16· · I --
  17· · day, patterns of life.· Those are things that have     17· · · · ·Q.· ·Well, look, if the person is in the
  18· · also been added.· And these are the things that we     18· · process of coming to the door to say, "Oh, you're
  19· · are forcing -- not forcing.· We are asking the         19· · police officers with a search warrant.· Sure, come
  20· · detectives to do to make sure that the investigation   20· · on in.· Here, you know, it's an open book.· Do
  21· · is solid.· Because once we are utilized, we're such    21· · whatever you need to do."· You don't want to
  22· · a show of force that if we are there, we need to be    22· · interrupt that process, do you?
  23· · able to make sure that we're doing the tactics         23· · · · ·A.· ·Not necessarily.· We don't want to
  24· · safely and efficiently.                                24· · interrupt it.· But we're also not necessarily -- in
  25· · · · ·Q.· ·Now, at the beginning of this deposition,    25· · a CET, we're wanting them -- we are wanting to -- we


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  ·1· · want them to just stop action, too, as well.           ·1· · mean, all -- everyone -- all of that goes into our
  ·2· · · · ·Q.· ·Do you remember any officer raising any      ·2· · concern when we're planning.
  ·3· · concern that a reasonable amount of time was not       ·3· · · · ·Q.· ·Do you remember any officer asking any
  ·4· · being planned for somebody to come to the door and     ·4· · questions during the briefing about any topic?
  ·5· · provide the officers entry?                            ·5· · · · ·A.· ·Any topic?· Topic of -- could you
  ·6· · · · ·A.· ·No, sir, I do not recall that.               ·6· · elaborate?
  ·7· · · · ·Q.· ·Wasn't the planning of this essentially a    ·7· · · · ·Q.· ·Yeah.· Any topic in terms of what are
  ·8· · no-knock warrant?· You were just going to do           ·8· · these people wanted for?· You know, how many seconds
  ·9· · announcements and burst in?                            ·9· · should we wait?· Who's going to do the
  10· · · · ·A.· ·This was -- this was not a no-knock          10· · announcements?
  11· · warrant.· No, sir.                                     11· · · · ·A.· ·That's all -- that was all discussed in
  12· · · · ·Q.· ·Well, I know legally it wasn't a no-knock    12· · the -- in the briefing.· Those things were discussed
  13· · warrant.· But there wasn't any reasonable amount of    13· · in the briefing.· Nothing about time and -- no, like
  14· · time to allow somebody to get up from a sleeping       14· · your -- to answer -- nothing about time and how many
  15· · position and come to the door, was there?              15· · seconds.· That wasn't discussed.· But who's doing
  16· · · · · · · MR. ANDERSON:· Objection, form.              16· · the bullhorning and why we're here, yes.
  17· · · · · · · Go ahead.                                    17· · · · ·Q.· ·Okay.· But was that -- was that a one-way?
  18· · · · · · · THE WITNESS:· The other -- the thing,        18· · In other words, the person doing the briefing just
  19· · also, with knock and announce, and, you know, we've    19· · said, "Hey, look, Bertuccini.· You're going to do
  20· · already covered it and you mentioned it yourself, is   20· · the stun stick."· Or did anybody on any topic reach
  21· · that we're also officer safety.· The amount of time    21· · out to ask a follow-up question to the person doing
  22· · that we're going to wait there is also a factor of     22· · the briefing?
  23· · how -- that we take into consideration, too.           23· · · · ·A.· ·No, sir.
  24· · · · · · · So whether it's two seconds, six seconds,    24· · · · ·Q.· ·Now, I notice during one of your
  25· · eight seconds, fifteen, is it's also going to be --    25· · interviews, you indicated that as part of the

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  ·1· · you know, is it a safety concern for us just waiting   ·1· · briefing, there was going to be a quote,
  ·2· · outside.· Especially dealing with, you know,           ·2· · "contingency" end quote, plan, if a quote "breach
  ·3· · continue to harp on it, someone that's possibly        ·3· · longer than expected" end quote, occurred.· Do you
  ·4· · armed inside.                                          ·4· · recall that?
  ·5· · BY MR. BREEDEN:                                        ·5· · · · ·A.· ·Yes.· I mean, that's a -- that's a very
  ·6· · · · ·Q.· ·Okay.· But you guys are wearing body armor   ·6· · common thing that they'll talk about, a delayed
  ·7· · and helmets, and some of you have ballistic shields.   ·7· · breach.
  ·8· · And you can take defensive positions.· Nobody inside   ·8· · · · ·Q.· ·What was the contingency?
  ·9· · the apartment has any of that, do they?                ·9· · · · ·A.· ·So, if they were going to -- if there was
  10· · · · · · · MR. ANDERSON:· Objection, form.              10· · going to be any type of delayed breach at the door
  11· · · · · · · THE WITNESS:· No, we don't.· But we also     11· · with the ram, our ballistic breach officer would
  12· · had an officer that was shot six times.· And we        12· · step up and -- and basically start to utilize
  13· · also -- we also had a gentleman next to me who took    13· · ballistic breach compressed copper rounds into the
  14· · two rounds into his shield.· So I understand -- I      14· · lock to continue to get the door open.
  15· · understand my -- my role as a SWAT officer and being   15· · · · ·Q.· ·Is that the Shok Lock?
  16· · willing to wear that equipment and make entry.         16· · · · · · · THE WITNESS:· The Shok Lock, yes, sir.
  17· · But -- and we're risking things.· But we're also --    17· · · · · · · THE REPORTER:· The what?· Shock?
  18· · we also was just shot at, I believe, 18 times by       18· · · · · · · THE WITNESS:· Shok.· It's actually not
  19· · this gentleman.                                        19· · actually s-h-o-c-k, it's actually S-h-o-k, and then
  20· · BY MR. BREEDEN:                                        20· · Lock.
  21· · · · ·Q.· ·When you were deciding for this to be --     21· · BY MR. BREEDEN:
  22· · or when it was decided this would be a CET entry,      22· · · · ·Q.· ·So, the contingency plan was to use a Shok
  23· · was the primary consideration, then, officer safety?   23· · Lock?
  24· · · · ·A.· ·Officer safety, citizen safety, anyone       24· · · · ·A.· ·That was our ballistic breach contingency
  25· · else inside.· Like I told you, people around. I        25· · plan, yes, sir.


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  ·1· · · · ·Q.· ·And if further you couldn't obtain a         ·1· · · · · · · In the 24 hours before that January 10,
  ·2· · breach, would you revert into a Surround and           ·2· · 2022 SWAT action, had you consumed any alcoholic
  ·3· · Call-Out?                                              ·3· · beverages?
  ·4· · · · ·A.· ·We would at that point -- Jake, I believe    ·4· · · · ·A.· ·No.
  ·5· · he stated that he would fall back to that corner so    ·5· · · · ·Q.· ·Had you used any drug of any kind,
  ·6· · that we still had eyes on, and I would continue to     ·6· · including prescription medication?
  ·7· · work the window.· Because at that point, the stun      ·7· · · · ·A.· ·No, sir.
  ·8· · would have already been initiated.· I would have had   ·8· · · · ·Q.· ·Okay.· And were those your normal waking
  ·9· · that window completely raked out and I would have      ·9· · hours that time of day?· They weren't, right?· Your
  10· · had eyes into the target.                              10· · normal shift was noon to 2:00?
  11· · · · ·Q.· ·Did any part of the plan involve a           11· · · · ·A.· ·I mean, I get up usually 6:00, 7:00 to go
  12· · scenario where you would actually enter the            12· · to the gym every morning.
  13· · apartment through the window?                          13· · · · ·Q.· ·I mean, this occurred -- the tactical
  14· · · · ·A.· ·No, sir.· We would not do that on a -- on    14· · briefing, what time did that start?
  15· · a search warrant, sir.                                 15· · · · ·A.· ·I believe it started at 5:00.
  16· · · · ·Q.· ·Why not?· I mean --                          16· · · · ·Q.· ·Well, the action started at 5:00, so the
  17· · · · ·A.· ·It's not -- it's just not an entry point     17· · tactical briefing must have been before then.
  18· · for us.· If would cause -- it could cause safety,      18· · · · ·A.· ·I -- like I said, two years ago, you have
  19· · harm, risk to us.· We could get cut.· We could get     19· · better knowledge of it than me.· I just remember
  20· · hung up.· It's going to -- it's an obstacle.· It's     20· · around 5:00 a.m.
  21· · an elevated obstacle.· So, no.· We would only do       21· · · · ·Q.· ·And how long did the tactical briefing
  22· · that on a crisis entry in a hostage situation if       22· · last?
  23· · need be.                                               23· · · · ·A.· ·Usually, anywhere between 20 minutes -- I
  24· · · · ·Q.· ·Okay.· And you indicated in one of your      24· · mean, I don't know an exact time.· Sometimes some
  25· · interviews that in the past during some of these       25· · are shorter, some are longer, some plans are a

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  ·1· · briefings you have made tactical suggestions.          ·1· · little bit more elaborate and longer and more in
  ·2· · · · ·A.· ·Yes, sir.                                    ·2· · depth than others.· Some can be just more standard.
  ·3· · · · ·Q.· ·Did you do anything like that during this    ·3· · It just would depend.
  ·4· · briefing?                                              ·4· · · · ·Q.· ·Let's assume the tactical briefing
  ·5· · · · ·A.· ·I just asked J K what your -- what was       ·5· · happened around 4:30 a.m.
  ·6· · your thought process for the stun stick here.· He      ·6· · · · ·A.· ·Okay.
  ·7· · basically told me that he was able to pull up photos   ·7· · · · ·Q.· ·On your regular day off, would you
  ·8· · of the interior, of the layout, and saw that that      ·8· · normally be awake at that hour?
  ·9· · window put us right into the living room.· So that     ·9· · · · ·A.· ·Not at that hour, no.
  10· · as they were working the front door, if they got       10· · · · ·Q.· ·Physically, how did you get to the
  11· · hung up, I would be able to basically see inside.      11· · tactical briefing, and who rode with you?
  12· · Me and Roth would be able to see the inside of the     12· · · · ·A.· ·How did I get to the tactical -- I drove
  13· · entire apartment.                                      13· · myself.· I came from my home, I got to the brief, I
  14· · · · · · · So if we did, you know, see people, we       14· · drove my personal -- not my personal truck, my work
  15· · could see what was going on beside the door.· If we    15· · truck where all my equipment is.· Got dressed --
  16· · needed to tell them, hey, you got a chair behind the   16· · · · ·Q.· ·Did you pick anyone up on the way?
  17· · door and there's -- hey, there's a guy coming to the   17· · · · ·A.· ·No, sir.
  18· · door, like, we'd be able to do that.                   18· · · · ·Q.· ·I'm going to review some -- some video
  19· · · · ·Q.· ·When you said you discussed that with J K,   19· · now.· This comes from a body camera that I believe
  20· · who --                                                 20· · was yours.
  21· · · · ·A.· ·Sorry, Officer Werner.· My apologies.        21· · · · ·A.· ·Okay.
  22· · · · ·Q.· ·So, let's talk a little bit more, then,      22· · · · ·Q.· ·And just for the record here, so this
  23· · about the SWAT entry itself.· And we'll look at some   23· · would be the body camera video labeled as Officer
  24· · video here.· But let me ask you a couple questions     24· · Bertuccini's.· And we're going to start it at the
  25· · first.                                                 25· · time 12:58.· But we should make clear that doesn't


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  ·1· · mean this happened at 12:58 a.m., does it?             ·1· · began to approach the apartment, are you wearing a
  ·2· · · · ·A.· ·No.                                          ·2· · helmet?
  ·3· · · · ·Q.· ·That's Zulu time, correct?                   ·3· · · · ·A.· ·Yes, sir, I'm wearing my helmet.
  ·4· · · · ·A.· ·Sure, yeah.· You know better -- more than    ·4· · · · ·Q.· ·Is that, like, a tactical or bulletproof
  ·5· · me.· But, yeah.· No, it did not happen at 12:58 a.m.   ·5· · helmet?
  ·6· · · · ·Q.· ·Do you use that term, Zulu time, when you    ·6· · · · ·A.· ·It's a ballistic helmet, yes, sir.
  ·7· · talk about --                                          ·7· · · · ·Q.· ·Did you have a taser on you?
  ·8· · · · ·A.· ·I'm going to be honest with you, that's      ·8· · · · ·A.· ·Yes, sir, I did.
  ·9· · the first time I ever heard that.· So, no, I do not.   ·9· · · · ·Q.· ·And you had your body camera on and it was
  10· · · · ·Q.· ·Okay.· All right.· So -- but it's your       10· · activated?
  11· · understanding that basically, there is a seven-hour    11· · · · ·A.· ·Yes, sir.
  12· · time difference here.· So we're going to use the       12· · · · ·Q.· ·Were you wearing a bulletproof vest?
  13· · translated time, then, and I will tell you that this   13· · · · ·A.· ·Yes, sir, I was.
  14· · video then starts at 4:58 a.m.· I got that wrong.      14· · · · ·Q.· ·Okay.· Would you use a different term
  15· · It's an eight-hour difference, isn't it?· This is      15· · other than bulletproof vest, like a tactical vest?
  16· · going to start at 4:58 a.m.· And I'm going to play     16· · · · ·A.· ·It's a tactical ballistic vest.
  17· · it for a little bit and then I'll stop it and ask      17· · · · ·Q.· ·And did you have a handgun with you?
  18· · you some questions.                                    18· · · · ·A.· ·Yes, sir.
  19· · · · ·A.· ·Yes, sir.                                    19· · · · ·Q.· ·What type, caliber?
  20· · · · · · · · · · ·(Video playing.)                      20· · · · ·A.· ·It was a 9mm Glock 17.
  21· · · · · · · THE WITNESS:· If you wanted me to hear       21· · · · ·Q.· ·Did you have any other firearms?
  22· · something, I can't hear it.                            22· · · · ·A.· ·I did.· I had a secondary firearm with me.
  23· · BY MR. BREEDEN:                                        23· · Another Glock 17.
  24· · · · ·Q.· ·It's pretty faint right now.                 24· · · · ·Q.· ·Okay.· Did you have flex cuffs?
  25· · · · ·A.· ·Okay.                                        25· · · · ·A.· ·I did.

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  ·1· · · · ·Q.· ·Okay.· I'm going to stop it at 4:58:50.      ·1· · · · ·Q.· ·And we saw on the video, and if you need
  ·2· · And so I'm going to ask you, and I know we haven't     ·2· · me to replay it, but we saw that you retrieved the
  ·3· · looked at this too much yet, but do you believe that   ·3· · stun stick from the rear of the vehicle.
  ·4· · is the video from your body camera?                    ·4· · · · ·A.· ·Yes, sir.
  ·5· · · · ·A.· ·Yes, sir.                                    ·5· · · · ·Q.· ·Okay.· And it was already loaded at that
  ·6· · · · ·Q.· ·Okay.· And who were you arriving with at     ·6· · time?
  ·7· · the beginning of the video?                            ·7· · · · ·A.· ·Loaded and ready to go, yes, sir.
  ·8· · · · ·A.· ·Like I said, I drove myself to the brief.    ·8· · · · ·Q.· ·Okay.· Did you have anything else on your
  ·9· · We briefed.· I rode with Roth in his truck.· That      ·9· · person, then, that we haven't already discussed?
  10· · was the plan.· Just Jake told us to -- Officer         10· · · · ·A.· ·Just everything on my kit, whatever my --
  11· · Werner told us, hey, just buddy up.· Take one truck,   11· · you know, my kit, which is my -- my tactical vest.
  12· · limit the vehicle package, the number of guys on the   12· · It's what we refer to as our kit.
  13· · rails.                                                 13· · · · ·Q.· ·What -- what else would be on it?
  14· · · · ·Q.· ·And you drove?                               14· · · · ·A.· ·Explosives, radio, medical pouch, medical
  15· · · · ·A.· ·I did not -- I don't recall driving. I       15· · kit, notebooks, stuff like that.· Initiators.
  16· · believe Roth drove.                                    16· · · · ·Q.· ·I'm going to play the video here for a
  17· · · · ·Q.· ·Oh, okay.· And why was it you were not on    17· · little bit, and then we're going to stop it, sort of
  18· · the BearCat, then?                                     18· · as you round the corner --
  19· · · · ·A.· ·Why was I not on the BearCat?· It was just   19· · · · ·A.· ·Okay.
  20· · easier for us to drive in our truck, because how       20· · · · ·Q.· ·-- to get to the rear window, okay?
  21· · tight the parking lot was.· They wanted to try to      21· · · · · · · · · · · (Playing video.)
  22· · limit the number of vehicles in there.· In case we     22· · BY MR. BREEDEN:
  23· · did have a down officer, we had a good ingress and     23· · · · ·Q.· ·Okay.· We're going to stop the video at
  24· · egress for medical.                                    24· · this point.· I stopped it at -- what on this video
  25· · · · ·Q.· ·And at the time, then, when you exited and   25· · is 4:59 a.m. and 38 seconds.· And I think as I


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  ·1· · stopped it, you could actually hear.· And the time     ·1· · No more than one or two hits on the door and we'd go
  ·2· · on the video varies from video -- camera to camera.    ·2· · right to Shok Lock.· That's -- that's me.· That's,
  ·3· · · · ·A.· ·I understand.                                ·3· · you know, my, you know, tactical assessment of that
  ·4· · · · ·Q.· ·But at least on your body camera video,      ·4· · door.
  ·5· · you can already hear the beginning of the first        ·5· · · · · · · And it would also come down to the frame.
  ·6· · announcement at this time --                           ·6· · I don't recall if the frame was wood or metal. I
  ·7· · · · ·A.· ·Yes, sir --                                  ·7· · don't remember them stating that.· So would, if --
  ·8· · · · ·Q.· ·-- correct?                                  ·8· · would that have changed my breach plan as the ATL?
  ·9· · · · ·A.· ·-- I do.                                     ·9· · Yes.· I believe it -- if you asked Officer Werner
  10· · · · ·Q.· ·And did you recognize the voice as that,     10· · that question, maybe it changes his breach plan,
  11· · in fact, Sergeant Backman?                             11· · too.· But at the time, they did not see the wrap.
  12· · · · ·A.· ·Sergeant Backman, yes, sir.                  12· · BY MR. BREEDEN:
  13· · · · ·Q.· ·Okay.· Now, you're in the line of            13· · · · ·Q.· ·And would you agree with me that the fact
  14· · officers.· And you walked by the front door to this    14· · that there's a brass wrap is important when planning
  15· · apartment, didn't you?                                 15· · the entry into this apartment?
  16· · · · ·A.· ·I was shielded -- once that door was         16· · · · ·A.· ·100 percent.· Especially when it comes to
  17· · shielded, I went -- I went past it, yes.               17· · the breach plan.
  18· · · · ·Q.· ·Could you see that the front door had a      18· · · · ·Q.· ·And that should have been recognized at
  19· · brass plate?                                           19· · the reconnaissance phase, shouldn't it?
  20· · · · ·A.· ·From my vantage point, no, I could not       20· · · · ·A.· ·I feel, yes, it should have been seen.
  21· · tell if it had a brass wrap.                           21· · · · ·Q.· ·Do you feel that's a failure of the
  22· · · · ·Q.· ·Let me ask you hypothetically, if you had    22· · reconnaissance officers?
  23· · observed a brass wrap on the door, what would you      23· · · · ·A.· ·I wouldn't say it's a failure.· I would
  24· · have done?                                             24· · say it's something that if they didn't feel they
  25· · · · ·A.· ·If I was on the recon and I observed a       25· · got -- if they weren't able to get a good pass on

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  ·1· · brass wrap, I would inform my sergeant.· I would let   ·1· · the door, then maybe it needed to be redone. I
  ·2· · him know, hey, this could be -- and this is a thing    ·2· · wouldn't call it a failure.· I would -- I would
  ·3· · with doors.· And I'm not going to get long-winded      ·3· · definitely state that that would need to be redone.
  ·4· · with this.· Here's the thing with doors                ·4· · So those are questions that the ATL asked.· Is there
  ·5· · (indiscernible).                                       ·5· · a wrap?· If they say, I don't know, then we'll --
  ·6· · · · · · · THE REPORTER:· What kind of doors?           ·6· · there's -- another pass is going to need to be done
  ·7· · · · · · · THE WITNESS:· Metal foam filled doors.       ·7· · at some point.
  ·8· · Standard metal foam filled door in an apartment.       ·8· · · · ·Q.· ·Because, look, anybody doing
  ·9· · · · · · · And a brass wrap is an additional metal      ·9· · reconnaissance, not only can they plainly see a
  10· · plate that wraps around the locking mechanism, okay?   10· · brass wrap on the door, but they should be looking
  11· · · · · · · On the frame, if the door -- if the frame    11· · for that, right?
  12· · is wood, it's -- it's very simple to break that        12· · · · ·A.· ·They should be looking for it.· But I will
  13· · piece.· You're going to get -- you're going to get     13· · say this, sir.· Is that there are times in certain
  14· · that flex on it.· It's going to -- you know, you're    14· · apartment complexes that do have brass wraps.
  15· · going to bust that one by two.· It's not going to be   15· · They'll paint that the same color as the door.· So
  16· · a problem.                                             16· · unless you're able to see those screws that, you
  17· · · · · · · With a metal frame door, and that lock       17· · know, are now painted that is holding that brass
  18· · that -- you're not going to really get the flex with   18· · wrap in, it's tough to see.
  19· · it unless you've got a guy that can really -- can      19· · · · · · · Now, in his -- another thing, too, is,
  20· · really hit.· You know, utilize the ram to its -- the   20· · what we also do is, if we can't get a good pass on
  21· · most out of it, best efficiency.                       21· · that door, we'll look at like apartments.· Like
  22· · · · · · · So in that situation, I would have           22· · apartments did not have that wrap.· So this was a
  23· · actually talked with my sergeant about possibly        23· · door that was -- that was placed on by either
  24· · placing an explosive charge on that door.· Or, I       24· · maintenance or the owner.· The occupant, sorry.
  25· · would have had told the breachers that, hey, look.     25· · · · ·Q.· ·Well, I'll let you know, I've seen


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  ·1· · pictures of it, and this brass was -- was not          ·1· · it.
  ·2· · painted.                                               ·2· · · · ·A.· ·I'm ready, yes.
  ·3· · · · ·A.· ·Okay.                                        ·3· · · · ·Q.· ·Okay.· Now, the window is a double pane
  ·4· · · · ·Q.· ·But that's an important factor here, isn't   ·4· · window, correct?
  ·5· · it?                                                    ·5· · · · ·A.· ·Yes, sir.
  ·6· · · · ·A.· ·It is.                                       ·6· · · · ·Q.· ·And there's nothing like iron bars on it.
  ·7· · · · ·Q.· ·And this was not discussed in the tactical   ·7· · · · ·A.· ·No.· But there's a solar screen on the
  ·8· · briefing at all, was it?                               ·8· · left side, which is why I opted to go to the right.
  ·9· · · · ·A.· ·No.                                          ·9· · · · ·Q.· ·Yeah.· There's two things that you should
  10· · · · ·Q.· ·In fact, did you even have -- well, you      10· · notice about this window immediately, right?· And
  11· · had somebody with a Shok Lock.· But you didn't have    11· · the one is the solar screen on the left side.· Why
  12· · anybody with other explosives, did you?                12· · is that important to you?
  13· · · · ·A.· ·No, we did not utilize an explosive breach   13· · · · ·A.· ·The thing is, believe it or not, the solar
  14· · on this door, sir.                                     14· · screen could add an obstruction and a barrier into
  15· · · · ·Q.· ·Now, we've talked about sort of at the       15· · the window and could, you know, put a delay on
  16· · reconnaissance phase, you know, what -- what           16· · getting a good breach into that.· And it also could
  17· · probably should have been done.· But now, the          17· · be a fire hazard.· Which is why I opted to go to the
  18· · question is slightly different.· Let's just say        18· · opposite side.
  19· · hypothetically, look, you're the first officer in      19· · · · · · · Has it been done?· Has -- does it happen
  20· · the line.· Coming right up on that door.· You can      20· · all the time?· No.· Could it happen?· Yes.· And I
  21· · see a brass wrap clear as day on it, and no one has    21· · want to avoid that.
  22· · discussed that before.· Hypothetically, what should    22· · · · ·Q.· ·Did anybody at the tactical briefing or
  23· · have happened with that additional information?        23· · anybody in reconnaissance give you a head's up
  24· · · · ·A.· ·If that gets noticed -- I mean, this is --   24· · before you rounded that corner, hey, there's going
  25· · being -- with my experience, as that -- if that was    25· · to be a solar screen on part of the window?

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  ·1· · noticed, what should have happened was, is once the    ·1· · · · ·A.· ·No.· I'm planning for it.· I mean, I'm --
  ·2· · breach was started to work, if they were -- if they    ·2· · I have a fire extinguisher in my backpack if I opted
  ·3· · were getting -- you know, getting resistance or the    ·3· · to go to that.· Could I have gone to that?· Yes.
  ·4· · door wasn't breaching, that Shok Lock officer or       ·4· · Did I want to have any type of obstruction and delay
  ·5· · even the No. 1 guy needed to call up that ballistic    ·5· · the breaching of the window?· No.· That's why I
  ·6· · breacher faster.· That should have been done           ·6· · opted to go to the right side.
  ·7· · quicker, in my opinion.                                ·7· · · · ·Q.· ·Okay.· And what's the second thing that is
  ·8· · · · ·Q.· ·I'm going to play the video for just a       ·8· · pretty readily noticeable about this window that's
  ·9· · couple of seconds longer, as you approach the window   ·9· · of importance to you?
  10· · so that we have a good view of the window and then     10· · · · ·A.· ·The blinds are closed.
  11· · I'm going to stop it and ask you some questions        11· · · · ·Q.· ·Why is that important?
  12· · again.                                                 12· · · · ·A.· ·Because now, if I do opt to break the
  13· · · · · · · So, if I didn't state it before, we          13· · window, I need to make sure that once I clear it, or
  14· · stopped at 4:59 and 38 seconds.· And I'm just going    14· · if I clear it before I initiate the stun stick.
  15· · to play the video a little more here.                  15· · · · ·Q.· ·The problem is, you can't see in, right?
  16· · · · · · · · · · · · (Playing video.)                   16· · · · ·A.· ·Yeah.
  17· · BY MR. BREEDEN:                                        17· · · · ·Q.· ·So, when you break out the window and you
  18· · · · ·Q.· ·Okay.· So I've stopped it rather quickly     18· · deploy the stun stick, you have no idea at this
  19· · at 4:59 and 41 seconds.                                19· · point, is anyone on the other side?· How close are
  20· · · · · · · At this time, you are at what is the         20· · they?· You just don't know, do you?
  21· · living room video -- or I'm sorry, the living room     21· · · · ·A.· ·I do not.
  22· · window of the apartment, correct?                      22· · · · ·Q.· ·And it's official policy to know those
  23· · · · ·A.· ·Yes, sir.                                    23· · things before you deploy the stun stick, isn't it?
  24· · · · ·Q.· ·And you have the stun stick, and it is       24· · · · ·A.· ·Uh-huh.· I didn't see any shadow, I didn't
  25· · loaded with a distraction and you're ready to deploy   25· · see any, you know, toys in the -- in the, you know,


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  ·1· · framing or anything like that.· So I was comfortable   ·1· · BY MR. BREEDEN:
  ·2· · with my decision to go ahead and at least break the    ·2· · · · ·Q.· ·Okay.· I've stopped the video here at 5:02
  ·3· · window.· If I saw anything else that would have        ·3· · a.m. and five seconds, okay?· And just going to ask
  ·4· · caused a safety issue, I would not have initiated      ·4· · you some questions here.
  ·5· · it.                                                    ·5· · · · · · · But first of all, what is last time you
  ·6· · · · ·Q.· ·And a couple issues are, you don't want to   ·6· · saw your body camera video from -- from that
  ·7· · hit people inside with flying glass, right?            ·7· · morning?
  ·8· · · · ·A.· ·It's not going to -- I mean, yes.            ·8· · · · ·A.· ·I saw it yesterday.
  ·9· · · · ·Q.· ·And the other issue is, you don't want to    ·9· · · · ·Q.· ·Okay.· And before that time yesterday,
  10· · employ the distract device too close to them,          10· · when was the last time?
  11· · correct?                                               11· · · · ·A.· ·Probably when I did my CIRT statement.
  12· · · · ·A.· ·Of course.                                   12· · Two years ago.
  13· · · · ·Q.· ·And, in fact, even manufacturer's            13· · · · ·Q.· ·Okay.· So prior to yesterday, it had been
  14· · recommendations say, hey, you've got to watch out.     14· · a couple years.
  15· · You can't deploy these too close to people.            15· · · · ·A.· ·Yes, sir.
  16· · · · ·A.· ·That's more of hand-held.· This is in a      16· · · · ·Q.· ·All right.· Now, we see on the video, you
  17· · housing, which we are controlling the port.· And my    17· · deploy the stun stick to the right pane.
  18· · job is to put that into the ceiling as high as         18· · · · ·A.· ·Uh-huh.
  19· · possible.· So it's not going to harm anyone.           19· · · · ·Q.· ·And so is it fair to say that there's kind
  20· · · · ·Q.· ·Did you have any expectation at all before   20· · of two actions here.· No. 1 is, you insert it and
  21· · you rounded that corner whether the blinds would be    21· · you break out the window, and then you're going to
  22· · opened or closed?                                      22· · pull it to trigger the distraction device.
  23· · · · ·A.· ·I did not know if they'd be opened or        23· · · · ·A.· ·Well, I'm going to insert it, break the
  24· · closed, sir.                                           24· · window, and I'm going to look first.· So that was --
  25· · · · ·Q.· ·I mean, somebody could have driven by from   25· · I'm looking first.· I know he's calling pull.· Well,

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  ·1· · the street and probably told you that in advance,      ·1· · I'm going to look first.· On the first pull I got a
  ·2· · couldn't they?                                         ·2· · soft primer strike.· It didn't go the first time.
  ·3· · · · ·A.· ·They could have.· I'm sure they could        ·3· · It went the second time.
  ·4· · have, or someone could have been sitting out there.    ·4· · · · ·Q.· ·Okay.· Well, I mean, how long are you
  ·5· · But they didn't.                                       ·5· · going to look?
  ·6· · · · ·Q.· ·Okay.· So, the first time you learned        ·6· · · · ·A.· ·I'm going to make sure that there's not,
  ·7· · either of the solar screen or the closed blinds was    ·7· · like, a child or some type of safety issue on the
  ·8· · literally when you rounded that corner and were        ·8· · other side.· I mean, that's -- it's my job to do
  ·9· · seconds away from deploying the stun stick; is that    ·9· · that.· So it's going to be a second, you know, and
  10· · accurate?                                              10· · that's -- and that pull.· So I'm going to make sure.
  11· · · · ·A.· ·Yes.                                         11· · It was an open, clear area.· I believe there was --
  12· · · · ·Q.· ·Okay.· So there was so little intelligence   12· · it was right by the TV that was mounted where I put
  13· · information or reconnaissance here that you didn't     13· · it.
  14· · know that until seconds before you had to make a       14· · · · ·Q.· ·Now, before you broke the window by
  15· · decision, right?                                       15· · inserting the stun stick, did you ever see anyone
  16· · · · ·A.· ·Yeah.· I didn't know that there was a        16· · moving inside the apartment?
  17· · solar screen until I wrapped it, yes, sir.             17· · · · ·A.· ·No, sir, I did not.
  18· · · · ·Q.· ·Okay.· We're going to go ahead and play      18· · · · ·Q.· ·Did you ever hear anyone inside, whether
  19· · the video here.· We'll probably play it for a minute   19· · they were speaking or moving around?
  20· · or so --                                               20· · · · ·A.· ·Prior -- after I broke the window?
  21· · · · ·A.· ·Okay.                                        21· · · · ·Q.· ·Prior to breaking the window.
  22· · · · ·Q.· ·-- and then I'll ask you some additional     22· · · · ·A.· ·No, sir, I did not.
  23· · questions.                                             23· · · · ·Q.· ·And prior to breaking the window, did you
  24· · · · · · · · · · · · (Playing video.)                   24· · believe that most likely the occupants inside were
  25· · ...                                                    25· · asleep at 5:00 a.m.?


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  ·1· · · · ·A.· ·I mean, I don't know if they were            ·1· · · · ·A.· ·Yes.
  ·2· · sleeping, if they were awake, if they were sitting.    ·2· · · · ·Q.· ·Okay.· And you're saying that you did that
  ·3· · I don't know.                                          ·3· · in a second or so after you -- you broke the window
  ·4· · · · ·Q.· ·Okay.· But you and I can agree that most     ·4· · but before you tried to deploy the distract; is that
  ·5· · people are still sleeping at 5:00 a.m.                 ·5· · your testimony?
  ·6· · · · ·A.· ·I know I would be.                           ·6· · · · ·A.· ·Yes.· I have to look.
  ·7· · · · ·Q.· ·And prior to breaking the window, did you    ·7· · · · ·Q.· ·Did you see Mr. Williams before you
  ·8· · know exactly how many people were inside the           ·8· · deployed the distract?
  ·9· · apartment?                                             ·9· · · · ·A.· ·No.· He was off to the far left side.
  10· · · · ·A.· ·No, sir, I did not.                          10· · · · ·Q.· ·But literally, in terms of how close he
  11· · · · ·Q.· ·Okay.· As far as you knew, there could       11· · was to you, I mean, your left hip is probably only
  12· · have been women and children and people unrelated to   12· · three or four feet from his head where he was in the
  13· · the warrant in the underlying crime inside.            13· · apartment?
  14· · · · ·A.· ·Well, per based off the recon, there was     14· · · · ·A.· ·I don't know.· Maybe.· I don't know.
  15· · no elderly or children, so I don't know -- you know,   15· · · · ·Q.· ·Okay.· Well, you would agree, where you're
  16· · that could have changed.· But not to my knowledge,     16· · standing, he was in a reclining position, like, on a
  17· · no.                                                    17· · sofa or a futon just on the other side of the wall,
  18· · · · ·Q.· ·And you didn't know the identity of any      18· · right?
  19· · people inside the apartment, right?                    19· · · · ·A.· ·On the left side, yes.
  20· · · · ·A.· ·I mean, the only people that were listed     20· · · · ·Q.· ·Yeah.· Are you aware that the SWAT manual
  21· · that we knew names of were the people that were        21· · states that the stun stick is not to be used merely
  22· · listed on the -- on the information page.· But that    22· · to preserve evidence?
  23· · was it.                                                23· · · · ·A.· ·I'm aware of the utilization of the stun
  24· · · · ·Q.· ·I'm talking about people actually inside.    24· · stick, yes.· It's -- if we're going to insert a stun
  25· · · · ·A.· ·No.                                          25· · stick, no matter what the crime is, it would be

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  ·1· · · · ·Q.· ·You didn't even know whether anybody was     ·1· · off -- we have to get authorization from the
  ·2· · actually inside or not, right?                         ·2· · lieutenant to use it no matter what the search
  ·3· · · · ·A.· ·No.                                          ·3· · warrant is or what it is.
  ·4· · · · ·Q.· ·Let alone who they were.                     ·4· · · · ·Q.· ·But what does that mean -- I mean, look,
  ·5· · · · ·A.· ·Correct.                                     ·5· · you're here on a property only search warrant.· In
  ·6· · · · ·Q.· ·All right.· And before you broke the         ·6· · other words, there's not a warrant for the arrest or
  ·7· · window, did anyone inside indicate to you in any way   ·7· · the person, it's property only.· And yet the SWAT
  ·8· · that they were going to refuse the officers            ·8· · manual says, look, you're not supposed to use these
  ·9· · admittance?                                            ·9· · stun sticks just in order to preserve evidence.· So
  10· · · · ·A.· ·Can you -- I'm sorry, I lost you half way    10· · what does that mean to you?
  11· · there.· Could you repeat that, please?                 11· · · · ·A.· ·Our SWAT manual states we're not allowed
  12· · · · ·Q.· ·Before you used the stun stick to break      12· · to use stun sticks for -- is that what it states,
  13· · the window, did anyone inside the apartment indicate   13· · what you're telling me?· Because we're allowed to
  14· · to you that they were not going to provide the         14· · utilize our tools for -- for warrants.· If we're
  15· · officers admittance?· In other words, open the door?   15· · going to insert -- the only thing that we need
  16· · · · ·A.· ·No, no.                                      16· · authorization for, the only thing that we need
  17· · · · ·Q.· ·Okay.· Let's see here.· And if there were    17· · authorization for is if we're going to insert it, no
  18· · occupants inside, before you broke that window, you    18· · matter what the crime is.· If we're going to utilize
  19· · had no idea who they were or where they were in the    19· · a stun stick on a property crime, there's -- there's
  20· · apartment, right?                                      20· · artic- -- reasons behind that.· Meaning, the
  21· · · · ·A.· ·No.                                          21· · suspects inside have access to weapons.· The
  22· · · · ·Q.· ·Okay.· And you would agree with me that      22· · suspects inside have violent tendencies.· They have
  23· · the SWAT manual for deploying the stun stick, it       23· · a violent criminal past.· That's why we would
  24· · requires you to be assured that the area is clear      24· · utilize that.· And that would be authorized and
  25· · before you -- you use it, correct?                     25· · approved by the lieutenant.


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  ·1· · · · · · · · · ·(Exhibit No. 5 was marked.)             ·1· · right?
  ·2· · · · · · · THE WITNESS:· So if it states --             ·2· · · · ·A.· ·Yes, sir.
  ·3· · · · · · · THE REPORTER:· Wait, wait.· Sorry.           ·3· · · · ·Q.· ·It continues quote, "These devices shall
  ·4· · BY MR. BREEDEN:                                        ·4· · not be deployed solely for the prevention of
  ·5· · · · ·Q.· ·So, looking at what's been marked as         ·5· · evidence destruction," ends quote.· What does that
  ·6· · Exhibit 5 for this deposition, this is an excerpt      ·6· · mean to you?
  ·7· · from the SWAT policy manual.· Its LVMPD 1508.          ·7· · · · ·A.· ·I mean, what you said is, it shouldn't be
  ·8· · · · · · · And if you look in the second paragraph      ·8· · used for evidence destruction.
  ·9· · from the bottom, it states, quote, "Whenever           ·9· · · · · · · But the other -- the other thing is, once
  10· · possible, the device shall only be deployed when       10· · again, I'll continue to say this, is that -- is
  11· · area is visibly cleared," end quote.· Do you see       11· · we're going to utilize our tactics to give us this
  12· · that?                                                  12· · most safest and tactical advantage.· So we utilize
  13· · · · ·A.· ·Uh-huh.· But it also --                      13· · that stun stick because of the people that we may
  14· · · · ·Q.· ·Was that a yes?                              14· · encounter inside of the target.· Including the
  15· · · · ·A.· ·Yes, sir.· It is.· But it also states it     15· · weapons that were outstanding.· That's why we
  16· · should only be considered when tactics dictate that.   16· · presented that to the lieutenant, who gave us the
  17· · And those tactics and the severity of the crime and    17· · authorization for it.
  18· · the access to weapons is the articulation that we      18· · · · ·Q.· ·Now, the purported murder weapon that was
  19· · were able to use, and basically state to Lieutenant    19· · sought in the search warrant was listed as a small
  20· · O'Daniel for that authorization.                       20· · caliber handgun, correct?
  21· · · · ·Q.· ·So you would admit to me, though, it says,   21· · · · ·A.· ·Yes, sir.
  22· · shall only be deployed when the area is visibly        22· · · · ·Q.· ·Similar to a Glock or something like that?
  23· · cleared.· You clearly used the stun stick to break     23· · · · ·A.· ·Doesn't matter what size the weapon is or
  24· · the window before you knew it had been visibly         24· · how big it is, a bullet is a bullet.
  25· · cleared, right?                                        25· · · · ·Q.· ·That's not my question.

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  ·1· · · · ·A.· ·I would -- I will say that, yes.· But I      ·1· · · · · · · The question is:· Would you agree with me
  ·2· · don't have to visibly clear to break the window. I     ·2· · that if that gun is in the apartment, it's not
  ·3· · have to visibly clear in order to -- to initiate the   ·3· · something that can be easily disposed of, for
  ·4· · stun stick.                                            ·4· · example, like flushing narcotics down the toilet?
  ·5· · · · · · · If I saw something and -- I broke the        ·5· · · · ·A.· ·No.
  ·6· · window and I saw something, I don't have to utilize    ·6· · · · ·Q.· ·Why wouldn't you agree with that?
  ·7· · the stun.· I don't have to call out.· I don't have     ·7· · · · ·A.· ·You can't flush -- it's hard to flush a
  ·8· · to initiate the bang.                                  ·8· · gun.
  ·9· · · · ·Q.· ·So, it's your understanding or your          ·9· · · · ·Q.· ·Okay.· So you do -- you agree with my
  10· · reading of this, that this -- this refers only to      10· · statement --
  11· · deployment of the distract and not the breaking of     11· · · · ·A.· ·Yeah.
  12· · the window itself?                                     12· · · · ·Q.· ·-- that there's really nothing anybody is
  13· · · · ·A.· ·This is deployment of the insertion of the   13· · going to be able to do in less than a minute to
  14· · distract.                                              14· · dispose of the gun if it's in there.
  15· · · · ·Q.· ·Wouldn't you also want to not physically     15· · · · ·A.· ·No, they can't dispose of a weapon.· They
  16· · hit somebody with the stun stick itself when you're    16· · can't get rid of it.· But they can also reach for it
  17· · breaking the window?                                   17· · and grab it.
  18· · · · ·A.· ·That's why we have to visibly clear --       18· · · · ·Q.· ·So why was the stun stick being deployed
  19· · that's why we have to be able to clear what's on the   19· · then?
  20· · other side.· Yes, the blinds were closed.· But we      20· · · · ·A.· ·Why -- why was it being deployed?
  21· · didn't -- I didn't see any shadows or anything that    21· · · · ·Q.· ·Yeah.· Why was it being used at all? I
  22· · highlighted a reason for me not to break the window.   22· · mean, this policy says you're not supposed to use it
  23· · · · ·Q.· ·And you had so little visibility you         23· · just merely to prevent evidence destruction.· And
  24· · couldn't see Mr. Williams, who was just feet from      24· · the evidence in this case, the gun, anyway, would be
  25· · you when you deployed the stun stick, the distract,    25· · difficult to dispose of.· So why are we using the


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  ·1· · stun stick at all?                                     ·1· · was?
  ·2· · · · ·A.· ·Once again, we utilize the stun stick for    ·2· · · · ·A.· ·I believe it was a soft primer strike
  ·3· · tactical advantage.· For anyone inside, to             ·3· · with -- just the way the pin pulled back.
  ·4· · disorient, disrupt any type of action inside, to       ·4· · · · ·Q.· ·Has that ever happened to you before with
  ·5· · basically utilize that to once -- like I told you,     ·5· · this stun stick?
  ·6· · is to -- if the guys got hung up at the door, we       ·6· · · · ·A.· ·It has happened -- not to me personally,
  ·7· · would be able to use that as a breaching tool for      ·7· · it has happened to other guys.
  ·8· · the window to assist them on the -- on what's          ·8· · · · ·Q.· ·Okay.· And aren't you trained to yell no
  ·9· · hanging them up.· If they needed to pull back, we at   ·9· · discharge in the event that happens?
  10· · least had eyes into the apartment and we could then    10· · · · ·A.· ·No.· Basically, we -- we're -- with
  11· · continue with verbal commands if anybody -- to come    11· · that -- if that was to happen, if I did it twice,
  12· · out, lay down, get on the ground, while they           12· · two or three times, I would have yelled out no bang,
  13· · continue to work the door.                             13· · no bang, no bang.· But that first one, I was, like,
  14· · · · ·Q.· ·Okay.· But I mean, you continued to talk     14· · I must have just got a soft primer strike.· I'll try
  15· · about -- you know, we talk about one thing, which is   15· · it again.· If I don't get it on this one, I will
  16· · announcements are given at the front door.· Police     16· · verbalize no bang, no bang.
  17· · officer, search warrant.· You know, we're here to      17· · · · ·Q.· ·Now, somebody is also deploying a nine
  18· · execute a warrant.                                     18· · banger around the same time, right?
  19· · · · · · · But then on the other hand, we're talking    19· · · · ·A.· ·Yes, sir.
  20· · about a desire to confuse and disorient people         20· · · · ·Q.· ·Was it intended that the stun stick and
  21· · inside so they can't understand or comprehend those    21· · the nine banger were going to be deployed at around
  22· · instructions.· Doesn't that seem to conflict with      22· · the same time, or was one supposed to come after the
  23· · you?                                                   23· · other?
  24· · · · ·A.· ·Yes.· But it also is causing them to not     24· · · · ·A.· ·No, it's supposed to be simultaneously.
  25· · continue with any type of reaching for weapons or      25· · The reason for the nine banger is there was that

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  ·1· · trying to flee.· Those are -- those are some of the    ·1· · balcony behind where Rothenburg was standing, and
  ·2· · reasons why we utilize the stun stick for the          ·2· · then there was another window that was in question.
  ·3· · disruption, for the disorient, for -- to kind of get   ·3· · We did not know if that secondary window and that
  ·4· · them out of their little loop.                         ·4· · balcony belonged to us.· So the nine banger was
  ·5· · · · ·Q.· ·Now, the manual, and I'm not sure it's on    ·5· · basically utilized as a deterrent if anyone was
  ·6· · this particular page, but the manual states that       ·6· · trying to flee out of that -- out of that window.
  ·7· · when you're deploying the stun stick, you should       ·7· · Or that door.· So that's why we utilize that, to
  ·8· · generally yell distract, distract, distract.           ·8· · basically, like -- to let them know, hey, stop.· You
  ·9· · · · ·A.· ·That's incorrect.· We only utilize -- we     ·9· · know, basically just to kind of stop their actions,
  10· · only verbalize that over the radio when we are hand    10· · if that was someone.
  11· · deploying a distract.· And that's more of on --        11· · · · ·Q.· ·What officer deployed the nine banger?
  12· · during a Surround and Call-Out.                        12· · · · ·A.· ·I just -- the only person I remember over
  13· · · · ·Q.· ·Why are you not yelling it, then, on         13· · there was (indiscernible).· I can't remember who his
  14· · January 10, 2022?                                      14· · partner was.
  15· · · · ·A.· ·Because I'm utilizing the stun stick. I      15· · · · · · · THE REPORTER:· Was who?· I'm sorry.
  16· · didn't need to.· We don't do -- like I said, we only   16· · · · · · · THE WITNESS:· Collingwood.· I don't
  17· · verbalize when we're deploying a stun -- when we're    17· · remember who his partner was, so I don't know if it
  18· · deploying a distract on a Surround and Call-Out, or    18· · was Collingwood or his partner that deployed it.
  19· · if we're rendering a distract safe, which means it     19· · BY MR. BREEDEN:
  20· · didn't go off.· So we don't verbalize that once        20· · · · ·Q.· ·And would you agree with me that a nine
  21· · we're on scene, no.                                    21· · banger also makes sounds similar to a gunshot.
  22· · · · ·Q.· ·And initially, you tried to deploy it and    22· · · · ·A.· ·Yes.
  23· · it didn't fire, right?                                 23· · · · ·Q.· ·And, in fact, your partner, Officer
  24· · · · ·A.· ·Yes, sir.                                    24· · Rothenburg, had to ask you afterward whether that
  25· · · · ·Q.· ·And do you have any theory about why that    25· · was a nine banger going off, right?


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  ·1· · · · ·A.· ·Uh-huh.· It was in the plan.· It was         ·1· · distinctly -- and I stated this in my statement with
  ·2· · discussed.                                             ·2· · CIRT.· I distinctly can tell the sounds of -- the
  ·3· · · · ·Q.· ·Yeah.· Shouldn't he have known it was a      ·3· · differential between gunshots and distracts.· They
  ·4· · nine banger?· That should have been discussed in the   ·4· · sound similar, but I can tell when there's gunfire
  ·5· · tactical briefing, right?                              ·5· · going on inside of a structure.· I've made entries,
  ·6· · · · ·A.· ·It was discussed in the tactical briefing.   ·6· · several entries where I've been involved, and I've
  ·7· · · · ·Q.· ·Why do you think he was confused then?       ·7· · been next to guys that have shot.· I know the
  ·8· · · · ·A.· ·I have no idea.                              ·8· · distinction between it.· Once I heard the gunfire
  ·9· · · · ·Q.· ·Okay.· So even a trained SWAT officer        ·9· · going, I made sure -- I put myself in a position of
  10· · couldn't necessarily tell the difference between       10· · concealment because I was -- I was armed, but I
  11· · that nine banger and gunshots, right?                  11· · didn't display my weapon at the time.· My job was to
  12· · · · ·A.· ·Yeah.· He should have known that.· That      12· · rake out the window.· So, yes, I don't know if he
  13· · was in the brief.· That was put out in the tactical    13· · was shooting at me or not, sir.· I know he shot at
  14· · brief.· That was briefed back.· That was well-known.   14· · Officer Rothenburg.
  15· · Everyone knew that was going on.                       15· · · · ·Q.· ·Did you observe Officer Rothenburg shoot
  16· · · · ·Q.· ·Okay.· And then the nine banger deploys      16· · at Mr. Williams?
  17· · nine different sounds of that.                         17· · · · ·A.· ·I did.· When I -- when he took the first
  18· · · · ·A.· ·Yes, sir.                                    18· · two rounds in the shield and stepped back, that's
  19· · · · ·Q.· ·Do you know what the interval time is in     19· · when I actually drew out my weapon.· And then that's
  20· · terms of seconds?· Half a second?                      20· · when Roth closed the distance, covered that window,
  21· · · · ·A.· ·Half a second.· It's -- it's nine            21· · and then engaged.
  22· · munitions in there, nine different ports, within       22· · · · ·Q.· ·How many times did you observe Officer
  23· · seconds.                                               23· · Rothenburg shoot at Mr. Williams?
  24· · · · ·Q.· ·So, at least would you agree with me, from   24· · · · ·A.· ·I -- at least two rounds.· I believe at
  25· · Mr. Williams' perspective, he has heard multiple       25· · least two rounds.

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  ·1· · sounds that sound like somebody is shooting at him     ·1· · · · ·Q.· ·Did you personally see any other officer
  ·2· · before he does anything to deploy his weapon.          ·2· · shoot at Mr. Williams?
  ·3· · · · · · · MR. ANDERSON:· Objection, form.              ·3· · · · ·A.· ·No, sir, I did not.
  ·4· · · · · · · THE WITNESS:· I don't know what his          ·4· · · · ·Q.· ·Okay.· Did you personally see Mr. Williams
  ·5· · thought process would be.· I mean, I could             ·5· · fire any shots?
  ·6· · understand, but I don't know.                          ·6· · · · ·A.· ·Did I personally see Mr. Williams fire
  ·7· · BY MR. BREEDEN:                                        ·7· · shots?· No, I did not.
  ·8· · · · ·Q.· ·You could understand how a person could      ·8· · · · ·Q.· ·Okay.· Not including the stun stick, did
  ·9· · perceive those noises, just like Officer Rothenburg    ·9· · you ever discharge your firearm or any other device?
  10· · did, and think they were gunshots?                     10· · · · ·A.· ·No.· I never discharged my firearm, sir.
  11· · · · ·A.· ·I agree with you, yes.· I could see how he   11· · · · ·Q.· ·When the shooting initially occurred, you
  12· · could perceive that.                                   12· · had never heard of Mr. Williams before, had you?
  13· · · · ·Q.· ·And, in fact, the window had just broken.    13· · · · ·A.· ·No.· He was never discussed.
  14· · It might seem like somebody was firing through the     14· · · · ·Q.· ·Did you assume that the person who had
  15· · window at him, right?                                  15· · been shot was one of the suspects?
  16· · · · ·A.· ·I could -- I could agree to that.            16· · · · ·A.· ·Did I -- I assume that -- obviously we
  17· · · · ·Q.· ·Okay.· Were you shot?                        17· · encountered someone that was armed and putting us in
  18· · · · ·A.· ·No.· I don't know what had happened. I       18· · a deadly force situation.· I don't know who it was.
  19· · don't know, but some of the stucco had come off the    19· · I didn't -- there was obviously someone in there
  20· · wall at a high velocity and struck me in the leg.      20· · that was shooting at us.
  21· · So I didn't know if I was hit or not.· But I wasn't    21· · · · ·Q.· ·When did you first find out that it was
  22· · going to stop until I knew my guys were good.          22· · somebody other than either one of the suspects?
  23· · · · ·Q.· ·As far as you know, did Mr. Williams         23· · · · ·A.· ·Honestly, probably not until -- I don't
  24· · attempt to shoot at you directly?                      24· · know.· I couldn't tell you, sir.· I know it wasn't
  25· · · · ·A.· ·I don't know, sir.· Once I -- I              25· · within several -- it wasn't within that day.· It


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  ·1· · wasn't -- I don't recall.                              ·1· · shot.
  ·2· · · · ·Q.· ·Who told you?· How did you find out about    ·2· · · · ·Q.· ·Okay.· At some point, I believe it's in
  ·3· · who it was?                                            ·3· · your CIRT interview, you indicate that you heard an
  ·4· · · · ·A.· ·I believe it was during my CIRT interview.   ·4· · officer yelling "tactical".· Do you recall that?
  ·5· · And that was it.                                       ·5· · · · ·A.· ·Yes, sir.
  ·6· · · · ·Q.· ·The CIRT interview was approximately a       ·6· · · · ·Q.· ·And so, when did you hear an officer
  ·7· · month after the shooting?                              ·7· · yelling tactical?
  ·8· · · · ·A.· ·Something like that, yes, sir.               ·8· · · · ·A.· ·When the shots were being fired.
  ·9· · · · ·Q.· ·Okay.· Well, had you read newspaper          ·9· · · · ·Q.· ·And do you recognize whose voice that was?
  10· · articles or --                                         10· · · · ·A.· ·Jake Werner.
  11· · · · ·A.· ·No, sir.                                     11· · · · ·Q.· ·And what response, if any, was there to
  12· · · · ·Q.· ·-- anything about it?                        12· · the tactical call?
  13· · · · ·A.· ·I don't watch the news.                      13· · · · ·A.· ·So, I'm not going to put my head -- I
  14· · · · ·Q.· ·After the event, as it turned out, neither   14· · mean, I'm obviously not going to start looking into
  15· · suspect, either Corvel Fisher or Wattsel Rembert       15· · the window.· I heard it called.· I heard everyone
  16· · were actually inside the apartment, correct?           16· · back up.· I heard everyone ask Alex if he was okay.
  17· · · · ·A.· ·No, sir.                                     17· · I heard suspect down.· So I knew that the threat
  18· · · · ·Q.· ·Meaning that that statement is correct?      18· · was -- there was no longer a threat.· I heard one of
  19· · · · ·A.· ·Your statement is correct, sir, they were    19· · the guys say, hey, Levi, what do you need?· And he
  20· · not located inside the apartment.                      20· · goes, I need this area cleared, which was the
  21· · · · ·Q.· ·And was any of the property described in     21· · kitchen.· And then we immediately -- I -- they must
  22· · the search warrant ever found?                         22· · have already had taken Officer Kubla out.· Because I
  23· · · · ·A.· ·I do not know, sir.                          23· · didn't even know that we had an officer shot.
  24· · · · ·Q.· ·Okay.· As far as you knew, was there any     24· · · · ·Q.· ·And we do hear that prominently, somebody
  25· · warrant to arrest Mr. Williams outstanding?            25· · yells, Levi, what do you need?· Who is that yelling,

                                                        163                                                          165
  ·1· · · · ·A.· ·No, sir, I do not know.                      ·1· · and who is Levi?
  ·2· · · · ·Q.· ·Again, after the shooting, was there any     ·2· · · · ·A.· ·Levi was on the Shok Lock.· He was also a
  ·3· · evidence of any ongoing criminal activity in the       ·3· · senior ATL, Assistant Team Leader.· But he was just
  ·4· · apartment that was taking place before the SWAT        ·4· · not the ATL for that operation.
  ·5· · entry?                                                 ·5· · · · ·Q.· ·And do you know who was yelling at him,
  ·6· · · · ·A.· ·No, sir.                                     ·6· · what do you need?
  ·7· · · · ·Q.· ·It was just two guys in the apartment        ·7· · · · ·A.· ·I do not know who that was.· If you played
  ·8· · sleeping, right?                                       ·8· · the -- I could -- I know everyone's voice, but I
  ·9· · · · ·A.· ·From what I know, yes.                       ·9· · don't know.
  10· · · · ·Q.· ·Did you ever see Mr. Williams move after     10· · · · ·Q.· ·What, if anything, did you do differently
  11· · he had been shot?                                      11· · when you heard tactical called?
  12· · · · ·A.· ·Did I ever see him move?                     12· · · · ·A.· ·When I heard tactical, I just basically
  13· · · · ·Q.· ·Yes.                                         13· · backed -- I knew that something had happened. I
  14· · · · ·A.· ·No, I did not see him move.                  14· · knew they got into a shooting at that point.· And
  15· · · · ·Q.· ·Did you ever hear Mr. Williams make any      15· · they're going to slow things down.· I'm going to
  16· · sounds, like, words or moaning from him after he was   16· · stay calm.· That's when I knew Roth had gotten hit.
  17· · shot?                                                  17· · Jonathan and his partner had came up, took our
  18· · · · ·A.· ·Sounds from Mr. Williams?                    18· · spots.· And I wanted to check on Roth, to make sure
  19· · · · ·Q.· ·Yes.                                         19· · he wasn't hit.
  20· · · · ·A.· ·No, sir, I did not.                          20· · · · ·Q.· ·Okay.· So, you were there to serve a copy
  21· · · · ·Q.· ·Okay.· We see a time -- I don't know if      21· · of the search warrant, or the SWAT team was.· Do you
  22· · you're physically present or not when he's moved       22· · know who had the physical copy of the warrant?
  23· · from the couch to the floor.· Were you there to        23· · · · ·A.· ·So, usually, you know, the detectives have
  24· · observe that?                                          24· · the hard copy that was signed.· They'll always
  25· · · · ·A.· ·No.· I was checking on my guy that was       25· · provide us a copy for our after action report.· So I


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  ·1· · would assume at the time, either Detective Grimmett    ·1· · · · ·Q.· ·When?
  ·2· · had it or his sergeant or -- I know that one of our    ·2· · · · ·A.· ·Yesterday.
  ·3· · sergeants might have had a copy of it.· I don't        ·3· · · · ·Q.· ·Prior to yesterday, had you ever reviewed
  ·4· · know, sir.                                             ·4· · any portion of the CIRT report?
  ·5· · · · ·Q.· ·Do you know if it was left at the property   ·5· · · · ·A.· ·No, sir.
  ·6· · after everything was cleared?                          ·6· · · · ·Q.· ·Did you review it yesterday?
  ·7· · · · ·A.· ·That's a detective thing.· Once it became    ·7· · · · ·A.· ·Yes.· I looked -- I read through it a
  ·8· · a crime scene at that point, you know, that ID techs   ·8· · little bit.
  ·9· · came out, that was a very large, dynamic scene.· So    ·9· · · · ·Q.· ·Was there anything that surprised you
  10· · I'd assume that it was left.· But I don't know.        10· · about it?
  11· · · · ·Q.· ·We know now that at the time you broke out   11· · · · ·A.· ·A little bit.
  12· · the window, Mr. Williams was sleeping on a couch in    12· · · · ·Q.· ·What surprised you?
  13· · the same room, right?                                  13· · · · ·A.· ·That there was, you know, talking about
  14· · · · ·A.· ·Yes.                                         14· · the -- you know, the knock and announce stuff.
  15· · · · ·Q.· ·And do you agree with me that it would be    15· · · · ·Q.· ·So even after the CIRT report came out, it
  16· · logical for a person, if they're asleep and they       16· · wasn't provided to you to read, and nobody spoke to
  17· · hear the sound of a window breaking near them, that    17· · you or provided you any sort of retraining regarding
  18· · they would wake up and look at the window?             18· · the issues that the CIRT report found?
  19· · · · ·A.· ·I would agree to that, yes.                  19· · · · ·A.· ·So, every time that we have an OIS or a
  20· · · · ·Q.· ·And so that would be about the same time     20· · major incident or something, we'll always have a
  21· · that the large flash from the distract ignited as      21· · debrief, a large debrief.· Especially after -- so if
  22· · well, right?                                           22· · you know, when we have an OIS, a lot of those
  23· · · · ·A.· ·Yes, sir.                                    23· · conversations and stuff can't be talked about
  24· · · · ·Q.· ·And would you agree with me that that        24· · because they've been admonished while it's under
  25· · would affect Mr. Williams' vision?                     25· · investigation.· So once that was done, they did do

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  ·1· · · · ·A.· ·Yes.                                         ·1· · a -- like, a larger debrief of it and kind of talked
  ·2· · · · ·Q.· ·In fact, that's the very purpose of that     ·2· · about some of the findings.
  ·3· · bright flash, isn't it?                                ·3· · · · · · · I was out of town.· But I was made aware
  ·4· · · · ·A.· ·Yes, sir.                                    ·4· · of some of the things that they had discussed.· But
  ·5· · · · ·Q.· ·And in your CIRT interview, I believe it     ·5· · like I said, that was two years ago.· And then
  ·6· · was, you refer to that as a blinding flash, right?     ·6· · Mr. Anderson kind of provided me a copy of some of
  ·7· · · · ·A.· ·It's a very high candela, intense flash,     ·7· · the highlighted things.· I can't recall every one of
  ·8· · yes.                                                   ·8· · them off the top of my head.
  ·9· · · · ·Q.· ·And you've also agreed with me in this       ·9· · · · ·Q.· ·So there was a debrief at some point, but
  10· · deposition that the sounds from the stun stick         10· · you were out of town and did not attend.
  11· · distract, as well as the nine banger, those can be     11· · · · ·A.· ·Yeah, I wasn't there.
  12· · mistaken for gunfire?                                  12· · · · ·Q.· ·Do you know who conducted the debrief?
  13· · · · ·A.· ·Yes, sir.                                    13· · · · ·A.· ·Usually what happens on those larger
  14· · · · ·Q.· ·And would you agree with me that the stun    14· · events or OISs, it will be the entire section.· And
  15· · stick and the -- the stun stick distract and the       15· · usually, the sergeant and the ATL will go through
  16· · nine banger, those could also impair a person's        16· · everything.· I know that Lieutenant O'Daniel was
  17· · hearing?                                               17· · admonished in that, so I -- you know, she wasn't
  18· · · · ·A.· ·I -- yes, depending on how close the         18· · allowed to speak on a lot of that stuff until the
  19· · proximity is, yes.                                     19· · full CIRT investigation was over.
  20· · · · ·Q.· ·You're aware that there was a CIRT           20· · · · ·Q.· ·But who actually conducted the debrief?
  21· · investigation into this event, right?                  21· · · · ·A.· ·It would have been Jake or Sergeant Finley
  22· · · · ·A.· ·Yes.                                         22· · or Sergeant Backman, one of those three.· It's
  23· · · · ·Q.· ·Are you aware of what the conclusions or     23· · usually those three.· And then it would be taken
  24· · findings were?                                         24· · around to anybody if they have questions or
  25· · · · ·A.· ·I was made aware of them.· Yes.              25· · concerns.


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  ·1· · · · ·Q.· ·At this point, maybe we should take a        ·1· · never watched the body camera of any of the
  ·2· · five-minute break or so for everybody.· We'll come     ·2· · shooters.· So I don't know the exact position that
  ·3· · back and I might have another hour of questioning.     ·3· · he was in when he decided to fire upon officers.
  ·4· · · · ·A.· ·Okay.                                        ·4· · · · ·Q.· ·Well, let's talk about that.
  ·5· · · · · · · THE VIDEOGRAPHER:· We are going off record   ·5· · · · · · · Mr. Williams drew a handgun.· And he fired
  ·6· · at 12:19 p.m.                                          ·6· · it on a group of a dozen or more police officers
  ·7· · · · · · · · · · · · (Off record.)                      ·7· · that were in full tactical gear, had him surrounded
  ·8· · · · · · · THE VIDEOGRAPHER:· We are back on record     ·8· · and outgunned.· Do you agree with me that that's a
  ·9· · at 12:25 p.m.                                          ·9· · pretty dangerous thing to do?
  10· · BY MR. BREEDEN:                                        10· · · · ·A.· ·Pretty dangerous thing of him to do, yes.
  11· · · · ·Q.· ·Officer Bertuccini, we took a short break.   11· · · · ·Q.· ·Him to do, yes.
  12· · We're back on the record now and you're under oath.    12· · · · ·A.· ·To shoot upon officers, yes.
  13· · · · · · · We were speaking a little bit about the      13· · · · ·Q.· ·Yes.· It implies, don't you believe, that
  14· · CIRT report that was created over this incident.       14· · maybe he didn't really understand what was going on?
  15· · And according to the CIRT report that was prepared     15· · · · · · · MR. ANDERSON:· Objection, form.
  16· · by Metro, they stated this.· And, you know, they're    16· · · · · · · THE WITNESS:· I don't feel he didn't
  17· · talking about announcements made.· Not by you, but     17· · understand.· I feel he understood exactly what was
  18· · by Sergeant Backman at the front door.· But the CIRT   18· · going on.· They were sounding short -- search
  19· · report states, quote, six seconds after starting his   19· · warrant numerous times.· And then he was
  20· · announcement, Officer Bertuccini inserted the stun     20· · immediately -- our guys were immediately met with
  21· · stick through the western facing window, end quote.    21· · gunfire.
  22· · · · · · · Now, I don't know if it was three seconds    22· · BY MR. BREEDEN:
  23· · or six seconds or whatever it was.· But do you have    23· · · · ·Q.· ·Okay.· Do you believe, then, that
  24· · any reason to disagree with Metro's conclusion that    24· · Mr. Williams was simply suicidal?
  25· · it was no more than six seconds?                       25· · · · ·A.· ·No, I do not believe he was suicidal.

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  ·1· · · · ·A.· ·Yeah, I'm not disagreeing with it.           ·1· · · · ·Q.· ·Okay.
  ·2· · · · ·Q.· ·Okay.· Do you believe that six seconds was   ·2· · · · ·A.· ·Because the gun was pointed to our --
  ·3· · a reasonable amount of time for Mr. Williams to        ·3· · towards our officers.
  ·4· · arise from a sleeping state, hear and comprehend       ·4· · · · ·Q.· ·If he -- well, but -- but what I'm saying
  ·5· · officers, go to the front door, ascertain that they    ·5· · is, he's -- sometimes the phrase is suicide by cop.
  ·6· · are, in fact, officers and that they have a search     ·6· · I mean, anybody who fully understands the situation,
  ·7· · warrant, and allow them entry into the apartment?      ·7· · would not fire on officers under those conditions
  ·8· · Do you think that's a reasonable amount of time for    ·8· · unless they expected to be shot back, right?
  ·9· · that?                                                  ·9· · · · · · · MR. ANDERSON:· Objection, form.
  10· · · · ·A.· ·I do, because we were breaking a window.     10· · · · · · · THE WITNESS:· I don't know if he was
  11· · Obviously he's going to know, and they -- the plan     11· · suicide by a cop.· I don't know.· I do not know.
  12· · was that they wouldn't start breaching the door        12· · BY MR. BREEDEN:
  13· · until after the stun was initiated, which allowed      13· · · · ·Q.· ·Okay.· And you are not Mr. Williams, so
  14· · more time.                                             14· · you can't say for certain what he saw, can you?
  15· · · · ·Q.· ·Okay.· In fact, and you can probably see     15· · · · ·A.· ·No.
  16· · it in the video, the amount of time wasn't even        16· · · · ·Q.· ·You can say what you testified earlier,
  17· · sufficient for him to stand up, was it?                17· · that he was hit with a blinding flash to his vision
  18· · · · · · · MR. ANDERSON:· Objection, form.              18· · around this time from the stun stick, right?
  19· · · · · · · Go ahead.                                    19· · · · ·A.· ·I know that I said that I -- the stun
  20· · · · · · · THE WITNESS:· No.                            20· · stick delivers a blinding flash.· I don't know if he
  21· · BY MR. BREEDEN:                                        21· · was directly looking at it, I don't know.
  22· · · · ·Q.· ·He was -- when he was shot, he was still     22· · · · ·Q.· ·Okay.· And we discussed that even though
  23· · laying down, wasn't he?                                23· · there are announcements going on, there are also
  24· · · · ·A.· ·I don't know the exact position he was in.   24· · distraction -- noise devices that are designed to
  25· · When he was -- I -- I'll be honest with you, I've      25· · confuse and disorient him, right?


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  ·1· · · · ·A.· ·The additional ones, the nine banger?        ·1· · situation with officers where he fired 18 rounds and
  ·2· · Yes, they were being -- they were being deployed on    ·2· · struck an officer that almost lost his life.· But I
  ·3· · the exterior, yes.· That shouldn't have -- shouldn't   ·3· · do feel for his mother, yes.
  ·4· · have inhibited his hearing to hear that -- the         ·4· · · · ·Q.· ·And do you think he did that fully
  ·5· · police and the search warrant.                         ·5· · understanding that there were officers there with a
  ·6· · · · ·Q.· ·So why do you think a young man of           ·6· · legal search warrant?
  ·7· · approximately 20 years old would choose to fire on     ·7· · · · ·A.· ·I do not know, sir.· I don't know what his
  ·8· · officers?· I mean, this seems like it's suicidal, it   ·8· · mindset was.
  ·9· · seems very foolish and very dangerous, unless he did   ·9· · · · ·Q.· ·Wouldn't you think it would be reasonable
  10· · not fully comprehend what was going on.                10· · for him, after hearing your stun stick distraction
  11· · · · ·A.· ·I don't know what his mindset was, sir. I    11· · device and the nine banger going off, that he was
  12· · don't know.                                            12· · already being fired at by someone?
  13· · · · ·Q.· ·But you think -- and I'm not going to do     13· · · · · · · MR. ANDERSON:· Objection, form.
  14· · this.· I'm not saying this to make it personal.· But   14· · · · · · · THE WITNESS:· I do not know.
  15· · if I went to your home this evening and I started      15· · BY MR. BREEDEN:
  16· · knocking on your door when you were dead asleep, you   16· · · · ·Q.· ·You would agree with me, that if a person
  17· · think you could make it to your front door and have    17· · is in their home or their apartment, and intruders
  18· · a discussion with me in a period of six seconds from   18· · come into their home, that that person is legally
  19· · a dead sleep?                                          19· · entitled to use lethal force to defend themselves;
  20· · · · ·A.· ·From a dead sleep, I don't know.· It would   20· · would you agree with that?
  21· · depend.· My -- my front door and my bedroom door are   21· · · · ·A.· ·I would agree with that, yes, sir.
  22· · very close together.                                   22· · · · ·Q.· ·Okay.· Are there any changes to the IAP or
  23· · · · ·Q.· ·Maybe not.                                   23· · the way the SWAT operation was performed, that you
  24· · · · ·A.· ·Maybe not.· I don't know.                    24· · think could have been made to make it safer for
  25· · · · ·Q.· ·Would you agree that that might be           25· · officers?

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  ·1· · difficult?                                             ·1· · · · ·A.· ·We have -- like I said, if we -- I like
  ·2· · · · ·A.· ·It could be difficult, yes, sir.             ·2· · the fact that we have added the surveillance of how
  ·3· · · · ·Q.· ·I want to talk a little bit about the        ·3· · long, last time we've seen them.· I do like making
  ·4· · aftermath of the shooting.                             ·4· · sure that, you know, we have done -- all detectives
  ·5· · · · ·A.· ·Yes, sir.                                    ·5· · have done their due diligence utilizing -- whether
  ·6· · · · ·Q.· ·Did you see anyone provide any type of       ·6· · it's covert, additional units for extra
  ·7· · medical aid to Mr. Williams at all?                    ·7· · surveillance, takeaways, stuff like that.· So those
  ·8· · · · ·A.· ·No.· I knew that they were getting medical   ·8· · are things that we have implemented to make sure
  ·9· · aid to him.· I know that they were -- we had medical   ·9· · that the detectives are doing their due diligence.
  10· · aid, also, to Officer Kubla.· So I don't know how      10· · To make sure that they have a strong investigation
  11· · long it took, sir.                                     11· · for the individuals that we're going after, yes.
  12· · · · ·Q.· ·Looking back and knowing the end result,     12· · · · ·Q.· ·And would you agree that the
  13· · which was that a young man was fatally shot and        13· · reconnaissance could have been better on this
  14· · killed when he really wasn't even under                14· · apartment?
  15· · investigation for the crime that was being             15· · · · ·A.· ·I will -- I will -- I will say that the
  16· · investigated, and really wasn't even expected to be    16· · door, the missing of the brass wrap, was -- was very
  17· · there, is there anything you would change about how    17· · important.· And that needed to be a re-look, a
  18· · this SWAT operation was done?                          18· · re-pass on that, yes.· And we've -- and we discussed
  19· · · · · · · MR. ANDERSON:· Objection, form.              19· · that.
  20· · · · · · · THE WITNESS:· No, sir.                       20· · · · ·Q.· ·And is there anything -- just again
  21· · BY MR. BREEDEN:                                        21· · hypothetically, that you can think of that you could
  22· · · · ·Q.· ·Do you have -- any remorse or does it        22· · change to make that SWAT operation safer for the
  23· · bother you that Mr. Williams was shot and killed?      23· · occupants inside, such as Mr. Williams?
  24· · · · ·A.· ·It's unfortunate that a mother lost her      24· · · · ·A.· ·No, not that I know of.
  25· · son.· But this gentleman decided to put himself in a   25· · · · ·Q.· ·Were you disciplined by Metro in any way


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  ·1· · over this incident?                                    ·1· · interview.
  ·2· · · · ·A.· ·No, sir, I was not.                          ·2· · · · ·Q.· ·Who admonished you?
  ·3· · · · ·Q.· ·Were you given any retraining on any         ·3· · · · ·A.· ·I couldn't -- whoever did the interview.
  ·4· · issue, for example, CET entry, as a result of this     ·4· · Maybe it was -- I think his last name is Roth,
  ·5· · incident?                                              ·5· · Jeremy Roth.· I can't remember.
  ·6· · · · ·A.· ·No, sir, no.                                 ·6· · · · ·Q.· ·Was it a union representative --
  ·7· · · · ·Q.· ·Were you aware that the CIRT team found      ·7· · · · ·A.· ·No.
  ·8· · that CET entries were only constitutionally            ·8· · · · ·Q.· ·-- or it was one of the --
  ·9· · consistent with no-knock warrants, and were            ·9· · · · ·A.· ·One of the investigators.
  10· · inconsistent with circumstances where knock and        10· · · · ·Q.· ·I don't want to talk over you.· Frustrates
  11· · announced had to be used?                              11· · the court reporter.
  12· · · · ·A.· ·No.                                          12· · · · ·A.· ·I'm sorry.
  13· · · · ·Q.· ·Today during the deposition is the first     13· · · · ·Q.· ·So, I've reviewed documents that Las Vegas
  14· · time you're aware of that?                             14· · Metropolitan Police Department has produced as part
  15· · · · ·A.· ·It was -- reading their -- going through     15· · of this litigation.· They have produced a brief
  16· · their -- whatever their conclusion was, that was the   16· · statement that you gave at approximately 8:57 a.m.
  17· · first time I read that.                                17· · on the morning of the shooting.· Do you recall
  18· · · · ·Q.· ·That was yesterday.                          18· · giving that statement?
  19· · · · ·A.· ·Yeah.                                        19· · · · ·A.· ·That would have been my FIT statement,
  20· · · · ·Q.· ·So even though CIRT concluded that well      20· · yeah.
  21· · over a year ago, you were not retrained or advised     21· · · · ·Q.· ·Your FIT statement.· And do you recall who
  22· · of that conclusion?                                    22· · took that statement from you?
  23· · · · ·A.· ·We've been advised of it.· I mean, we        23· · · · ·A.· ·I don't know his name.· If he was sitting
  24· · haven't done a controlled entry since -- since that    24· · here, I know what his face is.· I don't know his
  25· · happened.· Actually, we did one shortly after          25· · name off the top of my head.

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  ·1· · Officer Kubla's incident.· But we have not done a      ·1· · · · ·Q.· ·Okay.· And then you gave a CIRT interview
  ·2· · controlled entry since then.                           ·2· · on February 2nd of 2022; is that correct?
  ·3· · · · · · · Now there is a higher criteria for it.       ·3· · · · ·A.· ·Yes.
  ·4· · And usually we're only going to make a CET now if      ·4· · · · ·Q.· ·I realize you may not remember the
  ·5· · it's going to be a no-knock.                           ·5· · exact --
  ·6· · · · ·Q.· ·And these changes are because of             ·6· · · · ·A.· ·I don't remember the dates, but if you
  ·7· · Mr. Williams' shooting, aren't they?                   ·7· · have it, I trust you, yes.
  ·8· · · · ·A.· ·I think it's that, along with other things   ·8· · · · ·Q.· ·Okay.· So you gave a FIT statement, and
  ·9· · that have happened around the nation with search       ·9· · then was it after the FIT statement that someone
  10· · warrants and tactical teams.                           10· · advised you not to make any additional statements
  11· · · · ·Q.· ·Have you ever asserted your Fifth            11· · about the incident?
  12· · Amendment right to remain silent when asked about      12· · · · ·A.· ·Yeah.· We usually get admonished by CIRT
  13· · this incident?                                         13· · to make sure that we don't discuss any other -- you
  14· · · · ·A.· ·No.                                          14· · know, with anyone else involving the incident until
  15· · · · ·Q.· ·Have you ever asserted any rights under      15· · after the entire investigation has been done.
  16· · your Collective Bargaining Agreement with the Police   16· · · · ·Q.· ·And in the CIRT interview, they -- they
  17· · Protective Association to refuse to speak to anyone    17· · actually say that your interview at that time on
  18· · regarding this incident?                               18· · February 2nd, 2022 is being compelled.· Had you
  19· · · · ·A.· ·The only time was when I was admonished,     19· · refused to give a statement at any time prior to
  20· · you know, we weren't allowed to talk about it.· But    20· · February 2nd?
  21· · that was it.                                           21· · · · ·A.· ·I've never refused to give a statement.
  22· · · · ·Q.· ·So when was that?                            22· · · · ·Q.· ·Okay.· Other than the FIT statement and
  23· · · · ·A.· ·That was the day -- I think I was            23· · the CIRT statement, have you given any other
  24· · admonished shortly after, about a week after I got a   24· · statement verbally or in writing about what
  25· · phone call just not to talk about it until we do our   25· · happened?


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  ·1· · · · ·A.· ·No, sir.                                     ·1· · · · ·A.· ·Yes.
  ·2· · · · ·Q.· ·I want to ask you briefly about Officer      ·2· · · · ·Q.· ·So you would describe yourself close with
  ·3· · Kubla.· Is he still employed with Las Vegas            ·3· · them.
  ·4· · Metropolitan Police Department?                        ·4· · · · ·A.· ·Yes.
  ·5· · · · ·A.· ·Yes, sir, he is.                             ·5· · · · ·Q.· ·You're part of the SWAT team.
  ·6· · · · ·Q.· ·Do you still work with him?                  ·6· · · · ·A.· ·Yes.
  ·7· · · · ·A.· ·Yes, sir, I do.                              ·7· · · · ·Q.· ·Okay.· I think those are all the questions
  ·8· · · · ·Q.· ·And is he still assigned to SWAT?            ·8· · that I have.
  ·9· · · · ·A.· ·He is.                                       ·9· · · · · · · MR. ANDERSON:· I have no questions.
  10· · · · ·Q.· ·Okay.· So whatever his injuries are, he is   10· · · · · · · MR. BREEDEN:· Mr. Anderson, do you have
  11· · not considered so disabled that he cannot still be     11· · any?
  12· · on SWAT.                                               12· · · · · · · MR. ANDERSON:· No questions.
  13· · · · ·A.· ·No.· But he -- due to his nerve damage in    13· · · · · · · MR. BREEDEN:· At this time we will go off
  14· · his right hand he had to train himself to be a         14· · the record.· But there are a couple of things I
  15· · left-handed shooter for his handgun because of the     15· · think the court reporter usually asks us to put on
  16· · dexterity -- finger dexterity in his right hand.       16· · the record.
  17· · · · ·Q.· ·Okay.· So let me ask you, and I realize,     17· · · · · · · I know that I will take a copy, and I've
  18· · look, the real source on this issue is going to be     18· · actually ordered an expedited copy of the
  19· · Officer Kubla.· But as far as you are aware, what      19· · transcript.
  20· · are the injuries that Officer Kubla sustained?         20· · · · · · · Mr. Anderson?
  21· · · · ·A.· ·Like I said, I haven't -- you know, I        21· · · · · · · MR. ANDERSON:· I'll take a copy.
  22· · don't know his entire medical, you know, printout or   22· · · · · · · THE REPORTER:· Do you need it expedited?
  23· · anything.· But he had nerve damage in his hand, arm,   23· · · · · · · MR. ANDERSON:· No, I don't need it
  24· · and hip.· Where he was shot.· And if that's            24· · expedited.· I don't need the video right at this
  25· · incorrect, I'm sorry, but those are the -- what I      25· · point.

                                                        183                                                          185
  ·1· · know.                                                  ·1· · BY MR. BREEDEN:
  ·2· · · · ·Q.· ·I'm just asking as far as you have           ·2· · · · ·Q.· ·And Officer Bertuccini, are you going to
  ·3· · observed --                                            ·3· · exercise your right to review the transcript and
  ·4· · · · ·A.· ·Yeah --                                      ·4· · make changes, or do you want to waive that right?
  ·5· · · · ·Q.· ·-- and what you know.                        ·5· · · · · · · MR. ANDERSON:· So, you have the right to
  ·6· · · · ·A.· ·That's it.                                   ·6· · read it and then make sure it's all accurate.
  ·7· · · · ·Q.· ·Okay.· Are any of the defendants in this     ·7· · Because it's videoed, I think you're fine.· But if
  ·8· · case -- I mean, you work with people and you've        ·8· · you want to read it to make sure it's accurate, that
  ·9· · probably worked for many of them for years; is that    ·9· · she took everything down right, you can do that.
  10· · right?                                                 10· · · · ·A.· ·I trust it.· I'm good.
  11· · · · ·A.· ·Yes, sir.                                    11· · · · · · · MR. ANDERSON:· We'll waive.
  12· · · · ·Q.· ·And there's kind of a difference between     12· · · · · · · MR. BREEDEN:· So he'll waive.· And so with
  13· · somebody who's a personal friend of yours versus a     13· · that, we'll go off the record.
  14· · work acquaintance.                                     14· · · · · · · THE WITNESS:· Do you want these back,
  15· · · · · · · Are there any of the other officers who      15· · ma'am?
  16· · are involved that you consider them to be personal     16· · · · · · · MR. ANDERSON:· Yes, she needs those back.
  17· · friends of yours, just beyond somebody that you work   17· · Anything with a sticker on it, make sure she gets.
  18· · with?                                                  18· · Those are hers.
  19· · · · ·A.· ·They're all personal friends.· We're         19· · · · · · · THE VIDEOGRAPHER:· One moment.
  20· · brothers.                                              20· · · · · · · This concludes the video-recorded
  21· · · · ·Q.· ·So have you been to, like -- the other       21· · deposition of James Bertuccini taken on July 12th,
  22· · defendants in this case, have you been to their        22· · 2024.· We're going off record, and the time is
  23· · home?                                                  23· · 12:43 p.m.
  24· · · · ·A.· ·All of them.                                 24· · · · · · · (Proceedings concluded at 12:43 p.m.)
  25· · · · ·Q.· ·You've met their families?                   25


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  ·1· · · · · · · CERTIFICATE OF DEPONENT.
  ·2· · PAGE· · · LINE· · · CHANGE
  ·3
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  19· · · · · · · · · · · · · * * * * *
  · · · · · ·I, James Bertuccini, deponent herein, do hereby
  20· · certify and declare under penalty of perjury the
  · · · within and foregoing transcription to be my
  21· · deposition in said action; that I have read,
  · · · corrected and do hereby affix my signature to said
  22· · deposition.
  23
  · · · · · · · · · · ·James Bertuccini
  24· · · · · · · · · ·Witness
  25


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  ·1· · · · · · · · · ·REPORTER'S CERTIFICATE
  ·2· · STATE OF NEVADA· · · )
  · · · · · · · · · · · · · ·) ss
  ·3· · COUNTY OF CLARK· · · )
  ·4
  ·5· · · · ·I, Tracy A. Manning, a duly certified court
  · · · reporter licensed in and for the State of Nevada, do
  ·6· · hereby certify:
  ·7· · · · ·That I reported the taking of the deposition of
  · · · the witness, James Bertuccini, at the time and place
  ·8· · aforesaid;
  ·9· · · · ·That prior to being examined, the witness was
  · · · by me duly sworn to testify to the truth, the whole
  10· · truth, and nothing but the truth;
  11· · · · ·That I thereafter transcribed my shorthand
  · · · notes into typewriting and that the typewritten
  12· · transcript of said deposition is a complete, true
  · · · and accurate record of testimony provided by the
  13· · witness at said time to the best of my ability.
  14· · · · ·I further certify (1) that I am not a relative,
  · · · employee or independent contractor of counsel of any
  15· · of the parties; nor a relative, employee or
  · · · independent contractor of the parties involved in
  16· · said action; nor a person financially interested in
  · · · the action; nor do I have any other relationship
  17· · with any of the parties or with counsel of any of
  · · · the parties involved in the action that may
  18· · reasonably cause my impartiality to be questioned;
  · · · and (2) that transcript review pursuant to
  19· · NRCP 30(e) was waived.
  20· · · · ·IN WITNESS WHEREOF, I have hereunto set my hand
  · · · in the County of Clark, State of Nevada, this 18th
  21· · day of July 2024.
  22
  23
  24· · · · · · · · · · · · ________________________________
  · · · · · · · · · · · · · Tracy A. Manning, CCR 785
  25



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